Case:Highly
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     1                THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OHIO
     2                            EASTERN DIVISION
     3                                  -   -    -
     4    IN RE:      NATIONAL          :
          PRESCRIPTION OPIATE :                 MDL NO. 2804
     5    LITIGATION                    :
          -----------------------------------------
     6                                  :       CASE NO.
          THIS DOCUMENT                 :       1:17-MD-2804
     7    RELATES TO ALL CASES:                 Hon. Dan A. Polster
     8                                  -   -    -
     9                   Wednesday, November 28, 2018
    10                                  -   -    -
    11          HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                       CONFIDENTIALITY REVIEW
    13                                  -   -    -
    14               Videotaped deposition of JOSEPH
    15    TOMKIEWICZ, taken pursuant to notice, was held
    16    at Golkow Litigation Services, One Liberty
    17    Place, 1650 Market Street, Suite 5150,
    18    Philadelphia, Pennsylvania 19103, beginning at
    19    9:58 a.m., on the above date, before Lisa V.
    20    Feissner, RDR, CRR, Notary Public.
    21

    22                                  -   -    -
    23                    GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | 917.591.5672 fax
    24                            deps@golkow.com
   Golkow Litigation Services                                        Page 1 (1)
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                                                  Page 2                                                  Page 4
    1   APPEARANCES:                                        1   APPEARANCES: (Continued)
    2    BARON & BUDD, P.C.                                 2    MORGAN LEWIS & BOCKIUS, LLP
         BY: MARK PIFKO, ESQUIRE                                 BY: ADAM M. HAMMOUD, ESQUIRE
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                                                            8    BY: ROBERT A. NICHOLAS, ESQUIRE
    9    (via teleconference / live stream)                      BY: JEFFREY R. MELTON, ESQUIRE
         600 New Hampshire Avenue NW
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   24    -- Representing the MDL Plaintiffs                24

                                      Page 3                                                              Page 5
    1 APPEARANCES: (Continued)                              1   APPEARANCES: (Continued)
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   12
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                                                           10    David Lane, Videographer
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   16    -- Representing the Cardinal Health               15
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   22                                                      23
   23
   24                                                      24

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    1               - - -                               1               - - -
    2               INDEX                               2            EXHIBITS
    3               - - -                                               (cont'd)
    4   Testimony of: JOSEPH TOMKIEWICZ                 3
    5     By Mr. Pifko            15                                    - - -
          By Mr. Cartmell          134                  4   TEVA-TOMKIEWICZ
    6     By Mr. Gastel           459                       EXHIBIT NO. DESCRIPTION                PAGE
                                                        5
          By Mr. Hammoud             502                    014 E-mail chain, top e-mail from
    7
                    - - -                               6      McGinn to Edwards et al., Sent:
    8                                                          8/19/15, Subject: FW: Global
                  EXHIBITS
                                                        7      Internal Audit: DEA - Final Report
    9                                                          TEVA_MDL_A_02475564 - 02475585
                                                        8
                    - - -                                   015 PowerPoint slide deck, SOM and
   10   TEVA-TOMKIEWICZ                                 9      Current Cases, Joseph Tomkiewicz,
        EXHIBIT NO. DESCRIPTION                 PAGE           DEA Compliance Manager, 2017
   11                                                  10
        001 E-mail chain, top e-mail from                   016 SOP-8277: Suspicious Order
   12       Tomkiewicz to rxnews@listserve.com,        11      Monitoring - DEA Order Holds,
            Sent: 9/16/2010,                                   Revision Number 01
   13       Subject: Re: [RxNews] Oxy's                12      TEVA_MDL_A_01158453 - 01158462
            CAH_MDL2804_00855083 - 00855084            13   017 E-mail chain, top e-mail from
   14                                                          Shanahan to Baeder,
        002 E-mail chain, top e-mail from              14      Sent: 10/16/2015, Subject: RE:
   15       Hazewski to Breitmayer et al.,                     PO# 1031374 for the OXYCODONE product.
            Sent: Thu, 29 Sep 2011                     15      TEVA_MDL_A_02063729 - 02063733
   16       Subject: FW: Oxycodone Allocation          16   018 E-mail from Tomkiewicz to
            ABDCMDL00280711 - 00280712                         Everingham Sent: 3/2/2018,
   17                                                  17      Subject: PowerPoint, with
        003 PowerPoint slide deck titled                       Attachment: 2017 Joe Tomkiewicz
   18       DEA Compliance Organization                18      PDMA Conference - v2.pptx
            March 18, 2014                                     TEVA_MDL_A_02480387
                                                       19
   19       TEVA_MDL_01464603                               019 E-mail chain, top e-mail from
   20   004 Letter from Rannazzisi, U.S.               20      McGinn to Tomkiewicz, Sent: Friday,
            Department of Justice                              October 16, 2015, Subject: RE: PO#
   21       dated February 7, 2007                     21      1031374 for the OXYCODONE product
            TEVA_MDL_A_01039159 - 01039162                     TEVA_MDL_A_01056272 - 01056278
   22   005 PowerPoint slide deck titled               22
            Suspicious Order Monitoring,                    020 E-mail chain, top e-mail from
   23       Joseph Tomkiewicz, Diversion               23      McGinn to Shanahan, Sent:
            Operations Manager, 2014                           10/16/2015, Subject: FW: PO# 1031374
   24       TEVA_MDL_A_02923616                        24      for the OXYCODONE product
                                              Page 7                                             Page 9
    1              - - -                                1               - - -
    2            EXHIBITS                               2            EXHIBITS
                   (cont'd)                                             (cont'd)
    3                                                   3
                   - - -                                                - - -
    4   TEVA-TOMKIEWICZ                                 4   TEVA-TOMKIEWICZ
        EXHIBIT NO. DESCRIPTION                PAGE         EXHIBIT NO. DESCRIPTION               PAGE
    5                                                   5
        006 SOP-8277: Suspicious Order                      021 Document, top line: 10:10 call
    6      Monitoring - DEA Order Holds                 6      returning Jen King's call
           TEVA_MDL_A_02660892 - 02660899                      TEVA_MDL_A_02063728
    7
        007 SOP-8278: Suspicious Order                  7
    8      Monitoring - Do Not Ship List                    022 E-mail chain, top e-mail from
           TEVA_MDL_A_01061094 - 01061098               8      Tomkiewicz to McGinn,
    9                                                          Sent: 10/28/2015, Subject: RE:
        008 SOP-8279: Suspicious Order                  9      Publix Anda weekly call
   10      Monitoring - Customer Due Diligence                 TEVA_MDL_A_01462200 - 01462203
           TEVA_MDL_A_02660918 - 02660924              10
   11
        009 SOP-8280: Suspicious Order                      023 Document, top line: [10/30/2015
   12      Monitoring - Customer Site Visits
                                                       11      12:10 PM] Marianne Geiger:
           TEVA_MDL_A_02660932 - 02660936                      TEVA_MDL_A_01056182
   13                                                  12
        010 SOP-8489: Suspicious Order                      024 Letter from Tomkiewicz to
   14      Monitoring - DEA Order Holds -              13      DEA/Spears dated December 1, 2014,
           Locations Other Than New Britain,                   Re: Suspicious Order Report
   15      PA and North Wales, PA                      14      TEVA_MDL_A_02342525
           TEVA_MDL_A_03160173 - 02160175              15   025 Internal Memorandum To: McGinn,
   16                                                          From: Tomkiewicz, Date: November 21,
        011 E-mail from Benkert to Tomkiewicz          16      2014, Subject: Richie Pharmacal
   17      Sent: 1/7/2014, Subject: SOM Documents              APAP/Codeine Orders
           TEVA_MDL_A_03478588                         17      (Bates illegible)
   18                                                  18   026 Letter from Tomkiewicz to
        012 Letter from Buzzeo to McGinn                       DEA/Spears dated June 25, 2015,
   19      dated September 25, 2012                    19      Re: Suspicious Order Report
           TEVA_MDL_A_01060005 - 01060012                      TEVA_MDL_A_02063701
   20                                                  20
        013 Teva Pharmaceuticals North America              027 Letter from Tomkiewicz to Richie
   21      Order Management, DEF OPS                   21      Pharmacal dated January 22, 2016
           Enhancements, Functional Design                     TEVA_MDL_A_01046053
   22      Specification                               22
           TEVA_MDL_A_03479111 - 03479127              23
   23
   24                                                  24

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    1                - - -                               1       MR. PIFKO: Good morning. My name
    2          DEPOSITION SUPPORT INDEX                  2   is Mark Pifko -- oh, sorry, I forgot.
    3                - - -                               3   Counsel for one of the state court cases
    4   Direction to Witness Not to Answer               4   wanted to say something.
        Page Line Page Line Page Line
    5   46 12                                            5       MR. GASTEL: My name is Ben Gastel
    6                                                    6   from Branstetter, Stranch & Jennings in
        Request for Production of Documents              7   Nashville, Tennessee representing the
    7   Page Line Page Line Page Line                    8   plaintiffs in the Dunaway versus Purdue
        (None)
    8                                                    9   case in Cumberland County State Court,
    9   Stipulations                                    10   Tennessee, and the Staubus versus Purdue
        Page Line Page Line    Page Line                11   case in Sullivan County, Tennessee.
   10   11 2
   11                                                   12   Those were cross-noticed by Teva today
        Question Marked                                 13   to this -- in this deposition.
   12   Page Line Page Line    Page Line                14       Pursuant to the order entered by
        (None)                                          15   Judge Polster in MDL 2804, Teva was
   13
   14                                                   16   required to perform a number of
   15                                                   17   important tasks by specific deadlines
   16                                                   18   with regard to all cross-notice parties.
   17
                                                        19   The Tennessee plaintiffs object that
   18
   19                                                   20   Tennessee -- that Teva has flagrantly
   20                                                   21   ignored their duties pursuant to Judge
   21                                                   22   Polster's order. Specifically, Teva was
   22
                                                        23   required to produce Mr. Tomkiewicz's
   23
   24                                                   24   complete and total custodial file by
                                              Page 11                                         Page 13
    1                 - - -                              1   November 14th, 14 days in advance of
    2          (It is hereby stipulated and agreed       2   this noticed deposition. The
    3      by and among counsel that sealing,            3   plaintiffs -- the discovery vendor did
    4      filing and certification are waived; and      4   not receive any discovery from Teva in a
    5      that all objections, except as to the         5   timely manner and was not able to begin
    6      form of the question, will be reserved        6   ingesting Teva data until Wednesday,
    7      until the time of trial.)                     7   November 21st, just seven days before
    8                 - - -                              8   this deposition. The complete file to
    9          VIDEO OPERATOR: We're now on the          9   the Tennessee plaintiffs was not fully
   10      record. My name is David Lane,               10   ingested for review until November 24th.
   11      videographer for Golkow Litigation           11       14 days before this deposition,
   12      Services. Today's date is November           12   Teva was also required to inform the
   13      28th, 2018. Our time is 9:58 a.m.            13   Tennessee plaintiffs whether
   14          This deposition is taking place in       14   Mr. Tomkiewicz has personal knowledge of
   15      Philadelphia, Pennsylvania in the matter     15   state-specific issues, including
   16      of National Prescription Opiate              16   possibly state-specific documents in the
   17      Litigation, MDL. Our deponent today is       17   custodian file. Teva stated that
   18      Joseph Tomkiewicz.                           18   Mr. Tomkiewicz has no Tennessee-specific
   19          Counsel will be noted on the             19   knowledge. The Tennessee plaintiffs
   20      stenographic record. The court reporter      20   believe that this statement is patently
   21      today is Lisa Feissner, who will now         21   untrue, and at best, intentionally
   22      swear in the witness.                        22   misleading.
   23          (The witness was placed under            23       By failing to abide by those
   24      oath.)                                       24   crucial protocol, Teva has prejudiced

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    1       the Tennessee plaintiffs' ability to           1        Q. What was that in connection with?
    2       prepare for this deposition today.             2        A. West Virginia, in conjunction with
    3       Furthermore, the Tennessee claims at           3   AmerisourceBergen.
    4       issue are different and require                4           (Reporter interruption.)
    5       different elements and require different       5        Q. The West Virginia Attorney General
    6       discovery areas of inquiry than the MDL.       6   sued AmerisourceBergen, correct?
    7       Also, the Tennessee Rules of Civil             7        A. As far as I know, yes, correct.
    8       Procedure do not place any time                8        Q. Okay. And you were deposed in
    9       restrictions on the length of these            9   connection with that litigation?
   10       depositions.                                  10        A. Yes.
   11          The Tennessee plaintiffs also              11        Q. Have you been deposed any other
   12       requested two hours to depose                 12   times?
   13       Mr. Tomkiewicz in addition to MDL's           13        A. Yes.
   14       deposition time as required by the order      14        Q. When was the last time before the
   15       from Judge Polster. Teva has not              15   West Virginia AG situation?
   16       responded to this request.                    16        A. It was in the early 2000s.
   17          For each of these reasons, the             17        Q. And what was that concern?
   18       Tennessee plaintiffs object to this           18        A. That was concerning a pharmacy in
   19       deposition going forward today in these       19   the state of Hawaii over returned and reuse of
   20       Tennessee cases and reserve the right to      20   medications.
   21       redepose Mr. Tomkiewicz if necessary.         21        Q. Did you work for one of the parties
   22          Thank you, Mark.                           22   involved in that litigation?
   23          MR. HAMMOUD: We note the objection         23        A. Yes.
   24       for the record, but we would follow up        24        Q. Who was your employer at that time?
                                               Page 15                                                Page 17
    1        and say we did not receive any notice         1        A. PharMerica.
    2        that the Tennessee counsel would need         2        Q. Any other times you've been
    3        two additional hours for deposition as        3   deposed?
    4        required by the protocol, and that would      4        A. No.
    5        be our objection.                             5        Q. I assume that in preparing for this
    6            MR. PIFKO: Does anyone else want          6   deposition, you were -- went over the ground
    7        to state any objections before we start?      7   rules, but I'll just go over a couple of high
    8             JOSEPH TOMKIEWICZ,                       8   points so that we're all on the same page here.
    9   having been first duly sworn, was examined and     9           Let's make sure we don't talk over
   10   testified as follows:                             10   each other. You know, you can see there's a
   11                EXAMINATION                          11   lot of people in the room, people want to have
   12   BY MR. PIFKO:                                     12   objections. The court reporter can only write
   13        Q. All right. My name is Mark Pifko.         13   down what one person is saying at a time. So
   14   I represent the plaintiffs in the MDL. Can        14   if two people are talking at once, it makes it
   15   you -- let's start by, can you please state and   15   hard for us to get a clear record, okay?
   16   spell your name for the record?                   16        A. Mm-hmm.
   17        A. Sure. Joseph Tomkiewicz,                  17        Q. And then the other thing is we need
   18   J-O-S-E-P-H, T-O-M-K-I-E-W-I-C-Z.                 18   to make sure we get an audible verbal response
   19        Q. Have you ever had your deposition         19   from you to the questions.
   20   taken before?                                     20        A. Oh, yes.
   21        A. Yes.                                      21        Q. So again, she can't -- if you shake
   22        Q. Okay. How long ago was your               22   your head like you would in a normal
   23   deposition last taken?                            23   conversation, she can't write that down. So
   24        A. Two or three years ago.                   24   that makes it also difficult, okay?

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    1        A. Yes.                                       1   Chicago, Illinois.
    2        Q. Last thing, as far as that kind of         2        Q. Tampa first and then Chicago?
    3   issue, please be sure to say yes or no if          3        A. Yes.
    4   you're trying to answer a yes-or-no question,      4        Q. What was the time period roughly
    5   rather than shaking your head or shrugging your    5   that you were in Tampa for AmerisourceBergen?
    6   shoulders or something like that because,          6        A. I was in Tampa until June of 2001.
    7   again, she can't understand that, and then if      7        Q. There was a merger between the
    8   you say uh-huh or huh-uh, it reads almost the      8   Bergen corporation and Amerisource, correct?
    9   same. So try to state clearly if you're saying     9        A. Yes.
   10   yes or no instead of uh-huh or huh-uh, okay?      10        Q. Who did you work for in 1999?
   11        A. Yes.                                      11        A. Bergen Brunswig.
   12        Q. And then last thing, you understand       12        Q. Who did you report to when you
   13   that you're under oath, right?                    13   worked for the Bergen Brunswig corporation?
   14        A. Yes, I do.                                14        A. I reported to Sharon Hartman, and
   15        Q. Okay. Your testimony here is under        15   then I reported to Julianne Hom, H-O-M.
   16   penalty of perjury. You understand that?          16        Q. And your title was regulatory
   17        A. Yes, I do.                                17   affairs specialist?
   18        Q. Is there any reason why you believe       18        A. Yes.
   19   this deposition shouldn't go forward?             19        Q. What's your highest level of
   20        A. No.                                       20   education?
   21        Q. Are you undergoing any treatment or       21        A. I completed several years of
   22   taking any medication that would impair your      22   college but did not graduate.
   23   ability to tell the truth?                        23        Q. Where did you go to high school?
   24        A. No.                                       24        A. I went to high school in Laona,
                                               Page 19                                                 Page 21
    1        Q. Are you undergoing any treatment or        1   Wisconsin.
    2   taking any medication that would impair your       2        Q. Where you attended college, was
    3   memory?                                            3   that all at the same place?
    4        A. No.                                        4        A. No. I attended two different
    5        Q. All right. You joined                      5   colleges.
    6   AmerisourceBergen in approximately 2008; is        6        Q. Okay. Where was the first place
    7   that correct?                                      7   you attended college?
    8        A. I actually had two stints with             8        A. First one was in Kansas City,
    9   AmerisourceBergen. As a corporate                  9   Missouri.
   10   investigator, I joined them in 2008.              10        Q. What school did you attend?
   11        Q. Okay. And you worked for them at          11        A. Well, it was the Missouri Institute
   12   some point before that?                           12   of Technology and then became a DeVry location.
   13        A. Yes.                                      13        Q. It became DeVry while you were
   14        Q. When was that?                            14   there or after?
   15        A. That was approximately 1999 to            15        A. Yes, while I was there.
   16   somewhere around early 2002.                      16        Q. Okay. What were you studying
   17        Q. When you worked for                       17   there?
   18   AmerisourceBergen in 1999 to 2002, what did you   18        A. Electronic -- electrical
   19   do?                                               19   engineering.
   20        A. I was a regulatory affairs                20        Q. What were the years that you were
   21   specialist.                                       21   there?
   22        Q. Where were you physically located         22        A. I was there from '84 to early '86.
   23   at that time?                                     23        Q. And then you attended college
   24        A. I was in Tampa, Florida and               24   somewhere else as well?

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    1        A. Yes.                                       1   regulatory affairs?
    2        Q. Where was that?                            2        A. That would have been '99, when I
    3        A. Wisconsin-Milwaukee.                       3   started with Bergen Brunswig.
    4        Q. And what were the years that you           4        Q. So Bergen bought the PharMerica
    5   were there?                                        5   corporation?
    6        A. '87 to '90.                                6        A. Correct.
    7        Q. What did you study there?                  7        Q. Okay. Did your job change at that
    8        A. English.                                   8   time, or --
    9        Q. But you didn't finish there?               9        A. Well, yes -- well, not at the time
   10        A. Correct.                                  10   of the purchase, but it was shortly after the
   11        Q. Okay. And what did you do in 1990?        11   purchase that I moved to the regulatory affairs
   12        A. In terms of --                            12   department.
   13        Q. You got a job somewhere?                  13        Q. Okay. Did you have to physically
   14        A. Well, I had a job, but I -- I was         14   move cities as well?
   15   also playing in a band, and we had a record and   15        A. No.
   16   a music video.                                    16        Q. Okay. So your jobs at the
   17        Q. So in 1999 -- prior to 1999, where        17   PharMerica corporation were in Tampa?
   18   were you working?                                 18        A. Correct -- not all of them. I had
   19        A. I worked for PharMerica.                  19   started in Milwaukee in an actual pharmacy,
   20        Q. Okay. What was the time period            20   where I was an IT technician and then a
   21   that you worked for PharMerica?                   21   pharmacy technician.
   22        A. Well, PharMerica became PharMerica        22           And then when I moved to the
   23   in '96. Before that, part of it was known as      23   corporate headquarters, which at the time was
   24   Pharmacy Corporation of America. I started        24   in Boulder, Colorado, that's when I was a
                                               Page 23                                                Page 25
    1   with Pharmacy Corporation of America in '87.       1   contract administrator and negotiated
    2        Q. What were you doing for them then?         2   purchasing contracts.
    3        A. I started as an IT technician and          3            In '96, the headquarters moved to
    4   became a pharmacy technician, and then I was       4   Tampa, Florida, and I moved to Tampa, Florida
    5   transferred to the corporate office, where I       5   at that time.
    6   was a contract administrator and negotiated        6        Q. Okay. So when the Bergen Brunswig
    7   generics purchasing contracts.                     7   Corporation bought PharMerica, sometime after
    8        Q. How long did you work -- so then           8   that, you transitioned into a regulatory
    9   you worked for PharMerica, in various              9   affairs role, correct?
   10   iterations of it, from 1987 to 1999?              10        A. Correct, correct.
   11        A. Correct.                                  11        Q. Did you receive any special
   12        Q. Did you have any involvement in           12   training to transition into the regulatory
   13   regulatory affairs at the PharMerica              13   affairs role?
   14   corporation?                                      14        A. There was ongoing training. There
   15        A. Yes, I did.                               15   was peer training. There was training that was
   16        Q. Okay. When did you start having           16   conducted by -- because we reported into the
   17   responsibilities that included regulatory         17   legal department, training conducted by the
   18   affairs?                                          18   attorneys of the company.
   19        A. That was while I was with Bergen          19        Q. What was your specific
   20   Brunswig. Bergen Brunswig had purchased           20   responsibility when you first became a
   21   PharMerica.                                       21   regulatory affairs specialist?
   22        Q. Oh, okay. So what I'm trying to           22        A. I was responsible for performing
   23   get at was, when was the first time that you      23   on-site regulatory audits of pharmacies that
   24   had a job where your responsibilities included    24   were owned by Bergen Brunswig, which were

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    1   primarily PharMerica locations, but there were     1        AmerisourceBergen.
    2   also what were called Stadtlanders. That was       2   BY MR. PIFKO:
    3   another specialty pharmacy group that Bergen       3        Q. Chris, the in-house attorney for
    4   owned at that time, and so conducted audits at     4   AmerisourceBergen?
    5   those sites as well.                               5        A. Correct.
    6        Q. I want to take a second to talk            6        Q. Okay. Bob, who is sitting next to
    7   about your preparation for this deposition.        7   you?
    8   Did you meet with attorneys to prepare for this    8        A. Yes.
    9   deposition?                                        9        Q. Okay. Jeff, who is down the table?
   10        A. Yes.                                      10        A. Yes.
   11        Q. Did you meet with AmerisourceBergen       11        Q. Just, again, we're stating things
   12   attorneys to prepare for this deposition?         12   for the record so that --
   13        A. Yes.                                      13        A. Yes.
   14        Q. You currently are employed by Teva;       14        Q. They can't see the gestures that
   15   is that correct?                                  15   you're making.
   16        A. Correct.                                  16        A. Oh, sorry.
   17        Q. Did Teva tell you you had to meet         17        Q. Anyone else that was there that you
   18   with AmerisourceBergen attorneys?                 18   can think of?
   19        A. No.                                       19        A. No.
   20        Q. When did you first make contact           20        Q. Okay. Where did that meeting
   21   with AmerisourceBergen attorneys?                 21   occur?
   22        A. I don't remember the exact date.          22        A. That occurred at Reed Smith's
   23   It was maybe a couple weeks ago.                  23   office.
   24        Q. Was that contact made directly, or        24        Q. About how long was that meeting?
                                                Page 27                                             Page 29
    1   did that come through someone at Teva?             1       A. About four hours.
    2        A. I don't remember.                          2       Q. Did you have to get time off from
    3        Q. When you met with                          3   Teva to participate in that meeting?
    4   AmerisourceBergen -- well, okay. So the first      4       A. No. There was no vacation time
    5   time that you interacted with someone              5   taken for that meeting at all.
    6   representing AmerisourceBergen, was that on the    6       Q. Was that during your normal working
    7   phone or in person?                                7   hours, or was it after work?
    8        A. I don't think it was a phone call.         8       A. Normal working hours.
    9   I don't think I had a phone call.                  9       Q. Okay. But Teva let you not attend
   10        Q. Were there attorneys from Teva            10   work to go to this meeting?
   11   present at that meeting?                          11       A. Yes.
   12        A. No.                                       12       Q. Okay. Did you have to tell anyone
   13        Q. So it was just you and                    13   at Teva that you were going to go to this
   14   AmerisourceBergen attorneys?                      14   meeting?
   15        A. Correct. The attorneys                    15       A. Oh, my boss was aware.
   16   representing me and an AmerisourceBergen          16       Q. Okay. And you said that you needed
   17   attorney.                                         17   to not be at your job so you could meet with
   18        Q. Well, let's just make it easy. Can        18   AmerisourceBergen attorneys?
   19   you recall the names of anyone who was at that    19       A. Yes.
   20   meeting?                                          20       Q. And they said that was okay?
   21        A. Bob, who is with Reed Smith --            21       A. Yes.
   22   Jeff? Jason?                                      22       Q. Did they show you any documents
   23            MR. NICHOLAS: You got it. Jeff.          23   when you were at that meeting?
   24            THE WITNESS: And then Chris from         24       A. Yes.

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    1        Q. E-mails and things?                        1   AmerisourceBergen attorneys on any other
    2        A. Yes.                                       2   occasions other than that meeting?
    3        Q. Okay. Did they should you any              3        A. No.
    4   documents that refreshed your recollection         4        Q. You weren't obligated to meet with
    5   about past events?                                 5   them by anyone?
    6        A. Some, yes.                                 6        A. I was not obligated to meet with
    7        Q. Can you recall what any of those           7   them.
    8   were?                                              8        Q. You still have loyalty to
    9        A. Yes.                                       9   AmerisourceBergen Corporation?
   10        Q. Can you describe them?                    10        A. What do you mean by "loyalty"?
   11        A. Oh, sure. There were some e-mails,        11        Q. Well, why did you take time off
   12   printouts of e-mails. Mostly, printouts of        12   your job and meet with people if you didn't
   13   e-mails.                                          13   have to do it?
   14        Q. The e-mails that refreshed your           14        A. Sometimes you do things that -- not
   15   recollection about past events, do you remember   15   because you have to but because you're asked
   16   what they were about?                             16   to.
   17        A. Oh, yes.                                  17        Q. Who asked you to?
   18        Q. Can you tell me?                          18        A. Would have been -- well, I'm
   19        A. Oh, sure. There was one about a           19   guessing it was AmerisourceBergen, but I can't
   20   pain clinic in Ohio that I had visited and had    20   remember exactly who posed the question to me.
   21   done an on-site investigation.                    21        Q. But when they asked you, you were
   22        Q. What was the name of that pain            22   willing to do so even though you didn't have
   23   clinic?                                           23   to?
   24        A. Summit Pain Clinic.                       24        A. Oh, sure.
                                               Page 31                                               Page 33
    1        Q. What was the e-mail about that you         1        Q. Why was that?
    2   reviewed?                                          2        A. Because I felt like my testimony
    3        A. I can't remember specifically.             3   was needed.
    4        Q. There was a problem with this pain         4        Q. What I'm trying to get at is, why
    5   clinic in Ohio?                                    5   did you feel like you needed to meet with
    6        A. A problem? Not a problem, per se.          6   Amerisource people to prepare for the
    7        Q. You visited it. What was the               7   testimony?
    8   purpose of your visit?                             8           MR. NICHOLAS: I'll object at this
    9        A. I visited it because of the volume         9        point as asked and answered several
   10   of oxycodone being purchased by the pain clinic   10        times already.
   11   had appeared to be that it could be something     11           Go ahead.
   12   that could be unusual.                            12           THE WITNESS: Because there may
   13        Q. Do you remember the approximate           13        have been some things needed to review
   14   time period of that visit?                        14        prior that may refresh my memory about
   15        A. Not specifically.                         15        some events.
   16        Q. But the e-mail you reviewed would         16   BY MR. PIFKO:
   17   have the dates on it?                             17        Q. Do you understand yourself to be
   18        A. Yes.                                      18   represented here today by AmerisourceBergen
   19        Q. Okay. Any other e-mails that you          19   attorneys?
   20   reviewed in that meeting that refreshed your      20        A. I understand myself to be
   21   recollection about past events?                   21   represented by Bob and Jeff, who are not
   22        A. Actually, nothing specific that I         22   AmerisourceBergen attorneys.
   23   can remember specifically like Summit.            23        Q. Okay. But you understand they're
   24        Q. Okay. Did you meet with                   24   outside counsel for AmerisourceBergen in this

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     1   litigation?
     2        A. Yes.
     3        Q. Okay. Did you spend any other time
     4   reviewing AmerisourceBergen documents aside
     5   from the meeting that you had with counsel?
     6        A. No.
     7        Q. Did you do anything else to prepare
     8   for the deposition --
     9        A. No.
    10        Q. -- as far as AmerisourceBergen
    11   goes?
    12        A. As far as AmerisourceBergen, no.
    13        Q. Did you like working at
    14   AmerisourceBergen Corporation?
    15        A. Yes.
    16        Q. Did you feel like they treated you
    17   fairly?
    18        A. Yes.
    19        Q. Where is your current address?
    20        A. Quakertown, Pennsylvania.
    21        Q. Did you ever live in New Jersey?
    22        A. No.
    23        Q. How long have you been at the
    24   Quakertown, Pennsylvania location where you
                                              Page 35                         Page 37
     1   live?
     2        A. 11 months.
     3        Q. Where did you live before that?
     4        A. Furlong, Pennsylvania.
     5        Q. How long did you live there?
     6        A. About four years.
     7        Q. Where were you living in 2013?
     8        A. 2013, I was living in Aurora,
     9   Illinois.
    10        Q. You were working for
    11   AmerisourceBergen at that time?
    12        A. Correct.




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                                                           1             (Recess from 10:45 a.m. until
                                                           2         10:54 a.m.)
                                                           3             VIDEO OPERATOR: Back on the record
                                                           4         at 10:54 a.m.
                                                           5   BY MR. PIFKO:
                                                           6         Q. You knew, in connection with your
                                                           7   role at AmerisourceBergen, that certain
                                                           8   narcotic pills were subject to abuse by people,
                                                           9   correct?
                                                          10         A. Oh, yes.
                                                          11         Q. When did you first become aware of
                                                          12   that information?
                                                          13         A. That would have been back when I
                                                          14   first started in pharmacy in '87.
                                                          15         Q. Okay. And --
                                                          16         A. Or even before that, just --
                                                          17         Q. Well, let's -- let's move forward a
                                                          18   little bit. You knew that oxy 15 and oxy 30s
                                                          19   were pills that were particularly abused by
    20        A. No, I don't recall anything with         20   people, correct?
    21   Publix.                                          21             MR. NICHOLAS: Object to the form.
    22        Q. Did you talk to any other                22             THE WITNESS: Yes.
    23   AmerisourceBergen company -- customers about     23   BY MR. PIFKO:
    24   the investigation?                               24         Q. When did you first learn that
                                                Page 63                                               Page 65
     1        A. I don't recall.                           1   information?
     2        Q. You left AmerisourceBergen while --       2            MR. NICHOLAS: Same objection.
     3   shortly after this -- DEA first contacted you,    3            Go ahead.
     4   correct?                                          4            THE WITNESS: And I don't recall
     5        A. Correct.                                  5        specifically.
     6        Q. Did this investigation have               6   BY MR. PIFKO:
     7   anything to do with your departure?               7        Q. In 2008 you knew that, though,
     8        A. No.                                       8   correct?
     9        Q. What was the basis for your               9            MR. NICHOLAS: Same objection.
    10   departing the company?                           10            Go ahead.
    11        A. I was recruited by Teva.                 11            THE WITNESS: Yeah, I would have.
    12        Q. Did anyone at AmerisourceBergen          12   BY MR. PIFKO:
    13   tell you that you were violating company         13        Q. You participated in listservs where
    14   policies at any point?                           14   people shared information about abuse, correct?
    15        A. Not that I recall.                       15        A. Yes.
    16        Q. No one ever said that you had to         16        Q. And that was a regular part of your
    17   leave the company because you were not           17   job to follow that kind of information?
    18   complying with diversion control policies?       18        A. Yes.
    19        A. No.                                      19        Q. And you also knew that people who
    20           MR. PIFKO: I want to take a short        20   had trouble with addiction issues would try to
    21        break.                                      21   circumvent the timed-release mechanisms on
    22           MR. NICHOLAS: Okay.                      22   pills, correct?
    23           VIDEO OPERATOR: Going off the            23            MR. NICHOLAS: Object to the form.
    24        record. The time is 10:45 a.m.              24            THE WITNESS: Yes.

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     1   BY MR. PIFKO:                                     1         Q. Okay. And you could click on any
     2        Q. And so you knew that certain              2   employee's name and a box would pop up and you
     3   immediate-release pills were preferred by         3   could send messages back and forth to them?
     4   people who had addiction problems, correct?       4         A. I could, yes.
     5           MR. NICHOLAS: Same objection.             5         Q. To your knowledge, when was the
     6           THE WITNESS: Yes.                         6   first time AmerisourceBergen had that system?
     7   BY MR. PIFKO:                                     7         A. Oh, I don't recall.
     8        Q. And then you were aware of whether        8         Q. The whole time you were there?
     9   certain timed-release pills were more or less     9         A. May have.
    10   easy to circumvent?                              10         Q. And they definitely had it when you
    11           MR. NICHOLAS: Object to the form.        11   left the company, correct?
    12           THE WITNESS: Not in 2008.                12         A. Yes.
    13   BY MR. PIFKO:                                    13         Q. To your knowledge, all the
    14        Q. Okay. When did you first learn           14   employees that you interacted with would use
    15   about that?                                      15   that from time to time?
    16        A. That would be around the time that       16            MR. NICHOLAS: Object to the form,
    17   Purdue Frederick reformulated their OxyContin.   17         and foundation.
    18        Q. Okay. When was that?                     18            THE WITNESS: I don't recall if all
    19        A. I can't remember specifically.           19         would use it.
    20        Q. Around 2012?                             20   BY MR. PIFKO:
    21        A. It could have been, yes.                 21         Q. Okay. But you used it to
    22        Q. And so you knew that                     22   communicate with people?
    23   immediate-release pills, in particular oxy 15    23         A. Sometimes, yes.
    24   and oxy 30, were more prone to diversion,        24         Q. About issues in your job?
                                               Page 67                                                Page 69
     1   correct?                                          1        A. Could have.
     2           MR. NICHOLAS: Object to the form.         2        Q. Going back to this U.S. attorney
     3           THE WITNESS: Potentially more             3   investigation, did you communicate with anyone
     4        prone to diversion, yes.                     4   about the U.S. attorney investigation on your
     5   BY MR. PIFKO:                                     5   Teva e-mail?
     6        Q. At AmerisourceBergen, one of the          6        A. I don't recall.
     7   ways you communicate is by e-mail, correct?       7        Q. You weren't able to access your
     8        A. Correct.                                  8   AmerisourceBergen e-mails after you left the
     9        Q. But AmerisourceBergen also has an         9   company, correct?
    10   instant messaging system, correct?               10        A. That's correct.
    11        A. Correct.                                 11        Q. So it's impossible that, to the
    12        Q. And you used that regularly to           12   extent that you were having discussions about
    13   communicate with your colleagues at              13   meetings with the U.S. attorney or DEA agents,
    14   AmerisourceBergen?                               14   that any of those would have occurred -- to the
    15        A. Occasionally.                            15   extent they were after you worked for
    16        Q. You said you had a little bit of an      16   AmerisourceBergen, they couldn't have been on
    17   IT background earlier?                           17   your AmerisourceBergen account, correct?
    18        A. Yes.                                     18        A. That would be correct.
    19        Q. Do you know -- I want to understand      19        Q. Do you have a personal e-mail
    20   the functionality of the instant messaging       20   account?
    21   system. So when you log on to your computer at   21        A. Yes.
    22   AmerisourceBergen, it would log you on to this   22        Q. Is that the same account you've had
    23   messaging system as well?                        23   for some time?
    24        A. Yes.                                     24        A. No.

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     1        Q. Back at that time in 2014, do you         1          THE WITNESS: So it would be Ed
     2   remember what personal e-mail account you had?    2       Hazewski, Kevin Kreutzer --
     3        A. Yes.                                      3          (Reporter interruption.)
     4        Q. What was that, like Gmail or              4          THE WITNESS: Ed Hazewski, Liz
     5   Hotmail or --                                     5       Garcia, Eric Martin, Marcelino
     6        A. Oh, no, it was actually a domain          6       Guerreiro, Kevin Kreutzer.
     7   that my wife owned.                               7   BY MR. PIFKO:
     8        Q. Okay. What was the name of it?            8       Q. Do you think you would have
     9        A. Well, the e-mail address was              9   communicated with any of them on your personal
    10   Joe@marvindog.com.                               10   e-mail after you left the company?
    11        Q. Was that your wife's business or         11       A. I don't recall anything specific.
    12   just a personal thing she set up?                12       Q. If you communicated with someone,
    13        A. That was her business.                   13   it would have -- would it -- it would have been
    14        Q. The server was under her control?        14   those people, though?
    15        A. Well, it was a -- the actual             15       A. Probably, yes.
    16   physical server was not under her control.       16       Q. Ed, was he your boss at the time?
    17        Q. Like through some service she            17       A. Yes.
    18   hired?
    19        A. Yes.
    20        Q. Does she still have that domain?
    21        A. No.
    22        Q. When did she stop maintaining that
    23   domain?
    24        A. That domain went away maybe a year
                                               Page 71                                                Page 73
     1   and a half, two years ago.
     2        Q. Did you ever use that e-mail
     3   address to communicate with anyone from
     4   AmerisourceBergen?
     5        A. I could have.
     6        Q. During the time that you worked for
     7   AmerisourceBergen?
     8        A. No.
     9        Q. Okay. But after you worked for
    10   AmerisourceBergen, you might have used it to
    11   communicate with people?
    12        A. Could have, yes.
    13        Q. Did you -- do you have any specific
    14   memories of specific people from
    15   AmerisourceBergen that you communicated with
    16   after you left the company?
    17        A. No.
    18        Q. Who were the people in 2013 when
    19   you left the company that you worked closest
    20   with?
    21        A. From AmerisourceBergen?
    22        Q. Yeah.
    23           MR. NICHOLAS: Object to the form.
    24           Go ahead.

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                                                          1        A. No. To Chicago.
                                                          2        Q. Okay, to Chicago. You mentioned
                                                          3   Mr. Kreutzer as someone who you interacted with
                                                          4   at AmerisourceBergen?
                                                          5        A. Correct.
                                                          6        Q. Did you know that he also worked at
                                                          7   Teva?
                                                          8        A. Yes.
                                                          9        Q. Okay. And you -- he reported to
                                                         10   the same person at that time?
                                                         11        A. To Colleen?
                                                         12        Q. Yeah.
                                                         13        A. Yes.
                                                         14        Q. Was he part of how you made the
                                                         15   introduction with the company?
                                                         16        A. No.
                                                         17        Q. When did you have a -- discussions
                                                         18   with Mr. Kreutzer about the fact that he worked
                                                         19   for Teva?
                                                         20           MR. NICHOLAS: Object to the form.
                                                         21           THE WITNESS: That would have been
                                                         22        when I gave notice to AmerisourceBergen
                                                         23        that I was leaving AmerisourceBergen.
                                                         24   BY MR. PIFKO:
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                                                          1        Q. Okay. And he said, oh, I worked
                                                          2   there, too?
                                                          3        A. Oh, well, I knew that he had worked
                                                          4   there.
                                                          5        Q. Oh, okay. Oh, and so you went and
     6        Q. Did you tell anyone at Teva when         6   talked to him and said, I'm joining -- I'm
     7   you were starting the job that you were          7   doing --
     8   being -- having discussions with the U.S.        8        A. Yes.
     9   attorney and the DEA?                            9        Q. Okay. Did he tell you what he did
    10        A. Yes.                                    10   for them?
    11        Q. Who did you tell?                       11        A. Didn't have any specific
    12        A. My boss, my supervisor.                 12   conversations that I remember.
    13        Q. You told the person who hired you       13        Q. Did he work in diversion control?
    14   or you were interviewing with?                  14        A. It was my position that I'm
    15        A. Yes.                                    15   currently in that he was in.
    16        Q. So you told them that before they       16        Q. Okay. Did you understand that you
    17   hired you?                                      17   were replacing him?
    18        A. I don't recall.                         18        A. Yes.
    19        Q. Okay. Who was the -- the name of        19        Q. Did he tell you that he was
    20   the -- your boss at that time?                  20   terminated from Teva?
    21        A. Colleen McGinn.                         21        A. I don't recall a specific
    22        Q. Okay. So let's -- well, let's back      22   conversation. But I did know that he was
    23   up for a second. At some point you moved from   23   terminated.
    24   Tampa to Pennsylvania for AmerisourceBergen?    24        Q. What was the basis for how you knew

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     1   he was terminated?                              1        A. It was the same position,
     2          MR. NICHOLAS: Object to the form.        2   regulatory affairs specialist.
     3          Go ahead.                                3        Q. And you were doing audits there?
     4          THE WITNESS: He had called Ed at         4        A. Correct.
     5       AmerisourceBergen essentially looking       5        Q. And then in 2008, you moved over to
     6       for a job.                                  6   AmerisourceBergen corporation?
     7   BY MR. PIFKO:                                   7        A. Correct.
     8       Q. And he told Ed he had been               8        Q. And your job was a corporate
     9   terminated and he needed work?                  9   investigator?
    10          MR. NICHOLAS: Object to the form.       10        A. Correct.
    11          THE WITNESS: And I don't know           11        Q. What was your -- what were your
    12       that.                                      12   responsibilities at that time?
    13   BY MR. PIFKO:                                  13        A. As corporate investigator?
    14       Q. Okay. But you know that he              14        Q. Yeah.
    15   communicated that he was terminated in that    15        A. Performing new customer due
    16   discussion?                                    16   diligence and reviewing orders for suspicious
    17          MR. NICHOLAS: Same objection.           17   order monitoring.
    18          THE WITNESS: And that's correct.        18        Q. Had you ever conducted new customer
    19   BY MR. PIFKO:                                  19   due diligence before having that job?
    20       Q. And how did you know that?              20        A. No.
    21       A. Ed told me.                             21        Q. That was your first time doing
    22       Q. Was there concern about hiring him      22   that?
    23   because he had been terminated?                23        A. Correct.
    24          MR. NICHOLAS: Object to the form.       24        Q. And then you also were responsible
                                              Page 79                                               Page 81
     1            THE WITNESS: I don't remember.         1   for reviewing orders for suspicious order
     2   BY MR. PIFKO:                                   2   monitoring, you said?
     3        Q. Did you have any understanding          3        A. Correct.
     4   about why he was terminated?                    4        Q. Had you ever done that before?
     5        A. I don't recall.                         5        A. No.
     6        Q. So let's back up. Let's talk about      6        Q. Were you aware that
     7   your -- so you said in -- you became a          7   AmerisourceBergen had an enforcement action
     8   regulatory affairs specialist in 1999?          8   taken against it by the DEA in 2007?
     9        A. Correct.                                9        A. I don't remember any specifics
    10        Q. Okay. And that involved auditing       10   around it. I do remember an action, but I
    11   of facilities?                                 11   don't know any of the specifics around it.
    12        A. Correct.                               12        Q. When you took on this corporate
    13        Q. After the -- you said you had that     13   investigator role, that wasn't part of the
    14   position from 1999 to 2002, correct?           14   discussion?
    15        A. With Bergen Brunswig, and then the     15        A. Correct. Not that I recall.
    16   position moved -- well, the whole department   16        Q. Okay. So let's talk about -- well,
    17   moved back to PharMerica.                      17   how long did you have that role as -- the title
    18        Q. Okay. But at that time PharMerica      18   of corporate investigator?
    19   was owned by AmerisourceBergen corporation?    19        A. That was until -- it was sometime
    20        A. Correct.                               20   in -- at the end of 2012, I believe.
    21        Q. And so then you worked for             21        Q. And then what job did you take on
    22   PharMerica from 2002 to 2008?                  22   at that point?
    23        A. Correct.                               23        A. Diversion program manager.
    24        Q. And what was your job there?           24        Q. You held that from 2012 to the time

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     1   you left?                                         1   customer due diligence before, you said. How
     2        A. Correct.                                  2   did you get trained to perform that function?
     3        Q. When you were a corporate                 3        A. It was on-the-job training.
     4   investigator from 2008 to 2012, who did you       4        Q. Who trained you?
     5   report to?                                        5        A. Ed Hazewski, and I think Kevin
     6        A. Ed Hazewski.                              6   Kreutzer may have as well.
     7        Q. And where were you physically             7        Q. They were both working there when
     8   located? In Illinois?                             8   you joined the company in 2008?
     9        A. I was in Illinois, yes.                   9        A. Yes.
    10        Q. How many people were in the office       10        Q. So let's talk about performing the
    11   there with you?                                  11   new customer due diligence. Did they have that
    12        A. In Illinois? I don't recall.             12   Form 590 at the time when you joined?
    13        Q. Were there other members of the          13        A. Yes.
    14   diversion control team in Illinois with you?     14        Q. Okay. What specifically were you
    15        A. No.                                      15   doing with respect to new customer due
    16        Q. You were the only one?                   16   diligence?
    17        A. Correct.                                 17        A. Well, reviewing the form, reviewing
    18        Q. The other people in the office, did      18   the information that was presented on the form,
    19   you have any understanding of what they did in   19   looking for proper licensure, reviewing the
    20   that office?                                     20   information on the form, conducting searches
    21        A. In the office where I was                21   looking for any adverse information on the
    22   physically located?                              22   potential customer.
    23        Q. Yeah.                                    23        Q. When you say "adverse information,"
    24        A. A general understanding, yes.            24   what do you mean?
                                               Page 83                                                Page 85
     1          Q. What did you understand that they       1        A. That could be information based on,
     2   did?                                              2   you know, discipline on their license, or it
     3        A. It was general duties related to          3   could be, for example, their phone number
     4   the distribution center.                          4   showing up on a website somewhere that might
     5        Q. Okay. So it was specific to that          5   indicate that some sort of diversion activity
     6   specific distribution center?                     6   could possibly be occurring.
     7        A. Correct.                                  7        Q. Did you understand where the Form
     8        Q. Your office was in the distribution       8   590s came from that you were looking at?
     9   center?                                           9        A. What do you mean, where it came
    10        A. Correct.                                 10   from?
    11        Q. But your responsibilities were not       11        Q. So you'd get piles of Form 590s to
    12   limited to that distribution center?             12   look at, correct?
    13        A. Correct.                                 13        A. Well, a couple a week, sure. Yeah.
    14        Q. They -- you had national                 14   I don't know if I'd say "piles."
    15   responsibilities?                                15        Q. Okay. How did you receive them,
    16        A. Correct.                                 16   hard copy or by e-mail?
    17        Q. Did you understand there to be a         17        A. Generally via e-mail.
    18   specific reason why you were located there?      18        Q. Okay. So they would e-mail them to
    19        A. Because I lived there.                   19   you, and that's how you would know that you
    20        Q. Okay.                                    20   were going to review those?
    21        A. Yeah.                                    21        A. Correct. There was an e-mail box
    22        Q. That was your preference?                22   for different regions, and the forms would be
    23        A. Yes, that was my preference.             23   e-mailed to those regional e-mail boxes that --
    24        Q. So you'd never performed new             24   several investigators had access to all those

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     1   e-mail boxes.                                      1        A. No specifics, but I do recall
     2        Q. Were you responsible for a specific        2   discussing with salespeople, yes.
     3   e-mail box?                                        3        Q. So you were focused on looking if
     4        A. For a specific region, yes.                4   the customer's license was up to date?
     5        Q. Okay. What was your region?                5        A. That was one of the pieces of
     6        A. I do remember having the East Coast        6   information, correct.
     7   for a while, but it moved around a bit.            7        Q. And then you said you did some
     8        Q. So there were changes in the               8   Internet research about the pharmacy to see if
     9   regions that you were responsible for?             9   you could see any issues of concern there?
    10        A. Correct, correct.                         10        A. Correct.
    11        Q. At various points you had                 11        Q. Were there specific websites that
    12   responsibility for regions all over the           12   you looked at?
    13   country?                                          13        A. Nothing specific other than I used
    14        A. Correct, different regions.               14   Google a lot.
    15        Q. About -- do you recall how                15        Q. Were there websites that discussed
    16   frequently you changed regions?                   16   the diversion that you would look at?
    17        A. I don't recall. Although I had at         17        A. Yes.
    18   one point been taken off of being responsible     18        Q. Do you remember the names of any of
    19   for a region and I more did sort of at-large      19   those?
    20   investigations, new customer due diligence        20        A. Bluelight.
    21   investigations.                                   21        Q. Bluelight?
    22        Q. Approximately what time period was        22        A. Yes.
    23   that?                                             23        Q. Do you remember how that was
    24        A. I don't remember.                         24   spelled?
                                                Page 87                                                Page 89
     1        Q. So did you understand that sales           1        A. Common spelling,
     2   representatives would send these forms to these    2   B-L-U-E-L-I-G-H-T-dot-R-U at the time. It was
     3   e-mail addresses?                                  3   a Russian-based site.
     4        A. Yes.                                       4        Q. Okay. And that was a site where
     5        Q. Did you ever call the sales reps to        5   people who were looking for illegal pills
     6   ask them questions?                                6   could -- would go and have discussions?
     7        A. I don't recall any specifically,           7        A. Not just pills. Many different
     8   but I'm sure I did at some point.                  8   drugs. But yes.
     9        Q. Did you ever call the customers            9        Q. And so you would look on that site
    10   directly to ask them questions?                   10   to see if a pharmacy was mentioned?
    11        A. No.                                       11        A. I never saw a pharmacy on that
    12        Q. Were you prohibited from doing            12   site, but -- mostly they talked about trends.
    13   that?                                             13        Q. What kind of trends do you remember
    14        A. No.                                       14   being discussed?
    15        Q. Is it AmerisourceBergen's policy          15        A. I do remember discussion of abusers
    16   for you to first direct inquiries to the          16   trying to crack Purdue's time-release mechanism
    17   salespeople?                                      17   when they reformulated OxyContin.
    18        A. It may have been.                         18        Q. And you remember also discussions
    19        Q. So you don't remember contacting          19   about the types of pills that people who were
    20   any customers?                                    20   addicted preferred?
    21        A. From the 590 process, I don't             21        A. Yes.
    22   recall any.                                       22        Q. And so you would -- how often would
    23        Q. But you do recall discussing them         23   you visit that website?
    24   with salespeople from time to time?               24        A. I couldn't say. Hard to recall.

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     1         Q. Regularly?                               1           Go ahead.
     2         A. It was fairly regularly, yes.            2           THE WITNESS: I don't recall when I
     3         Q. Like once a week?                        3        started looking at those. But through
     4         A. Maybe once a week, yes.                  4        the end of my employment there, I did.
     5         Q. Okay. And did you report                 5   BY MR. PIFKO:
     6   information that you learned on that website      6        Q. How did you learn about those
     7   back up to your boss?                             7   websites?
     8         A. I'm sure I did.                          8        A. I don't recall.
     9         Q. Did you write memos or summaries of      9        Q. Any other sites?
    10   it, or just send e-mails?                        10        A. Nothing specific I can think of.
    11         A. It probably would have been             11        Q. Did you look for information about
    12   e-mails.                                         12   specific pharmacies on Erowid?
    13         Q. And those would have been sent to       13        A. Erowid was more about illicit
    14   Ed?                                              14   drugs. So there was very little discussion
    15         A. Ed and other investigators.             15   about pills.
    16         Q. Was there like a distribution list      16        Q. But there was some discussion of
    17   for investigators that you would use?            17   pills on that website?
    18         A. Not that I recall.                      18           MR. NICHOLAS: Object to the form.
    19         Q. Okay. You'd just have to write all      19           THE WITNESS: I do believe there
    20   their names in there --                          20        was some.
    21         A. Yeah.                                   21   BY MR. PIFKO:
    22         Q. -- on your own? Any other websites      22        Q. So you looked at licensing
    23   that you looked at?                              23   information, you looked on those websites when
    24         A. Erowid.                                 24   you got the Form 590s. What else did you look
                                                Page 91                                               Page 93
     1        Q. What's that?                              1   at? Googling, you said.
     2        A. It's a similar type, E-R-O-W-I-D, I       2        A. May have used various secretaries
     3   believe. And that may have been a .org, but I     3   of state's websites looking at ownership.
     4   don't recall specifically.                        4        Q. What was the purpose of looking at
     5        Q. And you looked at that regularly as       5   ownership?
     6   well?                                             6        A. Well, to see if, you know,
     7        A. That one less regularly.                  7   potentially there is hidden ownership where,
     8        Q. What type of information did you          8   you know, there -- where the 590 may not have
     9   get from Erowid?                                  9   accurate information on who really owns a
    10        A. It was similar information.              10   pharmacy.
    11        Q. Both of those websites, you looked       11        Q. The Form 590 provided information
    12   at them the entire time from 2008 to 2012 when   12   about top prescribers from the pharmacy?
    13   you were an investigator?                        13        A. It could.
    14        A. Yes.                                     14        Q. Okay. Not in all cases?
    15            MR. HAMMOUD: Object to the form.        15        A. Not in all cases.
    16            Go ahead.                               16        Q. If they provided information about
    17   BY MR. PIFKO:                                    17   that, would you look them up?
    18        Q. And how about later when you were a      18        A. Yes.
    19   diversion program manager?                       19        Q. And was it an every occasion where
    20        A. Yes.                                     20   there was top prescribers you would look them
    21        Q. So you looked at those websites the      21   up or just from time to time?
    22   entire time that you worked for                  22        A. Oh, it -- from what I recall, every
    23   AmerisourceBergen?                               23   instance where there was a prescriber listed, I
    24            MR. HAMMOUD: Object to the form.        24   would look up the prescriber.

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     1        Q. Okay. And what would you look up           1   afterwards?
     2   the prescribers for?                               2        A. There would be a summary and either
     3        A. Verifying their DEA registration,          3   an approval or denial message that would go
     4   look for their state license, look for any         4   out.
     5   discipline that they may have. I'd also look       5        Q. Okay. And that's an approval or
     6   for them to see if there's any chatter about       6   denial of whether the -- AmerisourceBergen is
     7   them, you know, essentially Googling, you know,    7   going to do business with them?
     8   their name, maybe their office number, just to     8        A. I can't recall if it was fully
     9   see if I can find chatter somewhere on the         9   doing business with them or if it was just for
    10   Internet about them.                              10   controlled substances. I can't recall if it
    11        Q. How about the product mix that the        11   was, you know, for all business or just
    12   pharmacy was purchasing, their purchase           12   controlled substances.
    13   history, did you look at that?                    13        Q. So it's either they're approved to
    14        A. Not in all cases.                         14   generally do business with them or they're
    15        Q. Okay. In some cases?                      15   approved to buy controlled substances from
    16        A. In some cases, yes.                       16   AmerisourceBergen?
    17        Q. What were circumstances where you'd       17        A. Well, I can't recall.
    18   look at their prescribing or purchasing           18        Q. But those are possible things
    19   patterns?                                         19   that --
    20        A. Where if they were looking for a          20        A. Those could be possible --
    21   large number of controlled substances.            21            MR. NICHOLAS: Object to the form.
    22        Q. Why was that something you'd be           22            (Reporter interruption.)
    23   interested in?                                    23            MR. NICHOLAS: Yeah, just let him
    24        A. As far as the mix of products that        24        finish his question before you answer,
                                                 Page 95                                              Page 97
     1   they were buying? To -- you know, looking for      1        and give me one second in case I want to
     2   anything that may indicate that they're only       2        object to the question.
     3   looking for one specific controlled substance,     3           (Reporter interruption.)
     4   which could be an issue.                           4           THE WITNESS: Yes, it could be
     5        Q. Why would that be an issue?                5        possible.
     6        A. Because that could indicate that           6   BY MR. PIFKO:
     7   they're only dispensing, you know, one product     7        Q. Any other outcomes of your
     8   that they're looking to dispense, which could      8   investigation?
     9   indicate that there is something wrong with the    9           MR. NICHOLAS: Object to the form.
    10   pharmacy.                                         10           THE WITNESS: I don't recall that.
    11        Q. So if they're only buying opioids,        11   BY MR. PIFKO:
    12   for example, or buying a high ratio of opioids,   12        Q. Did you ever look at Form 590s for
    13   that could be a sign that the pharmacy is         13   existing customers?
    14   engaged in diversion, correct?                    14        A. Occasionally.
    15        A. Not necessarily.                          15        Q. Under what circumstances would you
    16        Q. But it could be a sign, though?           16   look at a Form 590 for an existing customer?
    17        A. Oh, it would be something to look         17        A. If we felt we needed to get updated
    18   at.                                               18   information about a customer.
    19        Q. That would be a red flag?                 19        Q. Do you understand circumstances
    20        A. It could be, yes.                         20   that would lead AmerisourceBergen to want to
    21        Q. So then when you looked at these          21   get updated information for a company -- or a
    22   Form 590s, did you -- you get one in, you do      22   customer?
    23   this investigation, then is there a summary or    23        A. Oh, if they had increased in
    24   a report or something that you do with that       24   controlled substance purchases, we may ask for

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     1   an updated 590 for a customer, depending upon     1            MR. NICHOLAS: Object to the form.
     2   how old the 590 was.                              2            THE WITNESS: It's possible, but --
     3        Q. Is there like a threshold that            3        it's possible.
     4   would deem it to be old?                          4   BY MR. PIFKO:
     5        A. Not that I recall.                        5        Q. When you communicated with sales
     6        Q. Do you remember ever evaluating           6   representatives about Form 590s, did you do
     7   what time period, like, you would think of was    7   that by e-mail?
     8   the -- would make it old enough to need           8        A. Generally that would have been done
     9   updating?                                         9   via e-mail.
    10           MR. NICHOLAS: Object to the form.        10        Q. Okay. Did you do that by instant
    11           THE WITNESS: And I don't recall.         11   messaging?
    12   BY MR. PIFKO:                                    12        A. I don't ever recall instant
    13        Q. Was the review process they did          13   messaging a sales rep.
    14   with an existing customer the same as what       14        Q. Okay. Did you talk to them on the
    15   you'd do with a new customer?                    15   phone?
    16        A. I don't recall specifically, but I       16        A. I may have. I know I have had
    17   believe it was.                                  17   conversations with sales reps via the phone.
    18        Q. Did that happen less frequently?         18        Q. The process we've been talking
    19        A. That's hard to say. I can't recall       19   about, about reviewing the Form 590s, that was
    20   the frequency.                                   20   the same during the entire time that you had
    21        Q. So you feel like you were looking        21   the responsibility for reviewing them?
    22   at new customers and existing customers          22        A. I believe so.
    23   relatively equally?                              23        Q. Then you said you also had a job of
    24        A. No, I don't believe it was               24   reviewing orders for the suspicious order
                                                Page 99                                               Page 101
     1   relatively equally. It was, you know, more        1   monitoring program, correct?
     2   that we were looking at new customers. But I      2        A. Correct.
     3   don't recall the exact frequency.                 3        Q. That was at the same time as you
     4        Q. If you made a recommendation to           4   were reviewing the Form 590s?
     5   reject doing business with a customer, was        5        A. Correct.
     6   there someone else who had final approval, or     6        Q. So let's talk about that process.
     7   was that the end of the decision?                 7   What was the mechanism by which you would get
     8        A. Well, from what I recall, I believe       8   an order to review?
     9   when I was an investigator, Ed had final          9        A. Oh, the actual sort of computer
    10   approval. But I don't ever recall anyone being   10   system mechanism?
    11   overridden of a recommendation of a denial.      11        Q. Yeah, like -- what I'm trying to
    12        Q. How would you communicate those          12   get at is, I'm you, I'm sitting in a chair or
    13   recommendations?                                 13   however, I'm going -- I'm looking at paper,
    14        A. Via e-mail, from -- I believe.           14   like how does the process work?
    15        Q. Did you ever use the instant             15        A. The system we had up front, I don't
    16   messaging system?                                16   recall exactly how it looked or how we got the
    17        A. To -- for approval or denial?            17   information. I do recall that roughly every
    18        Q. Right.                                   18   hour there would be orders that would be pended
    19        A. Not that I ever recall.                  19   for review. And -- but as far as how the
    20        Q. Did you ever use the instant             20   mechanism actually worked, I don't remember
    21   messaging system to discuss questions or         21   that.
    22   concerns about the Form 590s?                    22        Q. Did you have to go to a different
    23        A. I don't recall.                          23   location to perform that function for your job?
    24        Q. But you could have?                      24        A. No.

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     1        Q. You did that from your same desk         1        A. Oh, correct.
     2   where you'd do all your other work?              2        Q. Okay. Or they could also send it
     3        A. Correct.                                 3   up to you or someone on your team for review?
     4        Q. So you'd get some sort of e-mail,        4        A. Correct.
     5   or did you have to log on to another kind of     5        Q. So you'd get these orders. What do
     6   system to access the order reviews?              6   you see in the order?
     7        A. It would have been logging on to         7        A. I don't remember specifically what
     8   another system.                                  8   information I could see on the order.
     9        Q. Do you remember the name of that         9        Q. It would tell you the customer?
    10   system?                                         10        A. I'm sure it did, yeah.
    11        A. I believe it was called Metastorm.      11        Q. The order quantity?
    12        Q. And was that the same system the        12        A. I'm sure.
    13   entire time that you reviewed suspicious --     13        Q. The type of substance being
    14   potentially suspicious orders?                  14   ordered?
    15        A. No.                                     15        A. I'm sure, with NDC number, yes.
    16        Q. What were the various iterations?       16        Q. The threshold?
    17        A. The other system would have been        17        A. I don't remember if it showed the
    18   SAP.                                            18   threshold or not.
    19        Q. Okay. Metastorm was first?
    20        A. Correct.
    21        Q. And then SAP was after?
    22        A. Correct.
    23        Q. And they instituted that
    24   sometime -- the SAP system around 2012?
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                                                          1   business from Walgreens that it didn't have
                                                          2   before, correct?
                                                          3       A. Correct.
                                                          4       Q. Were you part of that transition
                                                          5   process?
                                                          6       A. Yes, I was.
                                                          7       Q. There was something called the
                                                          8   Walgreens C-II playbook or something like that.
                                                          9   Have you heard of that before?
                                                         10           MR. NICHOLAS: Object to the form.
                                                         11           THE WITNESS: And I don't recall
                                                         12       that.
    13        Q. What was the basis for calculating      13   BY MR. PIFKO:
    14   the thresholds?                                 14       Q. Okay. Do you remember there being
    15        A. I don't remember.                       15   something about some sort of playbook about the
    16        Q. You are aware that                      16   process for transitioning Walgreens accounts to
    17   AmerisourceBergen had a methodology where it    17   AmerisourceBergen?
    18   calculated thresholds by multiplying the        18       A. I don't recall.
    19   average by 300 percent?                         19       Q. But you were part of the team that
    20           MR. NICHOLAS: Object to the form.       20   helped transition Walgreens accounts to
    21           THE WITNESS: I do know that the         21   AmerisourceBergen?
    22        DEA recommended a 300 percent threshold    22       A. Correct.
    23        of historical purchases.                   23       Q. Who else worked on that team?
    24   BY MR. PIFKO:                                   24       A. I don't recall specifically. It
                                             Page 115                                               Page 117
     1         Q. That 300 percent of historical          1   may have been the entire department, CSRA
     2   purchases was a way that AmerisourceBergen       2   department. It may have been only certain
     3   calculated thresholds?                           3   people within the CSRA department, but I don't
     4            MR. NICHOLAS: Object to the form.       4   remember specifically who.
     5            THE WITNESS: From what I recall,        5        Q. Do you recall that there were
     6         AmerisourceBergen followed that DEA        6   meetings with Walgreens, your counterparts at
     7         recommendation.                            7   Walgreens, who were responsible for diversion
     8   BY MR. PIFKO:                                    8   control?
     9         Q. Was that 300 percent of average         9        A. Yes.
    10   used with the oxy 30 thresholds?                10        Q. Do you remember the names of any of
    11         A. I don't recall.                        11   those people?
    12         Q. When you say it was recommended by     12        A. Tasha Polster.
    13   the DEA, what's your basis for that             13        Q. Anyone else?
    14   understanding?                                  14        A. Don't recall any other names.
    15         A. Documentation from the DEA             15        Q. Did you ever meet with Tasha
    16   specifically calling out 300 percent.           16   Polster?
    17         Q. What documentation are you             17        A. Yes.
    18   referring to?                                   18        Q. She came to your offices?
    19         A. I don't recall, but they had it        19        A. She came to my office once.
    20   available on their website. I don't recall if   20        Q. Okay. What happened in that
    21   it's the deadiversion.gov website or the U.S.   21   meeting?
    22   DOJ website, but it was available via their     22        A. I don't recall.
    23   website.                                        23        Q. Did you give her a tour of your
    24         Q. In 2013, AmerisourceBergen took on     24   distribution facility?

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     1       A. I don't recall, but I'm sure I did.        1   AmerisourceBergen began servicing the
     2       Q. Did you discuss with her how               2   Walgreens?
     3   AmerisourceBergen's order monitoring program      3        A. I do think there may have been one
     4   functioned?                                       4   before, but I can't recall specific.
     5       A. I don't recall specifics.                  5        Q. Okay. And those would have been in
     6       Q. How about generally?                       6   2013?
     7       A. I don't even recall generally.             7        A. Could have been, but I don't
     8       Q. Do you recall explaining to her            8   recall.
     9   what the due diligence process was at             9        Q. Do you recall Walgreens having a
    10   AmerisourceBergen?                               10   specialized Form 590?
    11       A. I may have.                               11        A. I don't recall.
    12       Q. Do you recall discussing Form 590s        12        Q. Do you recall discussions about
    13   with her?                                        13   Cardinal Health servicing some of the Walgreens
    14       A. I don't recall that.                      14   stores prior to AmerisourceBergen servicing
    15       Q. Do you recall about when that             15   them?
    16   meeting occurred?                                16        A. I don't recall.
    17       A. I think it was warm outside.              17        Q. Do you recall discussions about
    18       Q. Sometime in 2013?                         18   some of the Walgreens pharmacies that
    19       A. It could have been. I'm sure it           19   AmerisourceBergen was going to be servicing
    20   was, but I don't recall when.                    20   were accounts that Cardinal Health couldn't
    21       Q. Which facility did she visit?             21   service anymore?
    22   Where were you at the time? In Illinois?         22        A. Don't recall.
    23       A. Correct.                                  23           MR. PIFKO: All right. Let's take
    24       Q. What was the name of that facility?       24        a short break.
                                               Page 119                                              Page 121
     1        A. Romeoville.                               1           VIDEO OPERATOR: Going off the
     2        Q. Do you recall that it was                 2       record, 11:50 a.m.
     3   AmerisourceBergen's practice to share             3           (Recess from 11:50 a.m. until
     4   thresholds for the Walgreens stores with them?    4       12:10 p.m.)
     5           MR. NICHOLAS: Object to the form.         5           VIDEO OPERATOR: Back on the
     6           THE WITNESS: I don't recall that.         6       record. The time is 12:10 p.m.
     7   BY MR. PIFKO:                                     7           (Exhibit Teva-Tomkiewicz-001 marked
     8        Q. Are you aware that that occurred?         8       for identification and attached to the
     9           MR. NICHOLAS: Object to the form.         9       transcript.)
    10           THE WITNESS: I don't recall that.        10   BY MR. PIFKO:
    11   BY MR. PIFKO:                                    11       Q. Handing you what's marked as
    12        Q. At that time, you were still             12   Exhibit 1.
    13   reporting to Mr. Hazewski?                       13           For the record, it's a document
    14        A. Correct.                                 14   Bates labeled from Cardinal's production,
    15        Q. Do you recall having regular             15   CAH_MDL2804_00855083 through 84.
    16   meetings with the Walgreens diversion control    16           MR. NICHOLAS: This having been
    17   team?                                            17       produced by Cardinal, has --
    18        A. I was included in a couple               18           MR. PIFKO: It's from him, so
    19   meetings, but as far as regular, I don't think   19       it's -- it's from him.
    20   there were enough to say that it was regular.    20           MR. NICHOLAS: Okay.
    21        Q. Okay. When did those meetings            21   BY MR. PIFKO:
    22   start?                                           22       Q. You can take as much time as you
    23        A. Don't recall.                            23   want to read it, but I just had some quick
    24        Q. Was it before or after                   24   questions that are more about some of the

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     1   format of the e-mail than the actual substance    1        Q. Okay.
     2   of it.                                            2        A. Again, posting to this listserv was
     3           It mentions --                            3   very rare. I think there may have been one
     4           MR. NICHOLAS: Take your time and          4   other time where I posted something to it.
     5        read the document.                           5        Q. But you received other postings
     6   BY MR. PIFKO:                                     6   from it?
     7        Q. I just wanted to ask you, it              7        A. Yes.
     8   mentions, RxNews listserv. Can you tell me        8        Q. Are people from the other big three
     9   what that is?                                     9   distributors on it as well?
    10        A. That's a listserv for NADDI.             10        A. Don't know.
    11        Q. Okay. Do you know who else               11        Q. You don't know from posting? You
    12   receives e-mails from that?                      12   don't remember seeing postings from any of
    13        A. No, I don't.                             13   them?
    14        Q. Okay. And so this e-mail is from         14        A. Don't recall.
    15   you to the listserv?                             15        Q. Were you a member of NADDI?
    16        A. Correct.                                 16        A. Yes.
    17        Q. So from time to time, you would          17        Q. Did you get e-mails from other
    18   post things that you were aware of to that       18   NADDI members besides this?
    19   listserv?                                        19        A. I don't recall any outside of the
    20        A. Very rarely.                             20   listserv.
    21        Q. Okay. Then the substance here, do        21        Q. Do you know who Jack Crowley is?
    22   you know where this is from? You can take a      22        A. Jack Crowley, was he with Purdue?
    23   minute --                                        23        Q. Yeah.
    24           MR. NICHOLAS: I'm going to ask           24        A. As you can tell by my hesitancy, I
                                              Page 123                                             Page 125
     1        that he now be permitted to read this        1   don't think I've spoken with him in a long
     2        thing if you're going to ask him             2   time, if I've ever spoken with him.
     3        questions about it.                          3        Q. Okay. But you knew who he was,
     4           THE WITNESS: Well, actually, I'm          4   that you knew he was from Purdue?
     5        good with this. Yeah, I --                   5        A. Yeah, I believe so.
     6           MR. NICHOLAS: Are you sure?               6        Q. Would he e-mail from time to time
     7           THE WITNESS: Oh, yeah, I remember         7   on NADDI issues?
     8        this. Yeah.                                  8        A. I don't recall. I don't recall.
     9           MR. NICHOLAS: Okay.                       9        Q. Do you have a recollection of how
    10           THE WITNESS: Certainly. This was         10   you knew who he was, he was with Purdue?
    11        from Bluelight.                             11        A. No, I don't.
    12   BY MR. PIFKO:                                    12        Q. Okay. Have you ever spoken to him?
    13        Q. Okay. And so from time to time,          13        A. I think I may have spoken to him
    14   you could get information like this, and you     14   once.
    15   could share it with other people?                15        Q. When was that?
    16        A. Correct. That's what we discussed        16        A. Don't recall.
    17   earlier about using Bluelight as a reference     17        Q. At a conference?
    18   for abusers and abuser trends.                   18        A. Phone call.
    19        Q. When you shared this kind of             19        Q. Okay. Do you know what you spoke
    20   information with other people in                 20   to him about?
    21   AmerisourceBergen, you'd send them an e-mail,    21        A. Don't recall specifically.
    22   too, or were they on the listserv?               22        Q. How about generally?
    23        A. For internal AmerisourceBergen, I        23        A. Generally, I think it was about a
    24   would use internal AmerisourceBergen.            24   pharmacy but can't recall.

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     1       Q. He called you to provide some               1   with him?
     2   information about a pharmacy he was concerned      2        A. Oh, yes.
     3   about?                                             3        Q. How come?
     4           MR. NICHOLAS: Object to the form.          4        A. Over OxyContin abuse.
     5           Go ahead.                                  5        Q. You remember OxyContin abuse being
     6           THE WITNESS: That would be no. He          6   an issue back in 2001?
     7       was looking for information on a               7        A. Yes, approximately 2001.
     8       pharmacy.                                      8        Q. What was the issue that you were
     9   BY MR. PIFKO:                                      9   aware of?
    10       Q. Okay. Did you go to any NADDI              10           MR. NICHOLAS: Object to the form.
    11   conferences?                                      11           THE WITNESS: Just that abusers
    12       A. Yes.                                       12        liked OxyContin.
    13       Q. How often did you go to those?             13   BY MR. PIFKO:
    14       A. It was infrequent. Last one I              14        Q. How did you come to learn that?
    15   think was, like, 2009.                            15           MR. NICHOLAS: Same objection.
    16       Q. Prior to that, did you go                  16           THE WITNESS: I don't recall
    17   regularly?                                        17        specifically.
    18       A. Not regularly, no.                         18   BY MR. PIFKO:
    19       Q. There were other members of the            19        Q. So you basically remember this
    20   pharmaceutical industry at these conferences?     20   person being heckled at the conference, kind
    21       A. A few. Mostly, it was law                  21   of?
    22   enforcement.                                      22        A. Yes.
    23       Q. Okay. Do you remember any other            23        Q. Do you remember anyone else who was
    24   people and companies that participated in those   24   there?
                                                Page 127                                                      Page 129
     1   meetings?                                          1        A. No, I sure don't.
     2        A. I do remember one back -- it was           2           (Exhibit Teva-Tomkiewicz-002 marked
     3   sometime around the year 2000, where a medical     3        for identification and attached to the
     4   affairs person -- medical doctor from Purdue       4        transcript.)
     5   attended.                                          5   BY MR. PIFKO:
     6        Q. Anyone else?                               6        Q. All right. I'm handing you what's
     7        A. No other one that I can recall.            7   marked as Exhibit 2.
     8        Q. Do you remember anything about what        8           For the record, it's a two-page
     9   that medical doctor from Purdue communicated       9   document Bates labeled ABDCMDL00280711 and 12.
    10   about at the conference?                          10           Take your time to review it.
    11        A. I can remember the communication he       11        A. (Reviewing documents.)
    12   got.                                              12           Okay, I'm good.
    13        Q. What was that?                            13        Q. Do you remember the discussion in
    14        A. It was from beat law enforcement          14   this e-mail?
    15   officers, and they -- he got a lot of people      15        A. No, I don't.
    16   yelling at him.                                   16        Q. Ed Hazewski sends it to some
    17        Q. That was in 2010, you said?               17   people. Those are all people in the diversion
    18        A. No, no. This was sometime around          18   control department?
    19   2000, 2001.                                       19        A. Correct.
    20        Q. Oh, okay.                                 20        Q. He says, FYI regarding OX and HY
    21        A. Yeah.                                     21   allocations. Do you see that?
    22        Q. Do you remember that person's name?       22        A. Yes.
    23        A. No.                                       23        Q. That's oxy and hydrocodone?
    24        Q. You just remember they were upset         24        A. Yes.

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     1        Q. What's an allocation?                      1   diligence and diversion control programs like
     2        A. An allocation, that would be a             2   we have to.
     3   limitation that a manufacturer places on a         3            Do you see that?
     4   distributor.                                       4        A. Yes.
     5        Q. Okay. What's your understanding of         5        Q. Do you have an understanding about
     6   why they placed those limitations?                 6   what he's talking about there?
     7        A. Because the products were in short         7        A. Not specifically, no.
     8   supply.                                            8        Q. How about generally?
     9        Q. Okay. Because there's a quota from         9        A. Generally, I have a general idea
    10   the federal government about how much can be      10   what he's talking about.
    11   produced?                                         11        Q. What's that?
    12           MR. NICHOLAS: Object to the form.         12        A. That he has heard from people that
    13           THE WITNESS: That's what it               13   DEA is using quota to force manufacturers to
    14        appears to me.                               14   have a -- well, a due diligence and diversion
    15   BY MR. PIFKO:                                     15   control program.
    16        Q. You see here towards the bottom of        16        Q. When he says, like we do, was that
    17   the page, there's an e-mail from Tara Rasch?      17   your understanding, that manufacturers didn't
    18        A. Yes.                                      18   have diversion control programs prior to this
    19        Q. Do you know who she is?                   19   time?
    20        A. No.                                       20            MR. NICHOLAS: Object to the
    21        Q. It says here she's director of            21        conform.
    22   generic prescription replenishment at             22            THE WITNESS: I have no knowledge
    23   AmerisourceBergen Drug Company.                   23        of that.
    24           Do you see that?                          24   BY MR. PIFKO:
                                               Page 131                                              Page 133
     1        A. Yes.                                       1        Q. Do you have an understanding about
     2        Q. Okay. Is that an area of the               2   how DEA was using quotas as that kind of tool?
     3   company you have any familiarity with?             3           MR. NICHOLAS: Object to the form.
     4        A. I don't recall ever having a               4           THE WITNESS: And I have no
     5   conversation with anyone with -- in that           5        knowledge of that.
     6   department.                                        6   BY MR. PIFKO:
     7        Q. She says here -- among other things        7        Q. If you go to the second page here,
     8   in her e-mail, she says, We are hearing reasons    8   they're talking about specific allocations in
     9   for the issues ranging from the DEA has lowered    9   this chart. Are you familiar with this kind of
    10   the quota amounts to try to reduce abuse of       10   data?
    11   pain medications.                                 11        A. No.
    12           Do you see that?                          12        Q. No?
    13        A. Yes.                                      13           Do you have an understanding about
    14        Q. Do you recall any discussions about       14   why Ed would have been sharing allocation
    15   DEA lowering quotas to address abuse issues?      15   information with you?
    16           MR. NICHOLAS: Object to the form.         16           MR. NICHOLAS: Object to the form.
    17           THE WITNESS: And that's going to          17           THE WITNESS: Don't recall.
    18        be no.                                       18   BY MR. PIFKO:
    19   BY MR. PIFKO:                                     19        Q. Were allocations pertinent to your
    20        Q. At the top here, it says, from            20   role as a diversion control person?
    21   Steve Mays, I have also heard from my sources     21        A. Not that I recall.
    22   that DEA is using quotas as a "tool" in their     22           MR. PIFKO: All right. Well, I
    23   so-called "manufacturer initiative" to force      23        think I'm done with my questioning for
    24   manufacturers to implement wholesaler due         24        you. Some other people are going to ask

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     1        you some questions.                           1   this litigation; is that correct?
     2           VIDEO OPERATOR: Going off the              2        A. Correct.
     3        record. The time is 12:23 p.m.                3        Q. And then earlier, you were being
     4           (Recess from 12:23 p.m. until              4   asked questions about your time prior to
     5        12:56 p.m.)                                   5   working at Teva at a wholesale distributor
     6           VIDEO OPERATOR: We're back on              6   called AmerisourceBergen; is that correct?
     7        record. The time is 12:56 p.m.                7        A. Correct.
     8               EXAMINATION                            8        Q. And you were represented at that
     9   BY MR. CARTMELL:                                   9   time by a lawyer from AmerisourceBergen; is
    10        Q. Good afternoon, Mr. Tomkiewicz. My        10   that correct?
    11   name is Tom Cartmell. How are you today?          11        A. Right. But representing me
    12        A. Just fine.                                12   personally, yes.
    13        Q. I represent the Teva defendants in        13        Q. Okay. So today you have three
    14   this case, and I'm going to be asking you some    14   lawyers here representing you; is that fair?
    15   follow-up questions now about your time working   15        A. Four.
    16   for Teva. Do you understand that?                 16        Q. Four? I'm sorry. Okay. I missed
    17           MR. HAMMOUD: Objection. I think           17   one. So you have a lot of lawyers here today.
    18        you said you represent the Teva              18        A. Yes, yes.
    19        defendants.                                  19        Q. Okay. Now, the four lawyers that
    20           MR. CARTMELL: Oh, start over.             20   are here today and have been representing you
    21        Start over.                                  21   in this case, can you estimate for me how much
    22           MR. HAMMOUD: Making sure we're            22   time you have spent with them prior to today
    23        clear on the record.                         23   preparing for your deposition in this case?
    24           MR. CARTMELL: You do.                     24        A. Certainly. For AmerisourceBergen,
                                               Page 135                                                Page 137
     1            Take that all back. Start over.           1   it was about four hours. For Teva, it was
     2   BY MR. CARTMELL:                                   2   maybe six hours.
     3        Q. Mr. Tomkiewicz, I represent the            3         Q. Okay. So a total of ten hours with
     4   plaintiffs in this case, and I'm here today to     4   the lawyers preparing for your testimony today;
     5   take your deposition about your time working at    5   is that right?
     6   Teva. Do you understand that?                      6         A. That's about correct, yes.
     7        A. Yes.                                       7         Q. Okay. And I take it, during those
     8        Q. Okay. You've been doing a great            8   prep sessions with your lawyers, you were
     9   job testifying so far today, and just so you       9   reviewing documents; is that fair?
    10   know, you're still under oath. Do you             10         A. Reviewed some documents, yes.
    11   understand that?                                  11         Q. Okay. Did you maintain those
    12        A. Yes.                                      12   documents in your possession?
    13        Q. And I want to make sure we're             13         A. No, not in my possession.
    14   communicating. So if I ever ask you a question    14         Q. Okay. Do you remember specifically
    15   you don't understand, go ahead and feel free to   15   any of the documents related to your time at
    16   interrupt me. I'll restate it or rephrase it      16   Teva that you reviewed?
    17   so that we can make sure we're communicating.     17         A. I can't think of any specific.
    18   Okay?                                             18   Sorry.
    19        A. Okay.                                     19         Q. So as you sit here today -- strike
    20        Q. Okay. Now, you're here today with,        20   that.
    21   I think on your left side, two Teva attorneys.    21            When were these meetings for ten
    22   Is that right?                                    22   hours with the four lawyers?
    23        A. Who also represent me.                    23         A. With Teva, it was yesterday. With
    24        Q. Okay. Those are your lawyers in           24   AmerisourceBergen, it was Monday.

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     1       Q. Okay. And so I take it yesterday,           1   yes.
     2   you reviewed some documents?                       2        Q. Okay. And that was at a company
     3       A. Reviewed some documents.                    3   called AmerisourceBergen, right?
     4       Q. And Monday, two days ago, I take it         4        A. Correct.
     5   you reviewed documents; is that correct?           5        Q. And AmerisourceBergen is an
     6       A. Yes.                                        6   extremely large wholesale distributor in the
     7       Q. But is your testimony that today,           7   United States; is that correct?
     8   as you sit here today, you can't remember a        8           MR. HAMMOUD: Object to the form.
     9   single document you reviewed?                      9           THE WITNESS: That's a fair
    10       A. For Teva? I can't remember which           10        assessment.
    11   ones they were. If I saw them again, I'd          11   BY MR. CARTMELL:
    12   probably recognize them. But yeah.                12        Q. Okay. And I say "extremely large"
    13       Q. Nothing?                                   13   because it's a multi-billion-dollar company.
    14       A. I can't. Sorry.                            14   Correct?
    15       Q. Blank slate?                               15           MR. NICHOLAS: Object to the form.
    16       A. Pretty much, yes.                          16           MR. HAMMOUD: Object to the form.
    17       Q. Well, maybe I'll refresh your              17           THE WITNESS: They're a
    18   recollection on some things as we go through      18        multi-billion-dollar company, yes.
    19   some documents. Okay?                             19   BY MR. CARTMELL:
    20           Now, I want to ask you about and go       20        Q. Okay. That employer for you,
    21   over your prior employment before coming to       21   AmerisourceBergen, was a company that, when you
    22   work with Teva. But I don't want to put words     22   were working there, was actually a distributor
    23   in your mouth, so if I ever mischaracterize       23   of opioid narcotic drugs; is that correct?
    24   something, then go ahead and interrupt me, and    24        A. That was part of their business,
                                               Page 139                                               Page 141
     1   I'll restate it.                                   1   yes.
     2             But it sounds like, from your            2       Q. Okay. And I take it you know, from
     3   testimony --                                       3   your experience in the industry, that
     4             Oh, and you have given a                 4   AmerisourceBergen was one of the largest
     5   deposition, as you said, in another case           5   wholesale distributors of opioid narcotic
     6   involving opioids, a case that was brought by      6   drugs. Is that fair?
     7   the State of West Virginia; is that right?         7           MR. HAMMOUD: Object to the form.
     8         A. That is correct.                          8           THE WITNESS: That's a fair
     9         Q. And that was a deposition that you        9       assessment, yes.
    10   gave -- was it a couple years ago, maybe?         10   BY MR. CARTMELL:
    11         A. A couple years ago, yes.                 11       Q. Okay. So you worked there from
    12         Q. All right. And you were a witness        12   2008 in, I think you said, diversion control,
    13   in that who was testifying on behalf of           13   correct?
    14   AmerisourceBergen; is that right?                 14       A. Well, for the corporate security
    15         A. That is correct.                         15   and regulatory affairs department.
    16         Q. Okay. So you understand this             16       Q. Okay. And from 2008 until the time
    17   process, I take it.                               17   you left AmerisourceBergen. Was that in the
    18         A. Yes.                                     18   end of 2013?
    19         Q. Okay. Now, if I understand from          19       A. Correct, end of 2013.
    20   reading that deposition and hearing your          20       Q. So you worked there for about five
    21   testimony today, it sounds like you started       21   and a half years?
    22   working in the area of diversion control or DEA   22       A. I'll do the math.
    23   compliance in 2008. Is that right?                23       Q. Maybe it was four and a half years.
    24         A. Specifically to DEA compliance,          24       A. Four and a half, yeah.

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     1        Q. Okay. Sorry about that.                    1      Q. Okay. And we'll talk a little bit
     2        A. A little less than four and a half.        2   more about that, but I want to understand
     3        Q. Okay. And at all times during that         3   something.
     4   period, meaning 2008 to the end of 2013, part      4          Is it true that you started work at
     5   of your job involved diversion control or DEA      5   Teva in January of 2014?
     6   compliance with opioids, correct?                  6      A. Correct.
     7        A. Correct.
     8        Q. In other words, you were somebody
     9   who was working there who was trying to make
    10   sure that AmerisourceBergen was complying with
    11   the laws in the United States related to the
    12   sale and distribution of these high-risk opioid
    13   drugs, correct?
    14           MR. HAMMOUD: Object to the form.
    15        Calls for a legal conclusion.
    16           THE WITNESS: It's a fair
    17        assessment.
    18   BY MR. CARTMELL:
    19        Q. Okay. And there are laws that
    20   apply to somebody like a distributor,
    21   AmerisourceBergen, or a manufacturer and seller
    22   of these high-risk opioid narcotics, correct?
    23        A. That is correct.
    24        Q. Okay. And we'll talk about those
                                               Page 143                                                      Page 145
     1   in a minute.
     2            But is it true that at some point
     3   during 2008 through 2013, you were promoted by
     4   AmerisourceBergen to be the manager of the
     5   diversion department?
     6         A. Of the diversion control program,
     7   yes.
     8         Q. And it sound like, from your
     9   testimony, you were in that position for a
    10   little over a year. Is that right?
    11         A. Yes, that is correct.
    12         Q. Okay. And during that time that
    13   you were managing the department that was
    14   charged with the responsibility of making sure
    15   that AmerisourceBergen was in compliance with
    16   the laws of the United States for the sale of
    17   these high-risk opioids -- you've talked about    17   BY MR. CARTMELL:
    18   how the processes were -- the systems were in     18        Q. Okay. Was there a time when Teva,
    19   place at that time, correct?                      19   as a company, actually first started to recruit
    20            MR. NICHOLAS: Object to the form.        20   you to come work at Teva?
    21            MR. HAMMOUD: Object.                     21          MR. HAMMOUD: Object to the form.
    22            THE WITNESS: That's a fair               22          THE WITNESS: Yes, they recruited
    23         assessment.                                 23        me to work there.
    24   BY MR. CARTMELL:                                  24   BY MR. CARTMELL:

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     1        Q. In other words, they reached out to        1        Q. Okay. Now, ultimately, when -- let
     2   you and said that they were interested in you      2   me ask you, did you have to go to Teva and
     3   interviewing and potentially coming to work at     3   interview with some people?
     4   Teva?                                              4        A. Yes.
     5        A. Yes.                                       5        Q. Who did you interview with?
     6        Q. And was that Colleen McGinn?               6        A. With Colleen McGinn and Mike
     7        A. It wasn't Colleen who reached out          7   Edwards, and I think there was an HR person as
     8   to me.                                             8   well.
     9        Q. Who was it?                                9        Q. And I suspect since you started in
    10        A. It was an outside recruiting firm.        10   early January of 2014, you likely would have
    11        Q. Okay. Now, do you think that was a        11   gotten the job in 2013, maybe the end, around
    12   time before you actually had the Drug             12   the holidays or something?
    13   Enforcement agents knock on your door?            13        A. Correct.
    14        A. Don't recall. Don't recall.               14        Q. Okay. And so let's talk a little
    15        Q. Could it have been before that that       15   bit about your time now at Teva. And what was
    16   you were actually in active recruitment by        16   the position that you were hired for?
    17   Teva?                                             17        A. For my current position as DEA
    18           MR. HAMMOUD: Objection to the             18   compliance manager in charge of the suspicious
    19        form.                                        19   order monitoring program.
    20           THE WITNESS: I don't recall.              20        Q. Okay. The department is called DEA
    21   BY MR. CARTMELL:                                  21   compliance; is that right?
    22        Q. Okay. Could be; you just don't            22        A. Correct.
    23   remember?                                         23        Q. And that was a department that had
    24        A. Exactly. I don't recall.                  24   been in existence prior to the time they hired
                                                Page 147                                               Page 149
                                                            1   you; is that right?
                                                            2         A. Correct.
                                                            3            MR. HAMMOUD: Object to the form.
                                                            4   BY MR. CARTMELL:
                                                            5         Q. Oh, one other thing I wanted to ask
                                                            6   you about. You had been working in DEA
                                                            7   compliance since 2008 or for approximately six
                                                            8   years before you started, correct?
                                                            9         A. Specifically DEA compliance, yes.
                                                           10         Q. And one of the individuals who
    11   BY MR. CARTMELL:                                  11   trained you to become a DEA compliance expert,
    12       Q. So it's possible that you didn't           12   so to speak -- would you agree that you became,
    13   even tell Teva. Is that fair?                     13   over time, a DEA compliance expert?
    14       A. It's possible.                             14            MR. HAMMOUD: Object to the form.
    15       Q. Isn't that something that you think        15            THE WITNESS: I would hope so.
    16   Teva actually would like to know before hiring    16   BY MR. CARTMELL:
    17   you to become their new manager related to        17         Q. Okay. But one of the people who
    18   diversion control of their opioids?               18   first trained you in that job so that you could
    19            MR. HAMMOUD: Object to the form.         19   become an expert on DEA compliance was a guy
    20            THE WITNESS: And I don't think           20   named -- did you say Kevin Kreutzer?
    21       it's relevant.                                21         A. Kevin Kreutzer, yes.
    22   BY MR. CARTMELL:                                  22         Q. Okay. And he worked at
    23       Q. You don't think that's relevant?           23   AmerisourceBergen with you during that time
    24       A. No.                                        24   that he was training you; is that right?

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     1        A. Correct.                                  1       Q. Okay. And that, again, was to be
     2        Q. And was he in management there?           2   the manager of the suspicious order monitoring
     3        A. No.                                       3   program in the DEA compliance department at
     4        Q. Okay. But he was a superior to            4   Teva; is that right?
     5   you?                                              5       A. That is correct.
     6        A. A superior? The same position.            6       Q. Okay. All right. So in January of
     7        Q. Okay. At any rate, it turns out           7   2014, when you say you were a part of the DEA
     8   that Kevin Kreutzer, who had actually trained     8   compliance department, how big was that
     9   you, had gone to work at Teva before you went     9   department at Teva?
    10   to Teva; is that right?                          10           MR. HAMMOUD: Object to the form.
    11        A. That is correct.                         11           THE WITNESS: In terms of how many
    12        Q. And I think you might have this          12       people we had at the time?
    13   memory from talking to him, but isn't it true    13   BY MR. CARTMELL:
    14   that Mr. Kreutzer only worked at Teva for a      14       Q. Yes, sir.
    15   short period of time?                            15       A. Oh, all total, there may have been
    16        A. That is correct.                         16   a dozen, 15.
    17        Q. Was it less than a year?                 17           (Exhibit Teva-Tomkiewicz-003 marked
    18        A. I believe it was less than a year,       18       for identification and attached to the
    19   yes.                                             19       transcript.)
    20        Q. And Mr. Kreutzer, I think, was           20   BY MR. CARTMELL:
    21   hired to be the manager of the suspicious        21       Q. I'm going to hand you what's been
    22   orders and the monitoring program in the DEA     22   marked as Exhibit 3. And I just have a few
    23   compliance department at Teva; is that right?    23   questions about this.
    24           MR. HAMMOUD: Object to the form.         24           MR. HAMMOUD: Tom, do you have a
                                              Page 151                                               Page 153
     1            THE WITNESS: That is correct.            1        Bates number for this?
     2   BY MR. CARTMELL:                                  2           MR. FAES: It is 01464603, starting
     3         Q. Okay. So your former colleague who       3        with TEVA_MDL_.
     4   had trained you went to Teva, and then was        4   BY MR. CARTMELL:
     5   fired from Teva as the manager of the             5        Q. Mr. Tomkiewicz, I will represent to
     6   suspicious order monitoring program in the DEA    6   you that Exhibit 3 is a PowerPoint presentation
     7   compliance department prior to the time that      7   that was produced to us in this lawsuit by
     8   you went there; is that right?                    8   Teva, and it's titled DEA Compliance
     9            MR. HAMMOUD: Object to the form.         9   Organization, with a date of March 18th, 2014.
    10         Assumes facts not in evidence.             10           Do you see that?
    11            THE WITNESS: That's what I              11        A. Yes.
    12         understand.                                12        Q. And I take it that this is a type
    13   BY MR. CARTMELL:                                 13   of slide deck or PowerPoint presentation that
    14         Q. Okay. And then he comes back to         14   would routinely be presented to employees of
    15   AmerisourceBergen before you leave; is that      15   the DEA compliance department at Teva; is that
    16   right?                                           16   fair?
    17         A. That is correct.                        17           MR. HAMMOUD: Object to the form.
    18         Q. And then is it true, then, that         18           THE WITNESS: And that's fair.
    19   Teva reached out to you after that to try to     19   BY MR. CARTMELL:
    20   fill the spot that Mr. Kreutzer had been         20        Q. Okay. And March 18, 2014, this is
    21   terminated from?                                 21   shortly after the time you started working at
    22         A. That is correct.                        22   Teva; is that right?
    23            MR. HAMMOUD: Object to the form.        23        A. That's correct.
    24   BY MR. CARTMELL:                                 24        Q. And I want to refer you to the

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     1   second page of this that talks about the           1   company?
     2   current DEA compliance organization. And this      2        A. That's a fair assessment.
     3   just has an organizational chart, just to give     3            MR. HAMMOUD: Object to form.
     4   the jury some reference, of where you were         4        Sorry.
     5   working when you started to go to work at Teva.    5   BY MR. CARTMELL:
     6   And as you see, Colleen McGinn looks like she      6        Q. A multi-billion-dollar corporation.
     7   was the director of that department; is that       7   Is that fair?
     8   right?                                             8        A. That's fair.
     9        A. Correct.                                   9        Q. Okay. And the DEA compliance
    10        Q. Okay. So she would have been, I           10   department was in existence in part because
    11   take it, your boss, so to speak?                  11   Teva, as a manufacturer and seller of
    12        A. Correct.                                  12   pharmaceuticals or drugs, was selling, among
    13        Q. Okay. And then there's -- I               13   other things, high-risk opioid narcotics; is
    14   counted. There's -- it looks like there's 16      14   that right?
    15   employees on this org chart. Is that your         15            MR. HAMMOUD: Object to the form.
    16   understanding as how big the DEA compliance       16            THE WITNESS: Well, not quite. I
    17   department was?                                   17        don't think you can say "high risk"
    18        A. Correct. That's what I said,              18        because really any controlled substance
    19   thinking it was about 12 to 15, yes.              19        has a risk of addiction. That's why
    20        Q. Okay. And you're here, you'll see         20        they're controlled.
    21   Joe Tomkiewicz, and it calls you the SOM          21   BY MR. CARTMELL:
    22   manager. What does that stand for?                22        Q. Okay. And the only reason I use
    23        A. Suspicious order monitoring.              23   "high risk" is we'll see there's a presentation
    24        Q. Okay. And that's an -- NW means           24   that you gave that you used that word, okay?
                                               Page 155                                               Page 157
     1   New Wales; is that right?                          1   So you would agree with me that opioids are
     2         A. North Wales.                              2   high risk, correct?
     3         Q. I'm sorry, North Wales. That's the        3            MR. HAMMOUD: Object to the form.
     4   location or the office where you were working;     4   BY MR. CARTMELL:
     5   is that right?                                     5        Q. Let me restate it. Would you agree
     6         A. Correct.                                  6   with me, though, that opioids are high risk for
     7         Q. Okay. And tell us what suspicious         7   diversion or abuse?
     8   order monitoring manager entailed, or what was     8            MR. HAMMOUD: Object to the form.
     9   that position that you filled at that time?        9            THE WITNESS: Insomuch as they are
    10         A. Well, it was developing new              10        any controlled substance, yes, I would
    11   policies for the department, for suspicious       11        agree with that.
    12   order monitoring, encompassing everything that    12   BY MR. CARTMELL:
    13   a suspicious order monitoring what I felt         13        Q. Okay. So when I say "high-risk
    14   should encompass, which encompasses new           14   opioid narcotics," can we agree that I'm
    15   customer due diligence, ongoing due diligence     15   referring to high risk in a sense of they're
    16   of customers, monitoring of orders, and we        16   high risk for diversion and abuse by
    17   also -- one of the things that I did was worked   17   individuals?
    18   to create a new computer algorithm to assist in   18            MR. HAMMOUD: Object to the form.
    19   identifying orders that may be suspicious.        19            THE WITNESS: And I wouldn't agree
    20         Q. Okay, thank you. And we'll talk a        20        with that. I would categorize high risk
    21   little bit more in detail about that.             21        in the way that I have historically used
    22            But is it fair to say that at this       22        it to mean the specific opioid products
    23   time in 2014 when you went to work for Teva       23        that abusers really actively seek out.
    24   that Teva was a very large pharmaceutical         24   BY MR. CARTMELL:

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     1        Q. Okay. Meaning some opioids are            1        Q. Let me strike it. It was a
     2   more high risk than others; fair to say?          2   confusing question.
     3        A. Well, again, any opioid, any              3            It's called the Drug Enforcement
     4   controlled substance is at risk of diversion      4   Agency compliance department --
     5   and is at risk of abuse, which is explicitly      5        A. Administration, I believe.
     6   why they are a controlled substance. But there    6        Q. Or Administration.
     7   are certain products that abusers will seek       7            -- because the DEA is charged with
     8   out.                                              8   the duty and responsibility to enforce the laws
     9        Q. Okay. And those are the ones that         9   related to the sale and distribution of opioid
    10   you would call high risk?                        10   drug narcotics, correct?
    11        A. That's -- those are ones that            11            MR. HAMMOUD: Object to the form,
    12   generally historically that I've called high     12        calls for a legal conclusion.
    13   risk, yes.                                       13            THE WITNESS: Yeah, and the naming
    14        Q. Okay. So let me rephrase my              14        of the department is something that --
    15   question just -- and I'll take that phrase out   15        because really I don't think that we're
    16   of there so it's not confusing.                  16        limited to strictly DEA, and I wouldn't
    17        A. Yeah.                                    17        want to be limited to strictly DEA.
    18        Q. And I hope you're okay with it.          18        There may be some other things that, you
    19   But is it fair to say that when you were hired   19        know, I may observe, and I'm not going
    20   at Teva, there was a DEA compliance department   20        to limit it to strictly DEA issues.
    21   or organization in place because Teva had        21            But, you know, generally the
    22   chosen to manufacture and sell and distribute    22        primary responsibility is related to
    23   opioid narcotic drugs? Fair to say?              23        DEA-related issues.
    24           MR. HAMMOUD: Object to the form.         24   BY MR. CARTMELL:
                                               Page 159                                              Page 161
     1            THE WITNESS: I would say that's          1        Q. Okay. And primarily your
     2        fair.                                        2   responsibilities as the suspicious order
     3   BY MR. CARTMELL:                                  3   monitoring manager, was that mostly related or
     4        Q. Okay. And it's called the DEA             4   entirely related to the distribution of
     5   compliance department, which stands for Drug      5   opioids?
     6   Enforcement Agency, right?                        6           MR. HAMMOUD: Object to the form.
     7        A. I thought it was Administration.          7           THE WITNESS: No, not to -- not
     8        Q. Oh, sorry. Let me start over.             8        limited to opioids.
     9            It's called the DEA compliance           9   BY MR. CARTMELL:
    10   department because it's -- it stands for what,   10        Q. Would it also include nonopioid
    11   DEA?                                             11   narcotics?
    12        A. I believe it's Drug Enforcement          12        A. Well, nonopioid controlled
    13   Administration.                                  13   substances, because there are controlled
    14        Q. Okay. And there are laws that the        14   substances that are not opioids, not narcotics.
    15   Drug Enforcement Administration has been told    15        Q. Okay. When you were hired by Teva
    16   by Congress they have the authority and the      16   in January of 2014 to be the suspicious order
    17   responsibility to enforce related to the sale    17   monitoring manager, was that a new position
    18   and marketing -- or excuse me, related to the    18   created for you?
    19   distribution and sales of opioid narcotic        19           MR. HAMMOUD: Object to the form,
    20   drugs, right?                                    20        lacks foundation.
    21            MR. HAMMOUD: Object to the form.        21           THE WITNESS: That Teva created for
    22            THE WITNESS: And I got lost in the      22        me?
    23        question.                                   23   BY MR. CARTMELL:
    24   BY MR. CARTMELL:                                 24        Q. Yes.

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     1       A. No.                                         1   an annual basis?
     2       Q. But there wasn't a suspicious order         2        A. Yes.
     3   monitoring manager in place prior to the time      3        Q. Okay. Is part of your compensation
     4   you arrived; is that fair?                         4   bonuses?
     5           MR. HAMMOUD: Object to the form.           5        A. Yes.
     6           THE WITNESS: Not at the exact              6        Q. And what is your bonus based on?
     7       moment because it was Kevin Kreutzer.          7           MR. HAMMOUD: Object to the form.
     8   BY MR. CARTMELL:                                   8           THE WITNESS: It's based on my
     9       Q. And Kevin Kreutzer had been                 9        performance review and profitability of
    10   terminated?                                       10        the company.
    11       A. That was my understanding, yes.            11   BY MR. CARTMELL:
    12       Q. Do you remember how long that              12        Q. In other words, part of your bonus
    13   period of time was that that position was         13   is based on the amount of profits the company
    14   unfilled?                                         14   has?
    15       A. No, I sure don't.                          15        A. Correct.
    16       Q. If you'd go to the next page,              16        Q. And that has to do with the amount
    17   page 3, it looks like there is a proposed DEA     17   of opioid -- or excuse me, all drugs that are
    18   compliance organization, and I guess I was        18   sold by the company, correct?
    19   going to ask you, at this time were they          19        A. Correct, all drugs.
    20   reorganizing the department; do you remember?     20        Q. And opioids included, correct?
    21       A. I don't remember.                          21        A. Can be, yes.
    22       Q. The only thing I saw here as far as        22        Q. So there is an incentive-based
    23   changes was it looks like Gail Martin was moved   23   system at Teva today, and has been at all times
    24   down to CS specialist under Tim Hilden and she    24   while you've been there, that incentivizes
                                               Page 163                                                Page 165
     1   had previously been up by Colleen McGinn, and      1   people by giving bonuses based on the amount of
     2   then Eric Schmidt was moved under Pat Shields      2   drugs the company sells, including opioid
     3   as the import/export specialist. Is that fair      3   narcotics, correct?
     4   to say?                                            4           MR. HAMMOUD: Object to the form.
     5        A. That's fair to say, yes.                   5           THE WITNESS: Well, not
     6        Q. Okay. But this change to the               6        necessarily. Because I would say
     7   organizational structure, that wouldn't affect     7        that -- I know that there have been some
     8   you; is that correct?                              8        SKUs, opioids that the company has lost
     9        A. No, that -- I don't believe that           9        money on. And so if we were to sell
    10   affected me at all.                               10        fewer of those, it would improve
    11        Q. And were you the only suspicious          11        profitability.
    12   order manager at Teva at the time you were        12   BY MR. CARTMELL:
    13   hired?                                            13        Q. I understand. But on a global
    14        A. Yes.                                      14   basis, thinking about the amount of profits
    15        Q. And was there ever another, and to        15   being tied to the amount of sales the company
    16   this day has there ever been another,             16   has, that's your understanding, correct?
    17   suspicious order manager at Teva while you've     17        A. That is correct, yeah.
    18   been there?                                       18        Q. That opioids, like all of the other
    19        A. No.                                       19   products, drugs, pharmaceuticals that are sold
    20        Q. Okay. A few questions about you           20   by Teva, the more that is sold, at least of the
    21   being hired real quick, and one is, I take it     21   profitable products, the more bonus its
    22   you have a personnel file at Teva?                22   employees will receive, correct?
    23        A. I'm sure I do. Never seen it.             23           MR. HAMMOUD: Object to the form.
    24        Q. Are you reviewed periodically or on       24           THE WITNESS: Potentially.

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     1        Potentially. I don't know the formula.        1          MR. HAMMOUD: Object to the form.
     2   BY MR. CARTMELL:                                   2          THE WITNESS: Yeah, and again,
     3        Q. Okay. And actually, that reminds           3       we're getting into semantics about when
     4   me to ask you, do you know how profitable the      4       someone considers something a serious
     5   opioid narcotics are to the company?               5       issue. I think something is a serious
     6        A. No, I don't.                               6       issue if I think any of my product is
     7             MR. HAMMOUD: Object to the form.         7       ending up in the street.
     8   BY MR. CARTMELL:                                   8   BY MR. CARTMELL:
     9        Q. Have you ever seen anything there          9       Q. Okay. And that's been going on for
    10   in the materials or documents that states that    10   more than ten years; is that right?
    11   the sale of opioids are 85 percent profitable     11       A. Decades. Decades.
    12   to the company?                                   12       Q. And we'll talk about --
    13        A. I've never seen anything like that.       13       A. Pre-dating the Controlled
    14        Q. Okay. Now, we're going to talk            14   Substances Act.
    15   more about the law related to the sales and       15       Q. Okay. You're talking about before
    16   distribution of opioid narcotics, but first I     16   1970?
    17   want to ask you, personally to you, do you        17       A. Oh, yes.
    18   believe that this country is in the middle of     18       Q. Okay. Now, as far as this opioid
    19   an opioid epidemic?                               19   epidemic, has that affected your community?
    20             MR. HAMMOUD: Object to the form.        20          MR. HAMMOUD: Object to the form.
    21             THE WITNESS: Based on overdose          21          THE WITNESS: My wife's best friend
    22        death rates that I see, I can say that       22       growing up is an opioid addict, yes.
    23        it's perfectly consistent with that,         23   BY MR. CARTMELL:
    24        yes.                                         24       Q. So I take it, and I was going to
                                               Page 167                                             Page 169
     1   BY MR. CARTMELL:                                   1   ask you, it's also affected your family; is
     2         Q. Okay. And how long do you think           2   that fair to say?
     3   this country has been in an opioid overdose and    3        A. My family:
     4   death-related epidemic?                            4            MR. HAMMOUD: Object to the form.
     5         A. That's a tough question. And I            5            THE WITNESS: I don't know anyone
     6   don't really think it's a fair question because    6        in my family who is a -- has an issue
     7   it's using the term "epidemic," and we can see     7        with opioids.
     8   through -- overdose death rates over the last      8   BY MR. CARTMELL:
     9   couple of years have climbed pretty                9        Q. But you have good friends?
    10   dramatically. But is it fair to say -- you        10        A. Oh, yeah, my -- like I said, my
    11   know, where is the cut-off of when you start      11   wife's best friend growing up.
    12   calling something an epidemic? And I'm not        12        Q. Okay. Would you agree with me that
    13   diminishing that there's an issue, because I do   13   the abuse and addiction of both prescription
    14   believe very strongly that there's an issue, as   14   and nonprescription opioids is a serious
    15   you've seen through my work, but, you know,       15   problem?
    16   using the term "epidemic," it's -- is an unfair   16        A. Well, of course.
    17   statement.                                        17        Q. And it affects the health, social,
    18         Q. Okay. You called it an issue; is         18   and economic welfare of all individuals,
    19   that right?                                       19   communities, and companies?
    20         A. Oh, it's a very serious issue, yes.      20            MR. HAMMOUD: Object to the form.
    21         Q. Well, tell us, then, just how long       21            THE WITNESS: I would say that's a
    22   you think this very serious issue related to      22        fair assessment.
    23   opioid overdoses and deaths has gone on in        23   BY MR. CARTMELL:
    24   America.                                          24        Q. And you mentioned that opioid

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     1   deaths continue to rise; is that right?          1   their duty to try to limit the amount of
     2        A. That is correct.                         2   diverted opioids. Would you agree with that?
     3        Q. And in part that's because opioids       3            MR. HAMMOUD: Object to the form.
     4   continue to be diverted and abused, correct?     4            THE WITNESS: Oh, from -- yeah, we
     5             MR. HAMMOUD: Object to the form.       5        have a different responsibility to help
     6             THE WITNESS: The rates that I've       6        prevent diversion.
     7        seen involving prescription opioids have    7   BY MR. CARTMELL:
     8        appeared to be relatively flat over the     8        Q. Okay. Let's talk about
     9        last several years.                         9   specifically what the law says that duty and
    10   BY MR. CARTMELL:                                10   responsibility is for manufacturers of opioids.
    11        Q. Staying at the same level, is that      11   I talked about this a little bit, but let me
    12   what you mean?                                  12   start from the beginning, if I can, because I
    13        A. Correct, correct.                       13   want to make this very clear to the jurors, and
    14        Q. In other words, you're not saying       14   understandable.
    15   that it's going down --                         15            Is it true that the sale of opioid
    16        A. Correct.                                16   narcotic drugs is regulated by the law in
    17        Q. -- you're just saying that it's         17   America?
    18   been flat?                                      18        A. That's fair.
    19        A. Correct. And I'm not saying it's        19            MR. HAMMOUD: Object to the form.
    20   not an issue either.                            20   BY MR. CARTMELL:
    21        Q. You're saying it's a serious issue,     21        Q. And for opioid narcotic drugs like
    22   aren't you?                                     22   the ones that Teva sells and distributes, those
    23        A. Oh, it's a very serious issue, yes.     23   are called controlled substances; is that
    24        Q. Would you agree, and I think you        24   right?
                                              Page 171                                              Page 173
     1   said this, that the opioid epidemic is           1             MR. HAMMOUD: Object to the form.
     2   worsening?                                       2             THE WITNESS: That is correct.
     3           MR. HAMMOUD: Object to the form,         3   BY MR. CARTMELL:
     4        mischaracterizes prior testimony.           4         Q. Okay. And what does it mean for a
     5           THE WITNESS: Yeah, it -- in terms        5   drug or a pharmaceutical like the opioids
     6        of what I see with heroin and illicit       6   produced by Teva and sold by Teva, what does it
     7        fentanyl -- and that's fentanyl that's      7   mean to be a controlled substance?
     8        not produced for medical purposes -- I      8         A. From my understanding, it is that
     9        see pretty dramatic increases in those      9   it's a -- that the manufacture, sale,
    10        products.                                  10   distribution of the products are controlled
    11   BY MR. CARTMELL:                                11   federally by the federal government and that --
    12        Q. And would you agree with me that        12   and as part of what's called the closed
    13   the opioid epidemic must be addressed in part   13   distribution system.
    14   through the manufacturers --                    14         Q. Okay. And I think you mentioned
    15           MR. HAMMOUD: Objection.                 15   this, but Congress actually passed what's
    16   BY MR. CARTMELL:                                16   called the Controlled Substances Act that
    17        Q. -- of the opioids?                      17   governs and regulates the sale of opioid
    18        A. Well, I think my program has been       18   narcotics and controlled substances?
    19   part of helping to solve the problem.           19             MR. HAMMOUD: Object to the form.
    20        Q. Right. In other words, you would        20             THE WITNESS: Correct.
    21   agree with me that in order to solve this       21   BY MR. CARTMELL:
    22   problem, the manufacturers -- and I'm not       22         Q. Okay. And I think you mentioned
    23   eliminating any others -- but are a part of     23   this, too, but the Controlled Substances Act
    24   that solution and have responsibility to do     24   went into effect in 1970; is that right?

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     1        A. That's correct.                             1   ago, correct?
     2        Q. Okay. I want to actually hand you           2         A. Correct.
     3   Exhibit 4 in this case and ask you a few            3         Q. And this is a letter from, if you
     4   questions about this document.                      4   look at the last page, somebody named Joseph
     5           (Exhibit Teva-Tomkiewicz-004 marked         5   Rannazzisi.
     6        for identification and attached to the         6             Do you see that?
     7        transcript.)                                   7         A. Yes.
     8   BY MR. CARTMELL:                                    8         Q. Okay. And that's a name that
     9        Q. This was a document that was                9   you're familiar with, right?
    10   produced in this litigation by Teva from their     10         A. Yes.
    11   internal files, and I just have a few questions    11         Q. And is it true that this letter and
    12   about this letter for you.                         12   maybe some of the additional letters from
    13           This is a letter dated --                  13   Mr. Rannazzisi have become well-known to
    14           MR. HAMMOUD: Can you give him a            14   manufacturers and distributors of opioid
    15        second to read the document.                  15   narcotics? Is that fair?
    16   BY MR. CARTMELL:                                   16             MR. HAMMOUD: Object to the form.
    17        Q. Mr. Tomkiewicz, have you seen this         17             THE WITNESS: I would say that that
    18   letter before?                                     18         is fair, yeah.
    19        A. Yes, I have.                               19   BY MR. CARTMELL:
    20        Q. In other words, you're familiar            20         Q. Okay. Now, you weren't working at
    21   with this letter based on your experience in       21   Teva at this time, but let me go through this
    22   the industry related to diversion control of       22   and ask you some questions about it. But first
    23   opioid narcotics?                                  23   it states, Dear sir or madam, this letter is
    24        A. Yes, I've seen it and have a copy          24   being sent to every commercial entity in the
                                                 Page 175                                              Page 177
     1   of it.                                              1   United States registered with the Drug
     2        Q. Okay. Now, I think actually we              2   Enforcement Administration to distribute
     3   found this letter in your file. But as you see      3   controlled substances.
     4   here, this is from the U.S. Department of           4            Now, let me ask you, is it true
     5   Justice Drug Enforcement Administration.            5   that a pharmaceutical company like Teva or a
     6            Do you see that?                           6   distributor like AmerisourceBergen, they have
     7        A. Yes.                                        7   to register with the DEA in order to be allowed
     8        Q. And we talked -- you kept calling           8   to sell or distribute opioid narcotics?
     9   it the administration; I kept calling it the        9            MR. HAMMOUD: Object to the form.
    10   agency. I apologize.                               10            THE WITNESS: Or manufacture.
    11        A. Administration, yeah.                      11   BY MR. CARTMELL:
    12        Q. But this is the entity that is --          12        Q. Or manufacture?
    13        A. I've been wrong before.                    13        A. Correct.
    14        Q. Don't worry. I am all the time.            14        Q. Okay. It states, The purpose of
    15   But this is the entity that is charged with the    15   this letter is to reiterate the responsibility
    16   duty to enforce the act, the Controlled            16   of controlled substance distributors in view of
    17   Substances Act, correct?                           17   the prescription drug abuse problem our nation
    18        A. My understanding, yes.                     18   currently faces.
    19        Q. Okay. And I want to go through a           19            Do you see that?
    20   few things here. The date of this is actually      20        A. Yes.
    21   February 7th of 2007.                              21        Q. And we've already talked about
    22            Do you see that?                          22   that, but clearly back in 2007, at that point
    23        A. Yes.                                       23   already our nation was faced with an opioid
    24        Q. So that's actually over ten years          24   addiction and abuse problem, correct?

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     1            MR. HAMMOUD: Object to the form,          1   manufacturing, selling, and distributing,
     2        lacks foundation.                             2   correct?
     3            THE WITNESS: Well, I'd say that's         3           MR. HAMMOUD: Object to the form.
     4        a fair assessment.                            4           THE WITNESS: Well, I think, you
     5   BY MR. CARTMELL:                                   5        know, doing everything we can, I think
     6        Q. Okay. And then it states, As each          6        that's a fair assessment.
     7   of you is undoubtedly aware, the abuse or          7   BY MR. CARTMELL:
     8   nonmedical use of controlled prescription drugs    8        Q. Okay. And then if you go to the
     9   is a serious and growing health problem in this    9   next page, I want to talk to you about the
    10   country.                                          10   second paragraph. Here's where it talks
    11            And we've talked about that, and         11   specifically about manufacturers like Teva.
    12   you agree with that, correct?                     12           In the second sentence it says,
    13        A. Oh, yes.                                  13   Moreover, all registrants -- manufacturers,
    14        Q. The next paragraph states, The            14   distributors, pharmacies, and practitioners --
    15   CSA -- and that would be the Controlled           15   share responsibility for maintaining
    16   Substances Act, right?                            16   appropriate safeguards against diversion.
    17        A. My understanding, yes.                    17   Nonetheless, given the extent of prescription
    18        Q. -- was designed by Congress to            18   drug abuse in the United States, along with the
    19   combat diversion by providing for a closed        19   dangerous and potentially lethal consequences
    20   system of drug distribution in which all          20   of such abuse, even just one distributor that
    21   legitimate handlers of controlled substances      21   uses its DEA registration to facilitate
    22   must obtain a DEA registration, and as a          22   diversion can cause enormous harm.
    23   condition of maintaining such registration,       23           Do you agree with that?
    24   must take reasonable steps to ensure that their   24        A. Yes.
                                               Page 179                                               Page 181
     1   registration is not being utilized as a source     1        Q. Okay.
     2   of diversion.                                      2            Accordingly, the DEA will use its
     3            Do you see that?                          3   authority to revoke or suspend registrations in
     4        A. Yes.                                       4   appropriate cases.
     5        Q. Distributors are, of course, one of        5            Do you see that?
     6   the key components of the distribution chain.      6        A. Yes.
     7   If the closed system is to function properly as    7        Q. And that's a fact, right, that DEA,
     8   Congress envisioned, distributors must be          8   as the enforcer of the law, the Controlled
     9   vigilant in deciding whether a prospective         9   Substances Act, if they find that a
    10   customer can be trusted to deliver controlled     10   manufacturer of opioids or a seller or
    11   substances only for lawful purposes. This         11   distributor of opioids is allowing diversion or
    12   responsibility is critical as Congress has        12   ignoring diversion, or not taking on their duty
    13   expressly declared that the illegal               13   to try to prevent diversion and abuse of these
    14   distribution of controlled substances has a       14   drugs, the DEA can take away the registration
    15   substantial and detrimental effect on the         15   from that company. Is that fair?
    16   health and welfare of the American people.        16        A. They have --
    17            Do you see that?                         17            MR. HAMMOUD: Object to the form.
    18        A. Yes.                                      18            THE WITNESS: I believe they have
    19        Q. And what this is talking about is         19        that ability, yes.
    20   that distributors of these drugs and              20   BY MR. CARTMELL:
    21   manufacturers of these drugs that are selling     21        Q. And taking away a company's reg --
    22   these opioid narcotic drugs have a                22   DEA registration is a really big deal. Would
    23   responsibility to try to do everything they can   23   you agree with that?
    24   to prevent the diversion of the drugs they are    24        A. Oh, I would agree with that, yes.

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     1        Q. Because if the registration for the        1   The registrant shall design and operate a
     2   company, a company like Teva, is taken away by     2   system to disclose to the registrant suspicious
     3   the DEA, then that company no longer has the       3   orders of controlled substances.
     4   ability to sell or distribute these opioid         4            Would you agree with me that it's
     5   narcotic drugs. Is that fair?                      5   the duty of Teva and all manufacturers and
     6        A. Or manufacture.                            6   sellers and distributors of these opioids to
     7        Q. Or manufacture them, right?                7   design a system so that they can, to the best
     8        A. Correct.                                   8   of their ability, have suspicious orders
     9        Q. The next paragraph, if you look at         9   identified?
    10   the second sentence, states, Listed first among   10            MR. HAMMOUD: Object to the form.
    11   these factors is the duty of distributors to      11            THE WITNESS: I would say that's a
    12   maintain effective controls against diversion     12        fair assessment, yes.
    13   of controlled substances into other than          13   BY MR. CARTMELL:
    14   legitimate medical, scientific, and industrial    14        Q. It then states that the registrant
    15   channels.                                         15   shall inform the field division office of the
    16            Do you see that?                         16   administration in his area of suspicious orders
    17        A. Yes.                                      17   when discovered by the registrant.
    18        Q. And does that mean there is a duty        18            Do you see that?
    19   by distributors and manufacturers of these        19        A. Yes.
    20   opioids, and sellers of these opioid narcotic     20        Q. And "the registrant" is talking
    21   drugs, that they have to have controls in place   21   about -- in your case Teva would be the
    22   in their organization to help prevent the         22   registrant because they have a DEA
    23   diversion and abuse of these drugs? Is that       23   registration, right?
    24   what that means?                                  24        A. Correct.
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     1           MR. HAMMOUD: Object to the form.           1        Q. So Teva, according to the law
     2           MR. NICHOLAS: Object to form.              2   that's been in place since the 1970s, has had,
     3           THE WITNESS: And I would say               3   one, the duty to design a system that's
     4       that's a fair assessment.                      4   effective in helping them to identify the
     5   BY MR. CARTMELL:                                   5   diversion of opioids, correct?
     6       Q. Okay. If you go down to the next            6           MR. HAMMOUD: Object to the form.
     7   paragraph, it states, The DEA regulations          7           THE WITNESS: Controlled
     8   require all distributors to report suspicious      8        substances, yes.
     9   orders of controlled substances.                   9   BY MR. CARTMELL:
    10           Do you see that?                          10        Q. Including opioids, right?
    11       A. Yes.                                       11        A. Correct.
    12       Q. Now, you talked about you were             12        Q. And also they've got to operate a
    13   actually hired by Teva to be the manager of the   13   system that's effective in disclosing
    14   suspicious order monitoring; is that right?       14   suspicious orders that come to them for these
    15       A. Of the suspicious order monitoring         15   opioids, correct?
    16   program, yes.                                     16        A. Correct.
    17       Q. And when we talk about suspicious          17        Q. Okay. And that's been going on --
    18   orders related to opioids, what are we talking    18   that's been the duty of companies like Teva and
    19   about?                                            19   distributors of opioids, that duty has existed
    20       A. We're talking about orders that may        20   since the 1970s, correct?
    21   be of an unusual size, pattern, or frequency.     21           MR. HAMMOUD: Object to the form.
    22       Q. Okay. And I think it says this             22           THE WITNESS: I'm not certain when
    23   here. Let's talk about it.                        23        the reg came into effect, but I'll take
    24           The registration -- or excuse me.         24        your word as an attorney.

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     1   BY MR. CARTMELL:                                   1        stop it, but I will say that I don't
     2        Q. Well, you know that that -- and I          2        ship anything that we have determined to
     3   don't mean to put words in your mouth, but I       3        be suspicious.
     4   take it from your experience, you know that        4   BY MR. CARTMELL:
     5   this duty that we've been talking about, to        5        Q. In other words, would you agree
     6   have a suspicious order monitoring system, one     6   with me that the most prudent practice and the
     7   that is effective, that duty has been in effect    7   most responsible practice would be that if a
     8   since before the 1990s. Fair enough?               8   company like Teva and its manager like you
     9        A. Oh, that's fair.                           9   determines that orders are suspicious for these
    10        Q. If you go a couple paragraphs down,       10   opioids that are narcotics and that you know
    11   it says, Thus, in addition to reporting all       11   can be diverted and abused so readily, the best
    12   suspicious orders, a distributor has a            12   practice and the most responsible practice
    13   statutory responsibility to exercise due          13   would be not to ship those orders? Do you
    14   diligence to avoid filling suspicious orders      14   agree with that?
    15   that might be diverted into                       15           MR. HAMMOUD: Object to the form.
    16   other-than-legitimate medical, scientific, and    16           THE WITNESS: I would agree to
    17   industrial channels.                              17        that.
    18            Do you see that?                         18   BY MR. CARTMELL:
    19        A. Yes.                                      19        Q. Okay. It then states, In a similar
    20        Q. And that's the law, right?                20   vein, given the requirement under Section
    21            MR. HAMMOUD: Object to the form,         21   823(e) that a distributor maintain effective
    22        calls for a legal conclusion.                22   controls against diversion, a distributor may
    23            THE WITNESS: And that's my               23   not simply rely on the fact that the person
    24        understanding.                               24   placing the suspicious order is a DEA
                                               Page 187                                               Page 189
     1   BY MR. CARTMELL:                                   1   registrant and turn a blind eye to the
     2        Q. I should say that's your                   2   suspicious circumstances.
     3   understanding of the law as a suspicious order     3           Do you see that?
     4   monitoring manager at Teva. Is that fair?          4        A. Yes.
     5        A. That is a fair assessment, yes.            5        Q. In other words, that means that a
     6        Q. In other words, your understanding         6   company like Teva, if you have an order for
     7   as the manager at Teva since 2014 has been that    7   opioids that you think may be suspicious and
     8   if your company determines that there are          8   could likely be diverted or abused out in the
     9   suspicious orders for opioid narcotic drugs        9   communities, you can't turn a blind eye and
    10   that has come to your company, you have the       10   just say, well, I'll go ahead and ship it
    11   duty to report that to the DEA, correct?          11   because the person who made the order is
    12           MR. HAMMOUD: Object to the form.          12   registered with the DEA. You can't do that,
    13           THE WITNESS: That is correct.             13   right?
    14   BY MR. CARTMELL:                                  14           MR. HAMMOUD: Object to the form.
    15        Q. And is it true that you also have         15           THE WITNESS: And I would say that
    16   the duty -- when your company determines that     16        yes, that is correct.
    17   one of your customers has a suspicious order,     17   BY MR. CARTMELL:
    18   you have the duty to, in fact, stop that order    18        Q. And just on the -- I don't want to
    19   from being shipped so that it won't likely be     19   go through them, but if you turn the page,
    20   diverted out in the community?                    20   Mr. Tomkiewicz, you'll see that there are
    21           MR. HAMMOUD: Object to the form,          21   actually some hints by the DEA here that were
    22        calls for a legal conclusion.                22   given to distributors and manufacturers of
    23           THE WITNESS: Yeah, I haven't heard        23   these opioids as far as some things that might
    24        that there's a regulatory requirement to     24   be a clue that an order might be suspicious or

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     1   may be ultimately diverted.                        1        A. Yeah, I would reject that.
     2           Do you see that?                           2        Q. Fair enough. Let me restate the
     3        A. Yes.                                       3   question.
     4        Q. You can see that they give                 4            Would you agree with me that this
     5   circumstances that might be indicative of          5   letter that's often referred to as the
     6   diversion, right?                                  6   Rannazzisi letter was the Drug Enforcement
     7        A. Correct.                                   7   Agency sending a letter to manufacturers,
     8        Q. And you're very familiar with those        8   distributors, sellers of opioid narcotic drugs
     9   circumstances, I take it?                          9   as sort of a reminder and reiterating the
    10        A. Yes, I'm familiar with them.              10   duties and responsibilities that they had to
    11        Q. And you take those circumstances or       11   try to prevent the diversion of opioid narcotic
    12   these hints that are given by the DEA into        12   drugs? Fair enough?
    13   consideration as the manager that is monitoring   13            MR. HAMMOUD: Object to the form.
    14   suspicious orders. Is that fair to say?           14            THE WITNESS: And I would say
    15        A. These specifically, when I'm              15        that's a fair assessment.
    16   reviewing -- when we're reviewing things that     16   BY MR. CARTMELL:
    17   might be suspicious, I wouldn't say we refer      17        Q. Okay. Do you know, as you sit here
    18   back to this document, but they're often          18   today, when it was that Teva first started
    19   included in, you know, how we review.             19   selling or distributing opioids?
    20        Q. Okay. In other words, you're              20        A. No, I don't.
    21   saying, I don't get the document out, but these   21        Q. Do you have any clue?
    22   are some of the things we look for when we're     22            MR. HAMMOUD: Objection, asked and
    23   looking for a suspicious order of opioid          23        answered.
    24   narcotic drugs, right?                            24            THE WITNESS: I have no idea.
                                               Page 191                                               Page 193
     1         A. Or any controlled substance, yes.         1   BY MR. CARTMELL:
     2         Q. Okay. Now, if you go back to the          2        Q. Okay. It should be noted, though,
     3   first page, this letter, which is often            3   I think, that when you arrived at Teva in 2014,
     4   referred to as the Rannazzisi letter, was --       4   at that point I take it you know that they were
     5   well, let me ask you if you agree with me.         5   selling lots of different Class II opioid
     6            This letter that was sent from the        6   products. Is that fair?
     7   Drug Enforcement Administration to all of the      7            MR. HAMMOUD: Object to the form,
     8   manufacturers and sellers and distributors of      8        lacks foundation.
     9   opioids, including the high-risk opioids that      9            THE WITNESS: And -- sorry, but I
    10   are narcotics and easily diverted, this was       10        don't like the term "lots." I like
    11   sort of a reminder to these manufacturers,        11        using numbers.
    12   sellers, and distributors of the                  12   BY MR. CARTMELL:
    13   responsibilities and duties they had to help      13        Q. Well, I counted, from the documents
    14   prevent diversions of opioids. Would you agree    14   I received, that today, Teva is selling, I
    15   with that?                                        15   believe, 18 or 19 Class II opioid narcotic
    16            MR. HAMMOUD: Object to the form.         16   drugs. Is that consistent with your
    17            THE WITNESS: And I would not agree       17   understanding?
    18         with the assessment in your question        18        A. That could be consistent, yes.
    19         that certain high-risk, at least as I       19        Q. And I said "lots." But when you
    20         define them, are easily diverted. I --      20   arrived in 2014, is it fair to say that Teva
    21   BY MR. CARTMELL:                                  21   was selling a number of different opioid --
    22         Q. Okay, well, let me restate --            22   Class II opioid narcotic drugs? Fair to say?
    23         A. -- I would --                            23            MR. HAMMOUD: Object to the form.
    24         Q. Fair enough.                             24            THE WITNESS: I would say that's

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     1        fair to say.                                  1   Controlled Substances Act, and the DEA
     2   BY MR. CARTMELL:                                   2   enforcement of a law related to the sales of
     3        Q. And fair to say that Teva sells and        3   opioids in America. And is it true that the
     4   distributes millions of prescriptions for          4   DEA has actually left the responsibility to the
     5   opioid narcotic drugs? Fair?                       5   manufacturers and sellers and distributors of
     6            MR. HAMMOUD: Object to the form.          6   opioids to design, internally, systems to help
     7            THE WITNESS: We don't dispense            7   prevent opioid diversion?
     8        prescriptions.                                8            MR. HAMMOUD: Objection to the
     9   BY MR. CARTMELL:                                   9         form.
    10        Q. Bad question. Thank you for               10            THE WITNESS: Could you ask that
    11   correcting that.                                  11         again? I got lost in the question.
    12            Is it fair to say that Teva sells        12   BY MR. CARTMELL:
    13   and distributes millions and millions of opioid   13         Q. Sure. Is it true that the DEA has
    14   narcotic drug pills per year?                     14   left the responsibility or relies on the
    15            MR. HAMMOUD: Object to the form.         15   manufacturers and distributors and sellers of
    16            THE WITNESS: I haven't looked at         16   opioid narcotic drugs in America to develop the
    17        the specific number of dosage units, but     17   systems to help divert -- their internal
    18        I'm sure it's in the millions. But           18   systems to help divert opioids -- help to
    19        beyond that, I couldn't say millions and     19   prevent the diversion of opioids?
    20        millions. And to say -- we've sold a         20         A. So are --
    21        good number of them.                         21            MR. HAMMOUD: Same objection.
    22   BY MR. CARTMELL:                                  22            THE WITNESS: Yeah, are you saying
    23        Q. And I think I've seen data that           23         that the DEA has sort of left the
    24   suggests that today, or since 2016, Teva has      24         manufacturers on their own to develop
                                               Page 195                                               Page 197
     1   been, as far as the sales of opioid drugs,         1        their own system to detect potential
     2   about at the 9 to 10 percent of the sales are      2        diversion?
     3   of Teva opioid products. Is that consistent        3   BY MR. CARTMELL:
     4   with your understanding?                           4        Q. Let me restate the question to make
     5           MR. HAMMOUD: Object to the form,           5   it more clear.
     6        lacks foundation.                             6           As we saw from the Controlled
     7           THE WITNESS: I don't know that             7   Substances Act, it requires manufacturers like
     8        offhand.                                      8   Teva to develop internal systems that will
     9   BY MR. CARTMELL:                                   9   help, for one thing, identify suspicious orders
    10        Q. But you agree that Teva is one of         10   of opioids, right?
    11   the larger sellers and distributors of opioid     11        A. Correct.
    12   narcotic drugs in America, correct?               12        Q. It also said in the Controlled
    13        A. I would say that's a fair                 13   Substances Act that manufacturers like Teva who
    14   assessment, yes.                                  14   sell opioids have to design systems internally
    15        Q. And those are all things that, when       15   to help prevent the diversion of opioids,
    16   you came to Teva, some of the things that you     16   correct?
    17   looked into, I take it, and learned as you        17           MR. HAMMOUD: Object to the form.
    18   started in your job as the new suspicious order   18           THE WITNESS: Of any controlled
    19   manager; is that right?                           19        substance.
    20        A. Right. Well, looking at the -- you        20   BY MR. CARTMELL:
    21   know, which specific products we were selling,    21        Q. Including opioids, right?
    22   which, of course, was a different mix when I      22        A. Yes.
    23   started from what is currently being sold.        23        Q. And is it true that the DEA
    24        Q. We talked about the law, the              24   actually relies on Teva and the individual

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     1   manufacturers and sellers and distributors of      1        that's a horrible word for it. No
     2   opioids to, in fact, develop those systems and     2        offense, but...
     3   make sure they have effective systems in place     3   BY MR. CARTMELL:
     4   and monitoring programs in place so that they      4        Q. How would you describe it?
     5   can help divert the -- or help prevent the         5        A. Companies want to increase
     6   diversion of opioids?                              6   profitability. That's the reason why people
     7           MR. HAMMOUD: Same objection.               7   are in business.
     8           THE WITNESS: And I wouldn't say --         8        Q. Mr. Tomkiewicz, the DEA, as we saw,
     9       I couldn't say that the DEA relies on          9   has told Teva and companies like Teva who sell
    10       manufacturers and distributors for that.      10   and distribute opioids to set up systems that
    11       Because when it comes to suspicious           11   will identify suspicious orders of opioids,
    12       order monitoring, they really haven't         12   correct?
    13       given any feedback.                           13        A. Correct.
    14   BY MR. CARTMELL:                                  14        Q. And they've asked those companies
    15       Q. Okay. But you know from the                15   to take it upon themselves to provide the
    16   Controlled Substances Act that you have to have   16   resources and actual processes to put in
    17   systems in place --                               17   effective types of monitoring programs to find
    18       A. Correct.                                   18   suspicious orders, correct?
    19       Q. -- right? And the DEA does not             19            MR. HAMMOUD: Object to the form.
    20   develop those systems for you, correct?           20            THE WITNESS: I would say that's a
    21       A. The DEA has not developed our              21        fair assessment.
    22   system, no.                                       22   BY MR. CARTMELL:
    23       Q. Okay. And so you are left as a             23        Q. And these same companies that the
    24   manufacturer, meaning Teva, of these opioids to   24   DEA has asked to set up these systems so that
                                               Page 199                                               Page 201
     1   develop those systems yourself, correct?           1   they can find these suspicious orders are
     2        A. Correct.                                   2   companies like Teva who, as you said, are
     3        Q. And the DEA does rely on each of           3   interested in maximizing their profits,
     4   the companies like Teva to develop those           4   correct?
     5   systems to help prevent opioid diversion,          5        A. I never said that.
     6   correct?                                           6           MR. HAMMOUD: Objection,
     7           MR. HAMMOUD: Object to the form.           7        mischaracterizes his testimony.
     8           THE WITNESS: Well, and again, I            8           THE WITNESS: In fact, I
     9        can't say that the DEA relies on because      9        categorically denied the word
    10        I don't know what the DEA is doing on        10        "maximize."
    11        their end. So in terms of, you know,         11   BY MR. CARTMELL:
    12        saying that the DEA relies on, you know,     12        Q. How did you describe it? I'll use
    13        manufacturers or distributors or even        13   your words.
    14        down to pharmacies or practitioners, I       14        A. I said that any company wants to
    15        can't say that.                              15   increase profits. That's why you're in
    16   BY MR. CARTMELL:                                  16   business.
    17        Q. Okay. One of the things, though,          17        Q. So these companies that the DEA has
    18   that companies like Teva, as we discussed, are    18   asked to set up these systems to help prevent
    19   interested in is maximizing the sales of their    19   the diversion of opioids are the same companies
    20   prescription drugs like opioids, including        20   that want to increase their profits, correct?
    21   opioids, correct?                                 21        A. I think that's a goal of business.
    22           MR. HAMMOUD: Object to the form,          22        Q. And part of increasing profits, as
    23        lacks foundation.                            23   we've discussed, is potentially, or can be,
    24           THE WITNESS: Maximizing? I think          24   increasing their sales, correct?

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     1        A. Correct.                                   1        A. Yes, I am.
     2        Q. So they're asking companies that           2        Q. I want to ask you a few more
     3   want to increase their sales and increase their    3   questions about Exhibit 3. I think it's in
     4   profits to set up systems that could, if they      4   front of you. And this was the PowerPoint
     5   find suspicious orders, decrease their sales,      5   presentation from March of 2014, which was just
     6   correct?                                           6   a few months after you arrived at the company
     7            MR. HAMMOUD: Object to the form.          7   to start working, correct?
     8            THE WITNESS: Well, and that's --          8        A. Correct.
     9        that is correct. I would say that's a         9        Q. And if we look at page 3, as we
    10        fair assessment.                             10   discussed, there was a proposed DEA compliance
    11   BY MR. CARTMELL:                                  11   organization, and as we discussed, there was a
    12        Q. So these same companies that              12   small restructuring or a few people moving
    13   they're saying that we want you to identify       13   around, according to this proposed
    14   these orders that are suspicious, and we want     14   organization; is that correct?
    15   you to make sure that they are stopped so         15        A. Correct.
    16   they're not diverted, are the same companies      16        Q. And did that small restructuring
    17   that want to increase sales and increase          17   occur at that time; do you know?
    18   profits over time, correct?                       18        A. I believe it did.
    19        A. Well, it's going to be difficult to       19        Q. Okay. And if you look at where you
    20   increase sales if you don't have a DEA            20   are, Joe Tomkiewicz, it states under you, you
    21   registration.                                     21   had one individual reporting to you, Matt
    22        Q. I understand that, but my point is        22   Benkert; is that right?
    23   simply that there is an inherent conflict in      23        A. That's correct.
    24   that system, correct?                             24        Q. And his position was -- it
                                               Page 203                                               Page 205
     1        A. Well, that's what I'm saying.              1   indicates he's an investigator; is that right?
     2   There isn't an inherent conflict.                  2        A. Correct.
     3        Q. You don't believe that's a conflict        3        Q. So does that mean that he would be
     4   or sort of, so to speak, the fox guarding the      4   somebody who would actually be involved in
     5   hen house?                                         5   investigating the suspicious orders?
     6        A. No.                                        6        A. Potential suspicious orders.
     7           MR. HAMMOUD: Object to the form.           7        Q. Okay.
     8           MR. CARTMELL: How long have we             8        A. Investigating orders to determine
     9        been going?                                   9   if they're suspicious.
    10           MR. HAMMOUD: About an hour and            10        Q. I got you. Okay. And we'll talk
    11        three minutes.                               11   about that process more, but I think what
    12           MR. CARTMELL: Do you want to take         12   you're talking about is orders would be
    13        a quick break?                               13   sometimes flagged or pulled aside or pended
    14           THE WITNESS: A break sounds good.         14   after going through the computer system or the
    15           MR. CARTMELL: Like ten minutes?           15   algorithm, and then there would be an
    16           VIDEO OPERATOR: Going off the             16   investigation of that to see if it was
    17        record, 2 p.m.                               17   suspicious or not, correct?
    18           (Recess from 2:03 p.m. until              18        A. Correct.
    19        2:15 p.m.)                                   19        Q. Okay. Now, how many actually of
    20           VIDEO OPERATOR: Back on record at         20   the 16 employees in this organization or this
    21        2:15 p.m.                                    21   department were actually involved in the
    22   BY MR. CARTMELL:                                  22   investigation of suspicious orders or pended
    23        Q. Mr. Tomkiewicz, we're back on the         23   orders?
    24   record. Are you ready to proceed?                 24        A. Oh, of pended orders? It was

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     1   primarily -- primarily Matt and myself.            1        Q. Okay. Was Colleen McGinn in the
     2        Q. Okay. So of the 16 individuals             2   same location as you?
     3   indicated in the organization as of March of       3        A. No.
     4   2014, it sounds like what you were saying is       4        Q. Okay. And where was she located?
     5   you and your direct -- well, the person who was    5        A. I believe she's in the Frazer
     6   directly under you, Matt, were the two that        6   location.
     7   would actually take on the job of investigating    7        Q. Okay. But there wasn't one
     8   whether or not orders from customers for           8   centralized location for all of the DEA control
     9   opioids were suspicious or not. Is that fair?      9   employees; they were spread out among the
    10        A. That is fair.                             10   different offices, correct?
    11        Q. Okay. And if you go to the next           11           MR. HAMMOUD: Object to the form.
    12   page of this PowerPoint, it talks about           12           THE WITNESS: Correct.
    13   predictions, and then it states, Controlled       13   BY MR. CARTMELL:
    14   substances - Teva, 13 sites with DEA              14        Q. Is that correct?
    15   registrations.                                    15        A. That's -- is correct.
    16           Do you see that?                          16        Q. It says, CS -- that stands for
    17        A. Yes.                                      17   controlled substances, correct?
    18        Q. What does that mean?                      18        A. Yes.
    19        A. 13 locations, each with an                19        Q. -- represent X percent of Teva
    20   individual DEA registration.                      20   sales. What does that mean?
    21        Q. Okay. And so you had 13 different         21        A. I don't know specific. I can make
    22   sites that were distributing opioids or           22   a conjecture.
    23   narcotics and were DEA registered; is that        23        Q. Okay.
    24   correct?                                          24        A. That this is a draft.
                                                Page 207                                              Page 209
     1        A. No.                                        1        Q. Okay. Do you know, though, what
     2            MR. HAMMOUD: Object to the form.          2   percent of controlled substances was as far as
     3            THE WITNESS: No, that's not               3   the sales of Teva at that time?
     4        correct.                                      4        A. No, I don't.
     5   BY MR. CARTMELL:                                   5        Q. And then it says, DEA compliance
     6        Q. Okay. Well, 13 -- strike that.             6   imperative.
     7            It also states that you have a            7           What's your understanding of what
     8   total of 44 DEA registrations.                     8   that means?
     9            Do you see that?                          9        A. Don't know.
    10        A. Yes.                                      10        Q. Okay. If you'd turn the page,
    11        Q. Okay. And so you had 16 people            11   under predictions, it states -- and actually I
    12   that were in charge of what, with respect to      12   want to go to page 6. It states, DEA culture
    13   the DEA registrations? Was it to make sure        13   change.
    14   they were in compliance?                          14           Do you see that?
    15            MR. HAMMOUD: Object to the form.         15        A. Yes.
    16            THE WITNESS: Well, it depends upon       16        Q. Was there a feeling inside the
    17        the person and their specific                17   company at that time that there had been a
    18        responsibilities and their location.         18   culture change in the DEA related to the
    19   BY MR. CARTMELL:                                  19   enforcement of opioid diversion?
    20        Q. Okay. As far as your DEA                  20           MR. HAMMOUD: Object to the form.
    21   compliance group, is it true that those 16        21           THE WITNESS: I don't remember
    22   employees were located in lots of different       22        specific conversations about a culture
    23   locations?                                        23        change, although, you know, I can say
    24        A. In different locations, yes.              24        from my own experience that I believe

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     1        that it seemed like there was.                1   three to five years to obtain competency.
     2   BY MR. CARTMELL:                                   2            Do you see that?
     3        Q. Okay. So the fact that this                3         A. Yes.
     4   PowerPoint presentation that's being given in      4         Q. What does that mean?
     5   March of 2014 mentions a DEA culture change,       5         A. I couldn't say because I --
     6   that was consistent with your feeling about        6            MR. HAMMOUD: Object to the form.
     7   that time. Is that fair?                           7            THE WITNESS: I didn't write it.
     8        A. That's a fair assessment.                  8   BY MR. CARTMELL:
     9        Q. And was that feeling that you had          9         Q. Okay. Who gave this; do you know?
    10   that the DEA -- the culture within the DEA was    10         A. Don't know. Like I said, I think
    11   changing and they were increasing or ramping up   11   it's a draft.
    12   their enforcement, was that a feeling             12         Q. Are you guessing that this was a
    13   particularly related to manufacturers like        13   PowerPoint presentation that was ultimately
    14   Teva?                                             14   given by Colleen McGinn?
    15           MR. HAMMOUD: Object to the form,          15         A. It may have been.
    16        lacks foundation.                            16         Q. Okay. And then it talks about an
    17           THE WITNESS: That's hard to say           17   investment in developing staff and that
    18        from, you know -- you know, what we may      18   retention is critical.
    19        have thought their focus was. I              19            Was it the company's focus at that
    20        couldn't say one way or another.             20   time to try to hire more DEA compliance
    21   BY MR. CARTMELL:                                  21   employees because there was a change in culture
    22        Q. At any rate, it states here that          22   at the DEA and they were enforcing more
    23   there was an increase in regulatory actions.      23   actions?
    24           Do you see that?                          24            MR. HAMMOUD: Object to the form,
                                                Page 211                                              Page 213
     1        A. Yes.                                       1        calls for speculation.
     2        Q. And it mentions that there were            2           THE WITNESS: Yeah, and I don't
     3   record-setting fines by the DEA in 2013.           3        remember any discussion about that.
     4           Do you see that?                           4   BY MR. CARTMELL:
     5        A. Yes.                                       5        Q. Okay. Once you became employed in
     6        Q. And that's consistent with your            6   early 2014 by Teva as the manager of the
     7   memory?                                            7   suspicious order monitoring program, did you
     8        A. Yes.                                       8   learn how many customers it was that Teva had
     9        Q. In other words, around this time in        9   ordering opioid narcotics?
    10   2013, the DEA was fining, as sort of a            10        A. Well, ordering controlled
    11   sanction, companies like manufacturers and        11   substances.
    12   sellers and distributors of opioids, correct?     12        Q. How many, approximately, customers
    13        A. Correct.                                  13   did Teva have at that time?
    14        Q. And they were doing that at a             14        A. In terms of ship-to locations,
    15   record-setting pace, correct?                     15   which would be individual registrant
    16        A. What it seemed, yes.                      16   locations -- so like, for example, if I'm
    17        Q. Okay. And then there was also             17   saying AmerisourceBergen -- I'm not saying
    18   actions being taken by the DEA to revoke the      18   AmerisourceBergen is one, but it's going to
    19   registrations, as is indicated here, correct?     19   be -- each of their distribution centers is
    20        A. Yes.                                      20   going to be separate. It was around 200
    21        Q. Okay. The next page talks about           21   locations.
    22   DEA compliance, and it states that expertise      22        Q. So 200 as you would classify as
    23   related to DEA compliance is only gained          23   customers, approximately, at that time?
    24   through experience, and it typically takes        24           MR. HAMMOUD: Object to the form.

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     1           THE WITNESS: And again, not                1        controlled substances.
     2        customers but locations where we would        2   BY MR. CARTMELL:
     3        ship, registrants.                            3        Q. I understand. But when I talk
     4   BY MR. CARTMELL:                                   4   about the sale and distribution of opioids, I'm
     5        Q. I understand. But are you talking          5   talking about the opioids that we're referring
     6   about 200 separate locations that orders would     6   to in this case. And I just want to make sure
     7   come in from, approximately?                       7   you understand that.
     8        A. Correct, correct.                          8        A. Okay. And I just want it to be
     9        Q. And when you started at Teva as the        9   clear that when I talk about suspicious order
    10   manager of the suspicious order monitoring        10   monitoring, I'm not talking strictly about
    11   program, approximately how many orders would      11   opioids; I'm talking about all controlled
    12   Teva receive for these opioid narcotic drugs on   12   substances.
    13   a monthly basis; do you know?                     13        Q. I understand.
    14        A. Offhand, I don't know.                    14        A. And certain noncontrolleds.
    15        Q. Do you have any idea?                     15        Q. Okay. So you come to Teva with
    16        A. Oh, I couldn't speculate.                 16   this experience of actually working in a system
    17        Q. We may look at some documents that        17   that had been set up to satisfy the Controlled
    18   talk about that later.                            18   Substances Act as far as a suspicious order
    19           Okay. So let's go back in time and        19   monitoring program, correct?
    20   put this in perspective. But January of 2014,     20            MR. HAMMOUD: Object to the form,
    21   you come to Teva with experience, having been a   21        calls for a legal conclusion.
    22   manager of suspicious order monitoring and        22            THE WITNESS: Correct.
    23   diversion control of opioids from your days at    23   BY MR. CARTMELL:
    24   AmerisourceBergen, correct?                       24        Q. And when you got to Teva, I take it
                                               Page 215                                               Page 217
     1        A. Correct.                                   1   you had to become familiar with whether or not
     2            MR. HAMMOUD: Object to the form.          2   they had a suspicious order monitoring program
     3   BY MR. CARTMELL:                                   3   already in place, correct?
     4        Q. And as a part of that, I think you         4        A. No. I had to work -- because there
     5   mentioned previously in your testimony earlier     5   was a suspicious order monitoring program in
     6   that there was a program at AmerisourceBergen      6   place, but one of the things that I was tasked
     7   that was in place to try to identify suspicious    7   with in coming in was improving the system.
     8   orders of opioids, correct?                        8        Q. Okay. Let me follow up on that.
     9        A. Controlled substances.                     9        A. Yeah.
    10        Q. Including opioids, correct?               10        Q. Is it fair to say then, when you
    11        A. Correct, correct.                         11   were being recruited by Teva and interviewing
    12        Q. And you understand in this case           12   with them, the individuals that you talked to,
    13   we're just talking about Class II opioids?        13   including Colleen McGinn, told you that they
    14        A. What do you mean, in this case?           14   were going to bring you in as someone with
    15            MR. HAMMOUD: Object to the form.         15   expertise related to suspicious order
    16   BY MR. CARTMELL:                                  16   monitoring?
    17        Q. Did you have an understanding that        17        A. Yes.
    18   in this lawsuit, in this case against Teva,       18        Q. Okay. And that they were going to
    19   that we are focusing on or the subject of that    19   bring you to Teva as -- with that expertise in
    20   is the sales and marketing and distribution of    20   hopes that you could help them improve their
    21   Class II opioids?                                 21   suspicious order monitoring program?
    22            MR. HAMMOUD: Object to the form.         22        A. Yes.
    23            THE WITNESS: I've heard that. But        23        Q. Okay. And make it more robust, for
    24        from my perspective, I look at all           24   example?

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     1        A. Well, that would be an improvement.        1   to come in and to make changes to their
     2           MR. HAMMOUD: Object to the form.           2   suspicious order monitoring program, correct?
     3   BY MR. CARTMELL:                                   3         A. Correct.
     4        Q. One way to say that's an                   4         Q. Okay. And over the next year and a
     5   improvement, correct?                              5   half when you came over and became the manager
     6        A. Yeah. Yeah, that's a fair                  6   of the suspicious order monitoring program,
     7   assessment.                                        7   you, in fact, did make multiple changes to the
     8        Q. Okay. And with the hopes that you          8   program, correct?
     9   could bring your expertise from your work at       9         A. Correct.
    10   AmerisourceBergen to not only improve the         10         Q. All changes that you thought made
    11   program but to make sure that it was in           11   the program better, correct?
    12   compliance with the DEA, fair?                    12         A. Correct.
    13        A. Well, that's a -- sort of a root          13         Q. And more in compliance with the
    14   function of it, yes.                              14   DEA, correct?
    15        Q. So yes, right?                            15             MR. HAMMOUD: Objection, calls for
    16        A. Yes, to ensure compliance.                16         a legal conclusion.
    17        Q. Okay. And so when you got there,          17             THE WITNESS: No, no, that's not a
    18   though, you said there was a program.             18         fair assessment.
    19   Obviously you had to do your investigation to     19   BY MR. CARTMELL:
    20   determine, for example, what Teva had been        20         Q. Okay. Well, let me -- let me --
    21   doing with respect to suspicious order            21   let's go through this and we'll talk about
    22   monitoring, for example, as far as due            22   that.
    23   diligence, for example, correct?                  23             When you were at AmerisourceBergen,
    24        A. Correct.                                  24   were you involved there in drafting their
                                               Page 219                                               Page 221
     1       Q. You had to determine how and when           1   standard operating procedures for their
     2   or whether they were actually identifying          2   suspicious order monitoring program?
     3   suspicious orders of opioids from their            3        A. No.
     4   customers, correct?                                4        Q. Okay. They existed, it's just that
     5          MR. HAMMOUD: Object to the form.            5   you were not involved in drafting those, fair?
     6          THE WITNESS: Well, yeah, and I              6        A. Correct.
     7       don't think that that's a fair                 7        Q. And those were standard operating
     8       assessment because the -- because they         8   procedures that governed the actual suspicious
     9       did have a system to help -- sorry, I          9   order monitoring program, correct?
    10       stutter. They did have a system in            10        A. I would like to say that they
    11       order to detect suspicious orders of          11   describe the process.
    12       controlled substances. So it -- and the       12        Q. Okay. But they were --
    13       idea was that it was going to be              13        A. Not necessarily govern but describe
    14       replaced with something new. And there        14   the process.
    15       were other programs that were looked at,      15        Q. I understand. If somebody were to
    16       commercial programs, but when I came in,      16   ask AmerisourceBergen, did you have standard
    17       I decided that we should go with a            17   operating procedures that would tell how the
    18       program of my own design.                     18   process worked or how it was supposed to work,
    19   BY MR. CARTMELL:                                  19   there were those policies in effect, correct?
    20       Q. Great. I'll follow up on that              20        A. I would say that's fair, yes.
    21   then. That's a lot of information. But let me     21        Q. Okay. You mentioned previously
    22   know if I'm correct in this statement, based on   22   that you were also involved in the due
    23   my review of the documents.                       23   diligence that was being done at
    24          When you were hired, you were asked        24   AmerisourceBergen when they were trying to

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     1   identify whether or not orders that came into      1   example, on new clients?
     2   AmerisourceBergen for opioids were potentially     2        A. Yes.
     3   suspicious, correct?                               3        Q. And also would include due
     4        A. I got lost in the question. Sorry.         4   diligence once you have pended orders that
     5        Q. Let me start over. You've also             5   potentially are suspicious, due diligence to
     6   testified earlier that you were involved in due    6   determine whether or not those orders are, in
     7   diligence at AmerisourceBergen related to          7   fact, suspicious, correct?
     8   whether or not certain orders that                 8           MR. HAMMOUD: Object to the form.
     9   AmerisourceBergen would receive were               9           THE WITNESS: And again, I wouldn't
    10   suspicious, correct?                              10        call it due diligence. I would call it
    11        A. Well, due diligence implies               11        an investigation.
    12   customer due diligence. So as far as due          12   BY MR. CARTMELL:
    13   diligence in reviewing a suspicious order, I      13        Q. Okay. I see. But all of those
    14   just want to clarify that that language isn't     14   things you were doing at AmerisourceBergen
    15   typically used in the review of an order that     15   before you came over to Teva, correct?
    16   is held for manual investigation. There may be    16           MR. HAMMOUD: Object to the form.
    17   due diligence performed as part of an             17           THE WITNESS: Correct.
    18   investigation, but not necessarily.               18   BY MR. CARTMELL:
    19        Q. My fault. Let me try to clarify           19        Q. Okay. I saw your deposition
    20   that. A suspicious order monitoring program       20   previously in the West Virginia Attorney
    21   has lots of different facets to the program,      21   General case against AmerisourceBergen and I
    22   correct?                                          22   believe you testified that you had experience
    23        A. Correct.                                  23   before you came to Teva from AmerisourceBergen
    24        Q. In other words, one that is               24   with reporting suspicious orders of opioids to
                                               Page 223                                               Page 225
     1   effective and one that you believe is              1   the DEA, correct?
     2   appropriate, correct?                              2        A. That is correct.
     3        A. One?                                       3        Q. In other words, while you were at
     4           MR. HAMMOUD: Object to the form.           4   AmerisourceBergen, I think you testified in
     5   BY MR. CARTMELL:                                   5   your deposition that you had been involved in
     6        Q. Let me strike it. A program that           6   investigating and reporting hundreds of
     7   you believe -- for suspicious order monitoring     7   suspicious orders per month to the DEA,
     8   that you believe is appropriate and in             8   correct?
     9   compliance with the DEA has multiple facets to     9        A. Correct.
    10   the program, correct?                             10        Q. So fair to say, and I just want to
    11           MR. HAMMOUD: Object to the form,          11   make it clear, prior to coming to Teva, you
    12        calls for a legal conclusion.                12   had, as the manager and investigator over the
    13           THE WITNESS: It could be a fair           13   years at that company, been involved in
    14        assessment.                                  14   reporting hundreds of suspicious orders to the
    15   BY MR. CARTMELL:                                  15   DEA, fair?
    16        Q. Okay. In other words, it's not            16        A. That is correct.
    17   just the new orders coming in, going through a    17        Q. Okay. And I take it you also had
    18   program on the computer, an algorithm, that's     18   experience from your time as manager at
    19   not the only facet or part of the program,        19   AmerisourceBergen or investigator there with
    20   correct?                                          20   actually finding suspicious orders for opioids
    21        A. That is correct.                          21   from customers and actually stopping the
    22        Q. Another facet of an appropriate           22   shipment of those opioid narcotic drugs. Is
    23   DEA-compliant suspicious order monitoring         23   that fair?
    24   program would include due diligence, for          24            MR. HAMMOUD: Object to the form.

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     1           THE WITNESS: Well, if something            1            When you arrived at Teva in 2014 as
     2        was identified as suspicious, the order       2   the new manager of the standard -- or excuse
     3        should be stopped.                            3   me -- the suspicious order monitoring program,
     4   BY MR. CARTMELL:                                   4   is it true that there were no formal standard
     5        Q. And that's the policy, right?              5   operating procedures for the program in place?
     6        A. Correct.                                   6         A. I would say -- I wouldn't say
     7        Q. Or was?                                    7   formal. I would say there were no written.
     8        A. Correct, correct.                          8         Q. Okay. Were you surprised?
     9        Q. Now, let's talk about Teva's               9         A. No.
    10   suspicious order monitoring program. Would you    10         Q. Had you ever worked anyplace before
    11   agree with me that before you showed up to Teva   11   that had a suspicious order monitoring program
    12   in 2014, Teva was substantially out of            12   that didn't have formal written standard
    13   compliance when it came to monitoring and         13   policies?
    14   reporting suspicious orders from customers of     14         A. Well, I only worked with suspicious
    15   high-risk opioid narcotics?                       15   order monitoring at two places.
    16           MR. HAMMOUD: Object to the form,          16         Q. And the place you had worked
    17        calls for a legal conclusion.                17   before, as we discussed, had those, correct?
    18           THE WITNESS: And that would be no.        18         A. Right.
    19   BY MR. CARTMELL:                                  19         Q. And would you agree with me that if
    20        Q. Okay. Let's talk about -- strike          20   an audit had been done of Teva when you arrived
    21   that.                                             21   to audit the suspicious order monitoring
    22           Would you agree with me that the          22   program that there would have been a finding of
    23   suspicious order monitoring program at Teva,      23   out of compliance by Teva without standard
    24   when you started as the manager in 2014, was      24   operating procedures for the suspicious order
                                                Page 227                                               Page 229
     1   deficient in some respects?                        1   monitoring program?
     2           MR. HAMMOUD: Object to the form,           2           MR. HAMMOUD: Objection to the
     3        calls for a legal conclusion.                 3        form. Calls for a legal conclusion.
     4           THE WITNESS: I would say no.               4           THE WITNESS: Well, in terms of
     5   BY MR. CARTMELL:                                   5        that question, that would be
     6        Q. You talked about making                    6        speculation, and I would say probably.
     7   improvements to the program and changes to the     7   BY MR. CARTMELL:
     8   program.                                           8        Q. Okay. Just so it's clear, you
     9           When you arrived at Teva in 2014 as        9   agree with me that when you arrived when there
    10   the new manager of the suspicious order           10   were no standard operating procedures in the
    11   monitoring program, were there any standardized   11   suspicious order monitoring program at Teva,
    12   or standard operating procedures for the          12   your belief would have been that if an audit
    13   program in effect?                                13   would have been done by the DEA, the company
    14        A. There were procedures, just not           14   would have been found to be noncompliant at
    15   written.                                          15   that point. Fair?
    16        Q. Let me see if I understand you.           16           MR. HAMMOUD: Same objection.
    17   There were oral understandings of ways that the   17           THE WITNESS: No. No, I wouldn't
    18   program would work, but there was nothing in      18        say that that's fair.
    19   writing?                                          19   BY MR. CARTMELL:
    20        A. There was -- there were no formal         20        Q. "Out of compliance," didn't you
    21   standard operating procedures.                    21   just say that?
    22        Q. Okay. So let me restate the               22        A. No, I didn't say "out of
    23   question just to make sure for the record we're   23   compliance."
    24   clear.                                            24        Q. Okay.

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     1            MR. HAMMOUD: Objection.                   1        Q. Go ahead.
     2        Mischaracterizes the prior testimony.         2        A. Because I felt that the process
     3   BY MR. CARTMELL:                                   3   should be written down.
     4        Q. Mr. Tomkiewicz, I just asked you a         4        Q. Okay. Why is that the most prudent
     5   question: Would you agree with me that if an       5   way to go with respect to the procedures for a
     6   audit had been done of Teva when you arrived to    6   suspicious order monitoring program?
     7   audit the suspicious order monitoring program,     7           MR. HAMMOUD: Objection to the
     8   that there would have been a finding of out of     8        form.
     9   compliance by Teva without standard operating      9           THE WITNESS: Yeah, I don't think
    10   procedures for the suspicious order monitoring    10        that that's limited to a suspicious
    11   program?                                          11        order monitoring program. If you have a
    12            There was an objection, and your         12        formal procedure in something, you
    13   answer was: Well, in terms of that question,      13        should write it down.
    14   that would be speculation, and I would say        14   BY MR. CARTMELL:
    15   probably.                                         15        Q. Is that so that the people who are
    16            Correct? Was that your testimony         16   responsible and have duties to work within that
    17   at that time?                                     17   program have a place where they can go and know
    18        A. So I didn't say that it was out of        18   for certain what is supposed to transpire, what
    19   compliance. I said it could be considered         19   their duties are?
    20   probably.                                         20        A. That's not been my experience.
    21        Q. In other words, rather than saying        21           MR. FAES: This is
    22   for certain that it would have been out of        22        TEVA_MDL_A_02923616.
    23   compliance, your belief is that it probably       23           MR. HAMMOUD: Just for the record,
    24   would have been considered out of compliance?     24        was that marked confidential as of the
                                               Page 231                                               Page 233
     1            MR. HAMMOUD: Objection. Calls for         1       produced slip sheet, or was it --
     2        a legal conclusion.                           2           MR. FAES: I'd have to check on
     3            THE WITNESS: It could have been.          3       that.
     4        It could have been.                           4           (Exhibit Teva-Tomkiewicz-005 marked
     5   BY MR. CARTMELL:                                   5       for identification and attached to the
     6        Q. Actually, you said "probably,"             6       transcript.)
     7   correct?                                           7   BY MR. CARTMELL:
     8        A. Let me clarify that to "could have         8       Q. Mr. Tomkiewicz, I've handed you
     9   been."                                             9   what's been marked as Exhibit 5. And so you
    10        Q. Okay. At any rate, when you showed        10   know, this is a PowerPoint presentation that
    11   up to Teva, one of the first things that you      11   was produced to us in this litigation by Teva,
    12   decided needed to be done to improve the          12   and it actually comes from your files.
    13   suspicious order monitoring program at Teva as    13           Do you recognize this?
    14   a manager of that program was to draft and        14       A. Yes.
    15   develop written standardized operating            15       Q. I want to ask you a few questions
    16   procedures for the program, correct?              16   about this. But as you see, the title of your
    17        A. Written standardized procedures,          17   presentation is Suspicious Order Monitoring,
    18   yes.                                              18   correct?
    19        Q. Okay. And why was it that you             19       A. Correct.
    20   thought those standardized operating procedures   20       Q. And the date of this is in 2014.
    21   were necessary?                                   21           Do you see that?
    22            MR. HAMMOUD: Objection.                  22       A. Yes.
    23        Mischaracterizes his prior testimony.        23       Q. Is your belief or memory that
    24   BY MR. CARTMELL:                                  24   shortly after you became the manager of the

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     1   department related to suspicious order             1   there's a couple pharmacies as well -- who are
     2   monitoring of opioids or Class II narcotics        2   distributors of opioid medications; is that
     3   that you gave this presentation?                   3   right?
     4        A. Yes.                                       4        A. Correct. And other medication,
     5           MR. HAMMOUD: Object to the form.           5   yes.
     6   BY MR. CARTMELL:                                   6        Q. Okay. And when you said, "What
     7        Q. Okay. And did you give this                7   Happens If You Screw Up," what did you mean?
     8   presentation to the entire department, all 16      8        A. I talked about that -- fines that
     9   of the individuals -- or 15 others in the          9   these companies had been paying and actions
    10   department?                                       10   taken against them.
    11        A. Yeah, that is correct --                  11        Q. And was -- were the fines and
    12        Q. Okay.                                     12   actions taken against them fines that were put
    13        A. -- as well as customer service --         13   in place and actions taken by the Drug
    14        Q. Okay.                                     14   Enforcement Administration?
    15        A. -- a number of customer service           15        A. That is correct.
    16   people.                                           16        Q. Okay. And the claims being that
    17        Q. Now, customer service, we'll talk         17   these organizations, including
    18   about this more a little bit later, but the       18   AmerisourceBergen, had violated the Controlled
    19   customer service department is separate from      19   Substance Act in some way?
    20   the DEA compliance department; is that correct?   20            MR. NICHOLAS: Object to the form.
    21        A. Correct.                                  21            THE WITNESS: And that had a
    22        Q. Okay. And is the customer service         22        settlement, although AmerisourceBergen
    23   department made up of individuals who are in      23        did not have a settlement.
    24   sales?                                            24   BY MR. CARTMELL:
                                               Page 235                                               Page 237
     1         A. I don't know how they're actually         1       Q. I understand.
     2   structured, you know, what part of sales or if     2          But the claim was that there had
     3   they're considered sales. I don't know that.       3   been violations of the Controlled Substance
     4         Q. But I take it you do know that            4   Act by these --
     5   customer service representatives are the ones      5          MR. NICHOLAS: Object to the form.
     6   who typically will have contact related to         6          MR. HAMMOUD: Object to the form.
     7   orders and sales of the medications. Is that       7          THE WITNESS: No.
     8   fair?                                              8          MR. CARTMELL: Can I -- just let
     9         A. That is fair, yes.                        9       me --
    10         Q. Okay. You're just saying you don't       10          MR. NICHOLAS: Sorry.
    11   know whether or not their department              11   BY MR. CARTMELL:
    12   specifically falls under sales or marketing or    12       Q. -- the claims in these actions that
    13   whatever department, correct?                     13   the Drug Enforcement Administration had brought
    14         A. That is correct. That is correct.        14   were that there were violations of the
    15         Q. All right. So if you look at your        15   Controlled Substances Act?
    16   presentation, I want to ask you a few questions   16          MR. NICHOLAS: Object to the form.
    17   about this.                                       17          THE WITNESS: All I can speak to is
    18            And if you'd go to page 4, the           18       the amount of settlement, the amount of
    19   title of this slide is What Happens If You        19       fines that four of these had paid.
    20   Screw Up?                                         20   BY MR. CARTMELL:
    21            Do you see that?
    22         A. Yes.
    23         Q. And then on this, I guess there are
    24   the names of lots -- or several distributors --

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                                                22        Q. Okay. Now, if you turn to page 37,
                                                23   this slide is titled What's Next? and asks the
                                                24   question, What does the future hold?
                                     Page 239                                                 Page 241
                                                 1            Do you see that?
                                                 2        A. Yes.
                                                 3        Q. And you created this slide?
                                                 4        A. Mm-hmm.
                                                 5        Q. Incidentally, this presentation
                                                 6   that you created was in the course and scope of
                                                 7   your employment at Teva, correct?
                                                 8        A. Yes.
                                                 9        Q. Okay. And you maintained it in
                                                10   your files for that purpose; is that fair?
                                                11        A. Well, yeah.
                                                12        Q. Okay. You say, What does the
                                                13   future hold? And the first thing you mention
                                                14   here is, SOPs, or standard operating
                                                15   procedures, correct?
                                                16        A. Yes.
                                                17        Q. That's what we talked about, is
                                                18   when you came in, because the system or the
                                                19   process at Teva at that time didn't have any
                                                20   written standard operating procedures, one of
                                                21   the first things you intended to do was put
                                                22   those it would effect in writing, correct?
                                                23        A. To write them.
                                                24        Q. Okay. And, in fact, I think you

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     1   did that --                                       1        through Teva-Tomkiewicz-008 marked for
     2        A. Because there were already                2        identification and attached to the
     3   procedures in effect, just not written down.      3        transcript.)
     4        Q. Right. There was nowhere where            4   BY MR. CARTMELL:
     5   somebody could go and see written standard        5        Q. I'm going to hand you what's been
     6   operating procedures related to what needed to    6   marked as Exhibit 6 and 7 and 8. And I really
     7   be done in that program, correct?                 7   don't have any questions for you at this time
     8            MR. HAMMOUD: Object to the form.         8   about these policies.
     9            THE WITNESS: Well, written --            9            And we'll show the jury, for
    10        there were no written SOPs.                 10   example, policy 8277, which is the policy
    11   BY MR. CARTMELL:                                 11   titled Suspicious Order Monitoring - DEA Order
    12        Q. Okay. And, in fact, I'm going to         12   Holds.
    13   hand you --                                      13            Do you see that?
    14            In fact, actually, you were             14        A. Yes.
    15   involved thereafter or shortly thereafter in     15        Q. And this was one of the policies
    16   helping to write those; is that right?           16   that you helped draft; is that right?
    17        A. Yes, that is correct.                    17        A. Right.
    18        Q. And I think the records reflect --       18        Q. If you go to the last page, this
    19   and I'll hand you those -- that in August of     19   one that we found in your documents is
    20   2014, those standard operating procedures that   20   unsigned. But is your memory that, in fact,
    21   applied to the suspicious order monitoring       21   this -- oh, I'm sorry. Let's go to the last
    22   program were put into effect. Is that            22   page. Strike that.
    23   consistent with your memory?                     23            And, in fact, if you look at page 7
    24            MR. HAMMOUD: Object to the form.        24   of 8, there is a signature here that this
                                               Page 243                                              Page 245
     1            THE WITNESS: Well, the written           1   policy was put into effect. Is that Colleen
     2        formal procedures were introduced into       2   McGinn's signature?
     3        the system. Those were descriptions of       3        A. Yes.
     4        the process that was already in place.       4        Q. And the date of the policy being
     5            MR. CARTMELL: Object and move to         5   effective is August 1st, 2014; is that right?
     6        strike the last part of your answer.         6        A. Correct.
     7   BY MR. CARTMELL:                                  7        Q. Okay. We don't need to go through
     8        Q. If you can, just answer my question       8   all of these policies, but just for the record,
     9   for the record.                                   9   is that your understanding, that those policies
    10            And, in fact, in August of 2014, at     10   were all put into effect at that time?
    11   that time, for the first time, formal written    11            MR. HAMMOUD: Object to the form.
    12   standard operating policies for the suspicious   12            THE WITNESS: Formalized into
    13   order monitoring system were put into effect,    13        effect.
    14   correct?                                         14            (Exhibits Teva-Tomkiewicz-009 and
    15            MR. HAMMOUD: Object to the form.        15        Teva-Tomkiewicz-010 marked for
    16   BY MR. CARTMELL:                                 16        identification and attached to the
    17        Q. Is that correct?                         17        transcript.)
    18        A. I would say written procedures were      18   BY MR. CARTMELL:
    19   put into place.                                  19        Q. I'm also going to hand you exhibits
    20        Q. Okay.                                    20   9 and 10, which are also suspicious order
    21        A. Not the procedures were put into         21   monitoring standard operating procedures.
    22   place. Just that the formal were entered into    22            Do you see that?
    23   the system.                                      23            And you were also involved in
    24            (Exhibits Teva-Tomkiewicz-006           24   writing those and putting those into effect in

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     1   August of 2014, correct?                           1             THE WITNESS: That I could do
     2        A. Yes, that is correct.                      2         something better.
     3        Q. So is it fair to say, sir, that            3   BY MR. CARTMELL:
     4   Teva had a suspicious order monitoring program     4         Q. Okay. And before we talk about
     5   since before you were there for several years      5   that system that you put in place, the SORDS
     6   but never had written standard operating           6   system that was in place at Teva when you
     7   procedures for that program?                       7   arrived, was that a system that Teva actually
     8        A. I would say that's a fair                  8   designed and developed; do you know?
     9   assessment.                                        9         A. That's my understanding.
    10        Q. Another part or facet to the              10         Q. Okay. And the only reason I ask
    11   suspicious order monitoring program that you      11   is, there was a merger -- or an acquisition, I
    12   had at AmerisourceBergen was a computer           12   think, is a better way to say it, of Teva --
    13   algorithm; is that correct?                       13   Teva acquired a company called Cephalon. Are
    14        A. Yes.                                      14   you familiar with that?
    15        Q. And when you got to Teva, did Teva        15         A. Yes.
    16   also have a computer algorithm to aid in the      16         Q. Okay. Do you know whether or not
    17   process of identifying potentially suspicious     17   Teva was the company who designed or developed
    18   orders for opioids?                               18   the SORDS computer algorithm to identify
    19        A. Yes.                                      19   suspicious orders for opioids or whether
    20        Q. Now, I think, from my review of the       20   Cephalon did that?
    21   documents, the computer algorithm that was in     21             MR. HAMMOUD: Object to the form.
    22   place when you showed up to Teva in 2014 was      22             THE WITNESS: I'm not certain when
    23   called the SORDS system. Is that right?           23         it was done, whether it was before or
    24        A. Yes.                                      24         after the acquisition of Cephalon,
                                               Page 247                                              Page 249
     1        Q. And that's all capitals S-O-R-D-S;         1        because that was before my time.
     2   is that right?                                     2   BY MR. CARTMELL:
     3        A. Yes.                                       3        Q. Okay. So you're not certain
     4        Q. And I think -- is it true that that        4   whether that was Cephalon's program or Teva's
     5   stands for Suspicious ORDerS?                      5   program?
     6        A. That was my understanding.                 6        A. I'm not certain.
     7        Q. Okay. And you've mentioned this            7        Q. Okay. And do you have any idea how
     8   previously, but part of when -- strike that.       8   long that system had been in effect prior to
     9            When you were hired, one of the           9   the time you arrived?
    10   things you discussed doing to improve Teva's      10        A. No.
    11   suspicious order monitoring program was           11        Q. Once you -- strike that.
    12   updating the computer algorithm that would        12           Tell us what the SORDS system did
    13   assist with identifying potentially suspicious    13   or what that system was designed to do --
    14   orders, correct?                                  14           MR. HAMMOUD: Object to the form.
    15        A. That is correct.                          15   BY MR. CARTMELL:
    16        Q. Okay. I take it you felt like it          16        Q. -- the one that was in effect when
    17   was outdated at that time.                        17   you arrived.
    18            MR. HAMMOUD: Object to the form.         18        A. Well, it was designed to assist in
    19            THE WITNESS: No.                         19   detecting suspicious orders.
    20   BY MR. CARTMELL:                                  20        Q. Okay. And how would that system
    21        Q. At any rate, you thought that there       21   work?
    22   was an improved algorithm that you could put in   22        A. The system worked on a -- looked at
    23   place that would be better. Fair enough?          23   a customer's history and did a certain
    24            MR. HAMMOUD: Object to the form.         24   calculation based on the customer's history to

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     1   flag an order for additional investigation.        1        Cegedim Teva SOM Review, I believe.
     2        Q. Okay. After you arrived in 2014 at         2   BY MR. CARTMELL:
     3   Teva, did you come to know that, actually, Teva    3        Q. Okay. So at any rate, it looks
     4   had hired an outside consultant to do an           4   like, from this e-mail, that as part of the
     5   evaluation or assessment of their suspicious       5   attachments to this e-mail in Exhibit 11 was
     6   order monitoring program?                          6   the report which is sometimes referred to as
     7        A. Yes.                                       7   the Buzzeo report; is that right?
     8           MR. HAMMOUD: Object to the form.           8            MR. HAMMOUD: Object to the form.
     9        Lacks foundation.                             9            THE WITNESS: I can't recall
    10           THE WITNESS: Yes.                         10        references to a Buzzeo report, so I --
    11   BY MR. CARTMELL:                                  11        but I've seen this, yes, obviously.
    12        Q. How was it that you learned that?         12   BY MR. CARTMELL:
    13        A. I was told during my interview that       13        Q. Okay. I believe that this report
    14   this group was brought in.                        14   that is signed by Ronald Buzzeo was in your
    15           (Exhibits Teva-Tomkiewicz-011 and         15   custodial file that was produced to us in this
    16        Teva-Tomkiewicz-012 marked for               16   litigation. Is that consistent with your
    17        identification and attached to the           17   understanding?
    18        transcript.)                                 18        A. Oh, yes. I'm certain that, yeah, I
    19   BY MR. CARTMELL:                                  19   have this filed.
    20        Q. I'm handing you, sir, Exhibits 11         20        Q. Okay. And was your understanding
    21   and 12, and I will represent to you that these    21   that Teva hired Mr. Buzzeo and others to check
    22   were documents that were produced to the          22   into their suspicious order monitoring program
    23   plaintiffs in this litigation by Teva from        23   in 2012?
    24   their internal files. Okay?                       24        A. Yes.
                                               Page 251                                               Page 253
     1           And the first document, which is           1           MR. HAMMOUD: Object to the form.
     2   Exhibit -- is it 12?                               2        Lacks foundation.
     3         A. 12, yes.                                  3   BY MR. CARTMELL:
     4         Q. I'm sorry. The first document I           4        Q. You can answer.
     5   want to ask you about is Exhibit 11.               5        A. So yes, yes.
     6         A. Oh, okay.                                 6        Q. And at that time, is it true that
     7         Q. Exhibit 11 is a e-mail from Matthew       7   one of the things that Ronald Buzzeo and his
     8   Benkert to you. Do you see that?                   8   team from --
     9         A. Yes.                                      9           Is it Cegedim?
    10         Q. And this is in 2014?                     10        A. Cegedim.
    11         A. Correct.                                 11        Q. Is Cegedim a consulting company?
    12         Q. And it states that the attachment        12        A. Yes. They're part of IMS/IQVIA
    13   is --                                             13   now.
    14           Well, there's several, I believe,         14        Q. Okay. And one of the things that
    15   attachments. Do you see that?                     15   they were asked to consult with Teva about was
    16         A. Yes.                                     16   the adequacy of their suspicious order
    17         Q. Do you know if one of the                17   monitoring program, correct?
    18   attachments to this was the report from the       18        A. Well, looking for improvements.
    19   outside consultant who Teva hired to do an        19        Q. And to give recommendations about
    20   assessment of their suspicious order monitoring   20   areas that they thought needed improvements,
    21   program?                                          21   fair?
    22           MR. HAMMOUD: Object to the form.          22        A. And sell their system.
    23           THE WITNESS: And I believe it's --        23        Q. Pardon me?
    24         Exhibit 12 is one of these listed as        24        A. And sell their system.

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     1        Q. Okay. Are you familiar with              1   opening new accounts and pending orders
     2   Mr. Buzzeo?                                      2   pursuant to calculations performed by a
     3        A. Yes. I've met him several times.         3   computer program known as SORDS, Suspicious
     4        Q. Okay. And he has expertise related       4   ORDerS.
     5   to suspicious order monitoring systems,          5           Do you see that?
     6   correct?                                         6        A. Yes.
     7           MR. HAMMOUD: Object to the form.         7        Q. And we were talking about that
     8           THE WITNESS: I would agree to            8   computer program that Teva was using when you
     9        that.                                       9   came as the manager of the department or
    10   BY MR. CARTMELL:                                10   suspicious order monitoring manager at that
    11        Q. And, in fact, he's a frequent           11   time, correct?
    12   speaker on diversion control and suspicious     12        A. Well, in this -- and I wasn't sure
    13   order monitoring programs; is that right?       13   what the date was, but it talked about the
    14        A. Yes.                                    14   SORDS 2 improvement that was done, which was
    15        Q. Okay. Have you been to his              15   done sometime after this.
    16   programs that he speaks at?                     16        Q. And we'll talk about that.
    17        A. I've been to a couple, yes.             17        A. Yeah.
    18        Q. I want to ask you some questions        18        Q. First, let me ask you -- we'll get
    19   about this. This is dated September 25th,       19   there.
    20   2012. And it's a letter from Mr. Buzzeo, the    20        A. Yeah.
    21   consultant, to Colleen McGinn; is that right?   21        Q. Let me ask you this question. One
    22        A. Yes.                                    22   of the things that the outside expert
    23        Q. If you'd go to the --                   23   consultant, Ronald Buzzeo, looked at in Teva's
    24        A. Well, actually, I'd like to read        24   suspicious order monitoring program was the
                                              Page 255                                              Page 257
     1   through it to refamiliarize myself with it       1   computer program SORDS, I and II, correct?
     2   because it's been a few years since I've read    2        A. Correct.
     3   it.                                              3        Q. Okay. And if you turn to page 3 of
     4        Q. Okay.                                    4   the report, the outside expert consultant,
     5        A. (Reviewing documents.)                   5   Mr. Buzzeo, entered a finding or provided a
     6        Q. I'm not going to ask you anything        6   finding to them.
     7   about the last couple of pages.                  7           It states, As noted previously,
     8        A. Okay. I'm almost done.                   8   Teva uses a computer model known as Suspicious
     9            (Reviewing documents.)                  9   ORDerS, SORDS, to evaluate customer orders
    10            I think I'm good.                      10   electronically for suspicious order
    11        Q. Mr. Tomkiewicz, Exhibit 12, as we       11   characteristics.
    12   stated, is from September of 2012, and it's a   12           Do you see that?
    13   letter from the outside consultant, Ronald      13        A. Yes.
    14   Buzzeo, to the director of the DEA compliance   14        Q. Okay. And you now know, based on
    15   department and your boss, Colleen McGinn,       15   your review of this document, that the outside
    16   correct?                                        16   expert consultant found multiple deficiencies
    17        A. Correct.                                17   in the SORDS 1 and 2 computer systems, correct?
    18        Q. And if you see, it states, Dear         18        A. No.
    19   Ms. McGinn: Enclosed is our report regarding    19           MR. HAMMOUD: Object to the form.
    20   Teva Pharmaceutical's suspicious order          20           THE WITNESS: Yeah, I wouldn't say
    21   monitoring system.                              21        "deficiencies." I would say, you know,
    22        A. Yes.                                    22        avenues for improvement.
    23        Q. As noted in the report, Teva has a      23   BY MR. CARTMELL:
    24   rudimentary SOM system with a process for       24        Q. Okay. Well, I'm using Mr. Buzzeo's

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     1   words. And if you turn the page to page 4, he      1   SORDS 1 to SORDS 2, correct?
     2   talks about, in the second paragraph,              2       A. That's what it appears, yes.
     3   additional deficiencies.                           3       Q. Okay. So we know as of 2012, they
     4            Do you see that?                          4   hadn't even updated SORDS 1, correct?
     5        A. Mm-hmm.                                    5       A. Correct. That's what it appears.
     6        Q. So it is true, isn't it, that              6       Q. Okay. Do you know when it was that
     7   Mr. Buzzeo, at least according to him, the         7   they transferred from SORDS 1 to SORDS 2?
     8   outside consultant, the expert who reviewed        8       A. No.
     9   their system, found several deficiencies in the    9       Q. Okay. But at any rate, this
    10   SORDS 1 and 2 programs, correct?                  10   outside expert consultant looked at both
    11        A. I would say he used the term              11   SORDS 1 and 2 and found multiple deficiencies
    12   "deficiencies."                                   12   with both, correct?
    13        Q. Okay. If you look at the last             13       A. I would say he used the word
    14   sentence on the previous page, page 3, under      14   "deficiency."
    15   his Finding, it states, According to customer     15       Q. Okay. It states, SORDS 2 is an
    16   service manager Marianne Geiger, the system --    16   improvement over SORDS 1. Orders are
    17   referring to SORDS pends less than ten orders a   17   individually evaluated. Also, orders are
    18   week.                                             18   normalized for package size. However, the
    19            Do you see that?                         19   orders are not normalized across different NDC
    20        A. Yes.                                      20   numbers.
    21        Q. And so in 2012, at the time that          21           And is one of the things that you
    22   this system, the SORDS system, was being          22   did when you came in is, you changed and
    23   reviewed by the outside expert consultant of      23   updated the system to include NDC numbers?
    24   all the orders from customers for opioids that    24           MR. HAMMOUD: Object to the form.
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     1   Teva was getting, their system in place at that    1           THE WITNESS: To include NDC
     2   time was only flagging or pending, it sound        2        numbers?
     3   like, ten orders a week.                           3   BY MR. CARTMELL:
     4            Do you see that?                          4        Q. Yeah.
     5         A. Yes.                                      5        A. No. That's not a -- that's not a
     6         Q. And you know from your experience         6   correct statement with the way the program
     7   in the industry and talking about this             7   works.
     8   procedure to groups and societies and things       8        Q. Okay.
     9   like that, that your system, for example, at       9           This means, for example, that a
    10   AmerisourceBergen, was flagging or pending        10   customer could order frequent smaller amounts
    11   hundreds of potentially suspicious orders a       11   of hydrocodone in three or four different
    12   week, correct?                                    12   products and avoid a violation of the three
    13         A. True. But you can't compare the          13   standard deviation rule.
    14   two systems.                                      14           Do you see that?
    15         Q. Okay. And we'll talk more about          15        A. That's on -- which page was that
    16   that.                                             16   on?
    17            It states, In June of 2012, Teva         17        Q. It's on the bottom of page 3.
    18   initiated a SORDS improvement project.            18        A. Bottom of page 3.
    19            And at that time, they were working      19           Yes.
    20   on SORDS 2.                                       20        Q. Okay. And so hydrocodone, it was
    21            Do you see that?                         21   talking about. That's an opioid; is that
    22         A. Yes.                                     22   correct?
    23         Q. And at this time, SORDS 2 was not        23        A. Correct.
    24   in place. It had not yet been transferred from    24        Q. Okay. And one that Teva was

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     1   selling?                                           1   that system. I don't like the math.
     2           MR. HAMMOUD: Object to the form.           2        Q. Is part of the reason you don't
     3        Lacks foundation.                             3   like it, though, because it might not be strict
     4           THE WITNESS: I believe so.                 4   enough necessarily to catch some suspicious
     5   BY MR. CARTMELL:                                   5   orders?
     6        Q. Okay. And so the point was here            6        A. Well, it depends.
     7   that this system at the time, SORDS, was not       7             MR. HAMMOUD: Object to the form.
     8   sensitive enough to necessarily catch an opioid    8   BY MR. CARTMELL:
     9   suspicious order, correct?                         9        Q. It just depends?
    10           MR. HAMMOUD: Object to the form.          10        A. It depends, yeah.
    11           THE WITNESS: Yeah, I wouldn't be          11        Q. Okay.
    12        able to speculate in that manner.            12        A. It depends upon, you know, two,
    13   BY MR. CARTMELL:                                  13   three standard deviations from what? What is
    14        Q. You don't know; is that fair?             14   the underlying math behind it?
    15        A. No, I don't know.                         15        Q. Okay.
    16        Q. Okay. It then states on the next          16        A. If I don't know the underlying math
    17   page, page 4, on the second paragraph,            17   behind it, I can't say one way or another.
    18   Additional deficiencies were also noted during    18        Q. Okay. So it might or might not
    19   the review process. Three standard deviations     19   catch suspicious orders, correct?
    20   in particular are insufficient to identify        20             MR. HAMMOUD: Object to the form.
    21   orders that may be suspicious. Three              21             THE WITNESS: Any system, really,
    22   deviations in particular -- excuse me. Three      22        might not catch a suspicious order.
    23   standard deviations will only identify three      23   BY MR. CARTMELL:
    24   out of 1,000 orders.                              24        Q. Okay.
                                               Page 263                                               Page 265
     1           Do you see that?                           1             The system further fails to
     2        A. Yes.                                       2   identify frequency or pattern, two items
     3        Q. And would you agree with that              3   specifically contained in the legal definition
     4   statement, that a system set up that had a         4   of a suspicious order.
     5   threshold of three standard deviations would       5             Do you see that?
     6   not be sufficient to necessarily catch             6        A. Yes.
     7   suspicious orders of opioids?                      7        Q. And would you agree with me that an
     8           MR. HAMMOUD: Object to the form.           8   adequate system for identifying suspicious
     9        Mischaracterizes the document.                9   orders needs to actually identify abnormal
    10           THE WITNESS: I wouldn't say that.         10   frequencies of orders or abnormal patterns of
    11   BY MR. CARTMELL:                                  11   opioid orders?
    12        Q. Do you know for sure?                     12        A. Not the way that this is written,
    13        A. I would say that I don't like any         13   because he's talking about the computer system.
    14   calculation that's based on three standard        14   The overall system should, but I don't believe
    15   deviations that -- that differs from sort of a    15   that it's appropriate for a computer algorithm
    16   mass standard of two standard deviations. But,    16   to look for frequency or pattern or size.
    17   also, you have to look at, you know, two          17        Q. Do you think a computer algorithm
    18   standard deviations from what?                    18   can identify abnormal frequency orders of
    19        Q. Okay. But the system based on             19   opioids?
    20   three standard deviations, as you just said,      20        A. I think it would be very, very
    21   you don't like that type of system, correct?      21   difficult. I haven't seen one yet.
    22        A. I don't like that math.                   22        Q. Now, did you ever talk to
    23        Q. Okay.                                     23   Mr. Buzzeo about his findings of deficiencies
    24        A. Yeah. I wouldn't say I don't like         24   in the SORDS system?

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     1        A. No. I never talked with Ron about          1   marked as Exhibit 13. Sir, Exhibit 13 is a
     2   this particular document.                          2   document that was produced to us in this
     3        Q. Now, even though the outside expert        3   litigation from Teva's internal files, and it's
     4   consultant believed that their system in place     4   titled Order Management, DEF OPS Enhancements
     5   had several deficiencies, that SORDS system or     5   Functional Design Specification.
     6   SORDS 2 system --                                  6            Do you see that?
     7        A. SORDS 2.                                   7        A. Yes.
     8        Q. -- stayed in place until the middle        8        Q. Now, the system that you ended up
     9   of the year in 2015, correct?                      9   putting in place for suspicious order
    10        A. March 1st, 2015.                          10   monitoring was called DEF OPS; is that correct?
    11        Q. Okay. So it was two and a half            11        A. Correct.
    12   years longer, after the outside consultant told   12        Q. And that stands for what?
    13   the company that there were deficiencies in       13        A. Defensible Order Pending System.
    14   their algorithm or their system to try to         14        Q. What do you mean, Defensible Order
    15   identify suspicious orders of opioids -- it was   15   Pending System? What do you mean by
    16   two and a half years until they instituted what   16   "defensible," I guess, is what I'm asking.
    17   you have described as a better system, correct?   17        A. That we hoped that it would
    18        A. Well, I hope my system is better.         18   withstand scrutiny.
    19        Q. More -- an improved system,               19        Q. Withstand scrutiny by the DEA?
    20   correct?                                          20        A. Anyone.
    21        A. I'd say an improved system.               21        Q. Any outside agency that might be
    22        Q. A more robust system, correct?            22   doing an audit?
    23           MR. HAMMOUD: Object to the form.          23        A. Anyone.
    24           THE WITNESS: I would hope so.             24            MR. HAMMOUD: Object to the form.
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     1   BY MR. CARTMELL:                                   1   BY MR. CARTMELL:
     2         Q. Okay. And, in fact, if you go back        2        Q. Including the DEA?
     3   to, sir, Exhibit 678 --                            3        A. Including.
     4         A. Is that the PowerPoint?                   4        Q. Okay. Well, who else would
     5         Q. Yes.                                      5   potentially scrutinize your suspicious order
     6         A. Okay.                                     6   monitoring system?
     7         Q. We were talking about your                7        A. Well, National Association of
     8   PowerPoint and What's Next? when you came in in    8   Boards of Pharmacy.
     9   2014, at page 37.                                  9        Q. Anybody else?
    10             And not only did you put in place       10        A. Potentially, a state -- well, state
    11   written standard operating procedures for the     11   boards of pharmacy.
    12   program, but you also updated SORDS, correct?     12        Q. Okay. So you wanted a system put
    13         A. That that was in the future, yes.        13   in place that would be defensible if there was
    14         Q. Okay. And from this time in 2014,        14   an audit by those State pharmacy organizations
    15   is it fair to say that it was about a year and    15   or the DEA, correct?
    16   three months until you were able to do that?      16        A. I'd say that would make them happy.
    17         A. Until the updated algorithm was in       17        Q. Okay. And defensible in that they
    18   place, yes.                                       18   would feel like you were doing an adequate job
    19             MR. CARTMELL: Okay. 677, please.        19   of suspicious order monitoring, correct?
    20             (Exhibit Teva-Tomkiewicz-013 marked     20           MR. HAMMOUD: Object to the form.
    21         for identification and attached to the      21           THE WITNESS: And it's hard to put
    22         transcript.)                                22        too much emphasis on the word
    23   BY MR. CARTMELL:                                  23        "defensible," because it was mostly
    24         Q. I'm going to hand you what's been        24        chosen because it sounded good with

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     1        Order Pending System. It just made a          1            Do you see that?
     2        good-sounding name.                           2        A. Yes.
     3   BY MR. CARTMELL:                                   3        Q. And when it refers to "industry,"
     4        Q. But your words were, you wanted            4   that's talking about the pharmaceutical
     5   something that was defensible if there was         5   manufacturers, the wholesale distributors, the
     6   scrutiny on the program, correct?                  6   pharmacies, and all those entities that are in
     7        A. Yes --                                     7   the distribution chain of the opioid narcotics,
     8           MR. HAMMOUD: Object to the form.           8   correct?
     9           THE WITNESS: -- that looked good           9        A. I would agree with that, yes.
    10        and made agencies happy.                     10        Q. Next paragraph states, Original
    11   BY MR. CARTMELL:                                  11   SORDS design evaluated individual order
    12        Q. Okay. This is a document that you         12   line/item quantity for each ship to against
    13   reviewed and approved, I take it; is that         13   three upper control limits with a designated
    14   correct?                                          14   value of order UCL --
    15        A. Correct.                                  15            That means "upper control limit,"
    16        Q. And if you look at page 3 of 17,          16   right?
    17   specifically, you're indicated on the document,   17        A. Yes.
    18   you'll see there, as one of the individuals who   18        Q. -- monthly UCL, and quarterly UCL.
    19   reviewed and approved this document.              19   If any calculated order line/item and ship to
    20        A. Yes.                                      20   exceeded one of three upper control limits,
    21        Q. Do you see that?                          21   then the order line would be placed on DEA
    22        A. Yes.                                      22   excessive usage hold.
    23        Q. I have very few questions about           23            Do you see that?
    24   this, but I want to talk briefly about this       24        A. Yes.
                                               Page 271                                               Page 273
     1   Summary. Did you actually write this document?     1        Q. This original design was too
     2        A. No. No, I did not write this               2   granular and difficult to manage, and
     3   document.                                          3   therefore, a new project was floated to
     4        Q. If you look at 1.0 Summary, there's        4   redesign the tool.
     5   a discussion --                                    5           Do you see that?
     6        A. On what page?                              6        A. Yes.
     7        Q. On page 5 of 17.                           7        Q. And that's talking about what we
     8            Near the bottom of the first              8   have discussed, that when you came in, part of
     9   paragraph, it states, DEA registration, record     9   your job was to update the system, update
    10   keeping, and suspicious order reporting           10   SORDS, and come up with a better, new design
    11   requirements apply to importers, exporters,       11   for the suspicious order monitoring program,
    12   manufacturers, distributors, and certain          12   including the computer algorithm, right?
    13   retailers of 41 listed chemicals.                 13           MR. HAMMOUD: Object to the form.
    14            Do you see that?                         14           THE WITNESS: And correct, to
    15        A. Yes.                                      15        improve the program.
    16        Q. And that's a statement that you           16   BY MR. CARTMELL:
    17   agree with, I take it, that those DEA             17        Q. The purpose of this document is to
    18   requirements apply to manufacturers like Teva,    18   develop new enhancements outlined hereinafter
    19   correct?                                          19   to the original SORDS 1 and II systems,
    20        A. I'd say that's a fair assessment.         20   hereinafter referred to as DEF OPS. This new
    21        Q. Through a combination of industry         21   suspicious order monitoring tool will be more
    22   outreach and voluntary compliance measures, DEA   22   robust.
    23   strives to control chemical diversion in          23           Do you see that --
    24   partnership with industry and the public.         24        A. Yes.

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     1        Q. -- in operational efficiencies and         1   up.
     2   proactively monitoring customer order patterns     2        Q. Okay. We'll talk about that. But
     3   when placing orders for control and some           3   there's documents that describe that, correct?
     4   noncontrolled substances.                          4        A. Oh, I'm sure there are.
     5           Do you see that?                           5        Q. Okay. And is your testimony that
     6        A. Yes.                                       6   when DEF OPS went into play, it was flagging
     7        Q. And you agree with that, I take it?        7   less than SORDS 2, or do you know?
     8        A. It's a fair assessment, yes.               8        A. I can't remember specifically.
     9        Q. Okay. How did the new DEF OPS              9        Q. You don't know one way or the
    10   computer algorithm that you helped design and     10   other?
    11   develop and put in place at Teva -- how did       11        A. As I sit here, I don't know one way
    12   that make the program better or improved and      12   or the other, yeah.
    13   more robust?                                      13        Q. Okay. I also want to ask you about
    14        A. Well, I think it improved what I          14   the due diligence, as you described, that Teva
    15   call the signal-to-noise ratio. And that's        15   had been doing related to suspicious order
    16   orders that were pended for investigation that    16   monitoring prior to the time you became the
    17   really didn't need to be pended for               17   manager at Teva. Okay?
    18   investigation.                                    18        A. Okay.
    19           And so it provided orders that were       19        Q. Do you, as you sit here today,
    20   more -- that had, you know, higher likelihood     20   recall to what extent Teva was doing due
    21   of possibly being suspicious or ones that had     21   diligence on new clients or new customers?
    22   more specific red flags about them.               22        A. Well, when I came in, it was my
    23        Q. Okay. And do you know -- I think          23   understanding that there hadn't been a new
    24   there's documents discussing this, but -- the     24   customer approved or even brought on in years.
                                               Page 275                                               Page 277
     1   number of items or orders that were pended or      1        Q. How many years?
     2   flagged by SORDS 1 and II, at least as of 2012,    2        A. Don't know how many years. It was
     3   I should say, was indicated in Buzzeo's report     3   described as, in years.
     4   to be approximately ten a week?                    4        Q. So your testimony is that there was
     5           Do you remember that?                      5   no need for any due diligence related to new
     6        A. For SORDS 1, yes.                          6   clients at Teva prior to 2014 because for
     7        Q. Yes.                                       7   years, there hadn't been any new clients?
     8           And do you know how many orders            8           MR. HAMMOUD: Object to the form.
     9   were pended per SORDS 2?                           9           THE WITNESS: Well, that's how it
    10        A. Offhand, no.                              10        was described to me.
    11        Q. Okay. Do you know whether or not          11   BY MR. CARTMELL:
    12   your new program that was put in place called     12        Q. Who told you that?
    13   DEF OPS ended up flagging or pending more or      13        A. I can't remember who. May have
    14   less than SORDS 2?                                14   been Matt. May have been Marianne.
    15        A. It seems to be not a whole lot            15        Q. Okay. I want to ask you a little
    16   different in terms of numbers of orders pended,   16   bit more about the report from Mr. Buzzeo.
    17   but I'd have to go take a look specifically to    17           Sir, if you can go to page 1 of
    18   see, you know, the ultimate numbers.              18   Mr. Buzzeo's report related to the suspicious
    19           But, of course, I'm looking now,          19   order monitoring program at Teva, the bottom
    20   and we have, you know, additional controlled      20   paragraph, the first sentence states, New
    21   substances that we're reviewing currently.        21   accounts are opened infrequently, and there is
    22           At the time, the number of orders         22   minimal due diligence.
    23   being reviewed, I believe, went down, but the     23           Do you see that?
    24   number of manual -- deeper investigations went    24        A. Correct. Correct, yes.

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     1        Q. But you were told that they had not        1   accounts consists of checking the NTIS database
     2   had new accounts or customers in years?            2   to determine whether customers are adequately
     3        A. That's what I believe, I was told          3   registered with the DEA and performing
     4   something similar to that, when I came aboard.     4   business/credit inquiries.
     5        Q. Okay. What would you have                  5           Do you see that?
     6   expected, based on your experience and             6        A. Yes.
     7   expertise in suspicious order monitoring           7        Q. Okay. So based on this report, you
     8   programs, for Teva to do as far as due             8   can see that prior to you arriving, or in 2012,
     9   diligence when it had a new customer account?      9   if they had a new account, all they would do is
    10        A. What would I have expected them to        10   check to see if it -- if that individual
    11   have done prior to me joining Teva? I don't       11   customer was registered with the DEA and then
    12   recall seeing any file on a new customer.         12   look to see -- at their credit report.
    13        Q. I'm asking, based on your                 13           That's what that says, correct?
    14   experience. Because this report reflects that     14           MR. HAMMOUD: Object to the form.
    15   Mr. Buzzeo and his team were told that there      15           THE WITNESS: No. Business
    16   were new accounts, but they were infrequent,      16        inquiries in addition to credit
    17   correct?                                          17        inquiries.
    18        A. Yes, infrequent --                        18   BY MR. CARTMELL:
    19        Q. Okay. So --                               19        Q. What do you interpret "business
    20        A. -- which I don't believe is               20   inquiries" to --
    21   inconsistent with what I was told when I came     21        A. Oh, I can't interpret that. It
    22   aboard.                                           22   could be adequate, could not be adequate. I
    23        Q. Okay. So when they had a new              23   don't have enough information to say.
    24   customer, as far as due diligence, to have a      24        Q. It states, Currently, there are no
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     1   sufficient, robust suspicious order monitoring     1   site reviews, and no additional information is
     2   program, what due diligence would you have         2   collected.
     3   expected them to do when they had new accounts?    3           Do you see that?
     4            MR. HAMMOUD: Object to the form.          4        A. Yes.
     5            THE WITNESS: Well, again, I can't         5        Q. And Mr. Buzzeo felt like that was
     6        do any sort of conjecture on it because       6   not an appropriate -- or that was a deficient
     7        I had never seen a new customer due           7   system related to due diligence, correct?
     8        diligence file when I came on board. So       8           MR. HAMMOUD: Object to the form.
     9        I can't say, you know, what they had          9           THE WITNESS: Well, Ron Buzzeo felt
    10        been doing or whether it was effective.      10        that that was Ron Buzzeo's opinion.
    11        I can't say that.                            11   BY MR. CARTMELL:
    12   BY MR. CARTMELL:                                  12        Q. Okay. And would you agree with
    13        Q. If you go to page 2, Findings and         13   that opinion?
    14   Recommendations, the outside consultant,          14        A. I don't have enough information to
    15   Mr. Buzzeo, states, Teva has approximately 200    15   form an opinion.
    16   active accounts.                                  16        Q. It states, The amount of initial
    17            Do you see that?                         17   due diligence information should be expanded to
    18        A. Yes.                                      18   include at a minimum the following items for
    19        Q. And that's consistent with what you       19   existing and potential customers: Initial
    20   testified to previously, correct?                 20   client screening with a questionnaire, to be
    21        A. Correct.                                  21   followed with an on-site visit and a more
    22        Q. Okay. And then the second                 22   detailed questionnaire, to solicit detailed
    23   paragraph states, The current process for         23   information regarding customers' individual SOM
    24   conducting due diligence on new and existing      24   programs and assurances to safeguard against

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     1   the diversion of controlled substances.            1        A. Well, like I said, I haven't seen
     2           Do you see that?                           2   the results of their process anywhere.
     3        A. Yes.                                       3        Q. Okay. But I take it when you got
     4        Q. Okay. And you mentioned                    4   there, to improve and better their suspicious
     5   previously, I think, that due diligence on new     5   order monitoring program at Teva, you made sure
     6   clients and even on existing clients is            6   that they were doing increasing amounts of due
     7   important or an important part of the              7   diligence, correct?
     8   process --                                         8        A. That is correct.
     9        A. Oh, yes.                                   9        Q. You made sure that they were doing,
    10        Q. -- to determine whether or not            10   like Mr. Buzzeo said, much more due diligence
    11   orders that are coming from them that had been    11   for new customers or existing customers,
    12   flagged may be suspicious orders, correct?        12   correct?
    13           MR. HAMMOUD: Object to the form.          13            MR. HAMMOUD: Object to the form.
    14           THE WITNESS: I would say that             14            THE WITNESS: We had increased due
    15        that's a correct assessment.                 15        diligence, yes.
    16   BY MR. CARTMELL:                                  16   BY MR. CARTMELL:
    17        Q. And as you believed when you came         17        Q. And it was your brief that that was
    18   to Teva and from your experience -- part of the   18   important so that you could try to find out,
    19   things you were doing is, you were doing          19   these suspicious orders, whether or not there
    20   Internet searches, for example, correct?          20   was a likelihood of diversion of these opioids?
    21        A. Correct.                                  21        A. Well, it's to know the customer
    22        Q. And from time to time, based on           22   better.
    23   your testimony in the West Virginia case, you     23        Q. And why is it important to know the
    24   were doing on-site visits, correct?               24   customer better?
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     1        A. Correct.                                   1        A. To determine whether an order that
     2        Q. All of those things were important         2   may be flagged, you know, could be suspicious;
     3   for you, as a suspicious order monitoring          3   is this part of their --
     4   manager and investigator, to help you              4        Q. Go ahead. I'm sorry.
     5   determine, in fact, whether these orders coming    5        A. Yeah.
     6   from pharmacies or other customers were, in        6            -- is this part of their normal
     7   fact, suspicious, correct?                         7   business? Because something that could look
     8        A. Correct.                                   8   suspicious for one customer might be different
     9        Q. And based on Mr. Buzzeo's report,          9   from another customer.
    10   Teva wasn't doing any of that before you got      10            And one thing that's important to
    11   there, correct?                                   11   remember is that, you know, with the on-site
    12            MR. HAMMOUD: Object to the form.         12   visits at AmerisourceBergen, that's at the
    13            THE WITNESS: Like I said, I hadn't       13   pharmacy level. Teva doesn't sell to
    14        seen the results of any new customer due     14   pharmacies.
    15        diligence. I don't know if this was          15        Q. Let me follow up on what you said.
    16        speaking hypothetically, what they would     16            But, actually, go back, if you
    17        do, or what they had been doing. I           17   would, sir, to Exhibit 678, which was --
    18        can't tell that from this.                   18            MR. FAES: He means 5.
    19   BY MR. CARTMELL:                                  19            MR. CARTMELL: Strike that. Strike
    20        Q. Do you think that this is actually        20        that. Let me start over.
    21   talking hypothetically?                           21   BY MR. CARTMELL:
    22        A. I said it could be.                       22        Q. Sir, go back, if you would, to
    23        Q. Well, it states what their actual         23   Exhibit 5, which is your PowerPoint that you
    24   process is, doesn't it?                           24   gave in 2014 to the team at Teva under What's

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     1   Next?                                              1        A. Correct.
     2           We've talked about that you, when          2        Q. And those things were important,
     3   you came in, actually put in place standard        3   you thought -- in other words, going actually
     4   operating procedures that were not in place        4   to see and visit customers and sending out
     5   when you got there --                              5   questionnaires, risk evaluation questionnaires,
     6       A. Are you on page 37?                         6   for example -- so that you could do your best
     7       Q. -- correct?                                 7   to determine whether or not there was
     8           MR. HAMMOUD: I'm sorry. He's               8   suspicious orders for these opioid narcotics,
     9       looking for the page. Can you repeat           9   correct?
    10       the question?                                 10           MR. HAMMOUD: Object to the form.
    11   BY MR. CARTMELL:                                  11           THE WITNESS: No, that's not
    12       Q. We've talked about that you put in         12        correct.
    13   place standard operating procedures in writing,   13   BY MR. CARTMELL:
    14   formalized those, that were not in place when     14        Q. How was I wrong?
    15   you got there, correct?                           15        A. Well, because we don't do
    16       A. No. There were procedures in               16   questionnaires, because, again, we're not
    17   place. They were just not written down.           17   dealing with pharmacies. So a
    18       Q. Right.                                     18   one-size-fits-all questionnaire is
    19           So if somebody wanted to find out         19   inappropriate.
    20   what the procedures are, they'd have to go to     20        Q. Go ahead.
    21   somebody and ask them what the procedures are,    21        A. Additionally, doing a customer road
    22   correct?                                          22   show, while we have had face-to-face meetings
    23       A. Yes.                                       23   with some customers, doing a full road show,
    24       Q. And hope that they included                24   meeting every customer face to face, not
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     1   everything about the procedure and didn't          1   something that, ultimately, I determined was
     2   forget anything, correct?                          2   either necessary or would improve the program.
     3        A. Well, correct, sure.                       3        Q. So the customer road show that you
     4        Q. Much better policy to have it in           4   refer to here, that has to do with actually
     5   writing, correct?                                  5   gaining due diligence on your customers; is
     6        A. Oh, yes.                                   6   that correct?
     7           MR. HAMMOUD: Object to the form.           7        A. No. That was more doing just
     8   BY MR. CARTMELL:                                   8   face-to-face meetings with customers to put a
     9        Q. We talked about you also updated           9   face to names.
    10   and revamped and improved the computer system     10        Q. Does it have anything to do with
    11   that was in place and made it more robust,        11   know your customer better?
    12   correct?                                          12        A. It could. But, ultimately, I
    13        A. I would hope so.                          13   determined that it wasn't something that was
    14        Q. We -- also here under What's Next?        14   going to improve the program in any meaningful
    15   What Does the Future Hold?, you talk about        15   way.
    16   Customer Road Show --                             16        Q. So how did you -- or what did you
    17           You see that?                             17   do at Teva to better their program and -- to
    18        A. Yes.                                      18   allow Teva to know their customer better?
    19        Q. -- and Customer Risk Evaluation.          19        A. Well, most of the customers are
    20           Do you see that?                          20   long-term customers, and we know them very well
    21        A. Yes.                                      21   anyway.
    22        Q. And those are things that you were        22        Q. Did you do anything to improve that
    23   doing to increase the actual due diligence in     23   aspect of due diligence?
    24   your department, correct?                         24        A. Of knowing who the current

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     1   customers were?                                   1   improvement of the program?
     2        Q. Yes.                                      2       A. Yes.
     3        A. Well, other than talking to them --       3           MR. HAMMOUD: About ready for a
     4   and, again, because it's a relatively small       4       break?
     5   industry, I know knew a lot of people anyway.     5           MR. CARTMELL: What's that? Break?
     6   And at various conferences, you see a lot of      6       Let's do it.
     7   the same people, and so we know who they are.     7           VIDEO OPERATOR: Going off the
     8        Q. You also mention here on your slide       8       record, 3:43.
     9   that the future held training, correct?           9           (Recess from 3:43 p.m. until
    10        A. Correct.                                 10       4:00 p.m.)
    11        Q. And is it your understanding, based      11           VIDEO OPERATOR: Back on record.
    12   on your knowledge of what was going on at Teva   12       The time is 4:00 p.m.
    13   as far as their suspicious order monitoring      13   BY MR. CARTMELL:
    14   program, that there was no real training going   14       Q. Mr. Tomkiewicz, we're back on the
    15   on before you arrived?                           15   record. Are you ready to proceed?
    16           MR. HAMMOUD: Object to the form.         16       A. I'm ready.
    17           THE WITNESS: And I would say no,         17       Q. Okay. So we were talking about
    18        that's not correct.                         18   before the break all of the things that you did
    19   BY MR. CARTMELL:                                 19   when you came to Teva to try to improve the
    20        Q. Were you coming in, though, and          20   suspicious order monitoring program that they
    21   trying to enhance and improve and more           21   had in place, correct?
    22   frequently train the members that were within    22       A. Correct.
    23   the department?                                  23       Q. And we went through, as you noted
    24        A. No.                                      24   in your PowerPoint that you presented to the
                                               Page 291                                              Page 293
     1        Q. Did you increase at all the amount        1   team, the things that you said you were going
     2   of training that was provided to the              2   to do in the future, things like standard
     3   individuals in the department?                    3   operating procedures, increasing customer due
     4           MR. HAMMOUD: Object to the form.          4   diligence, update the SORDS program, customer
     5           THE WITNESS: Within the                   5   risk evaluations, training, customer road show,
     6        department? No. Training isn't --            6   all those things, correct?
     7        well, training of the department isn't       7        A. Correct.
     8        something normally that I do, other than     8        Q. And the goal for you was to improve
     9        when we have department meetings and         9   the program so that you could help the DEA by
    10        sort of status updates of suspicious        10   identifying suspicious orders of opioids and
    11        order monitoring is done.                   11   try to stop those orders that you believed were
    12   BY MR. CARTMELL:                                 12   likely to be diverted out in the communities,
    13        Q. Do you know whether or not Teva was      13   correct?
    14   training customer service representatives who    14        A. That were --
    15   were involved in suspicious order monitoring     15            MR. HAMMOUD: Object to the form.
    16   prior to the time you arrived?                   16            THE WITNESS: Well, that were
    17        A. That, I don't know.                      17        suspicious. And not just the DEA, but
    18        Q. Did you, when you got there,             18        help to improve society.
    19   though, make sure that the suspicious order      19   BY MR. CARTMELL:
    20   monitoring program included training of the      20        Q. Right.
    21   customer service representatives who were        21        A. Yeah.
    22   involved?                                        22        Q. That's a good point. I mean, you
    23        A. Yes.                                     23   want to have a very robust, very good
    24        Q. And did you see that as an               24   suspicious orders monitoring program in place

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     1   at Teva because you want to help society by        1   in place since the time they began selling and
     2   getting as many opioids off the streets that       2   distributing opioids --
     3   are going to be diverted, correct?                 3           Right?
     4            MR. HAMMOUD: Object to the form.          4           MR. HAMMOUD: Object to the form.
     5            THE WITNESS: And not just                 5           THE WITNESS: Well, correct.
     6        preventing products from getting out of       6   BY MR. CARTMELL:
     7        the legitimate supply channels, but also      7        Q. Correct. Because we know the law
     8        ensuring that the products are going to       8   requires that, correct?
     9        the right people.                             9        A. Correct.
    10   BY MR. CARTMELL:                                  10           MR. HAMMOUD: Object to the form.
    11        Q. Right.                                    11   BY MR. CARTMELL:
    12            And the goal, though, of a very          12        Q. Your understanding is that you
    13   effective, robust suspicious order monitoring     13   believe that that suspicious order monitoring
    14   program is to identify suspicious orders,         14   program had identified one suspicious order in
    15   correct?                                          15   those several years?
    16        A. That's one facet of it, yes.              16        A. Correct.
    17        Q. And then when you identify those,         17        Q. And you believe that that is an
    18   you can do your investigation, all the things     18   effective, robust suspicious order monitoring
    19   you need to do, to determine whether or not you   19   program?
    20   need to stop that order, right?                   20        A. Could have been.
    21        A. And report it as suspicious if we         21        Q. Do you believe it was, when it
    22   stop it, yes.                                     22   identified solely one suspicious order over
    23        Q. Right. And report it to the DEA.          23   eight years that they've been selling opioids?
    24   That's the other thing you need to do, correct?   24        A. I think that that is consistent
                                               Page 295                                               Page 297
     1        A. Correct.                                   1   with the industry.
     2        Q. Now, when you got to Teva, did you         2        Q. Let's go back, if you would, to
     3   learn that, in fact, their system of suspicious    3   Exhibit 12.
     4   order monitoring was simply not working?           4            We've been looking at what the
     5        A. No, I wouldn't say that.                   5   outside expert consultant said about Teva's
     6        Q. Well, as you stated, the whole goal        6   suspicious order monitoring program when it was
     7   of the program was to identify suspicious          7   reviewed in 2012, and I want to ask you about a
     8   orders, correct?                                   8   statement on the front page, first paragraph at
     9        A. Correct.                                   9   the bottom.
    10        Q. And did you know or learn when you        10            It states, Orders are also
    11   got to Teva that even though they had been        11   investigated by staff prior --
    12   selling opioids for years, they had not           12        A. Wait. First page?
    13   identified one suspicious order in their          13        Q. Oh, I'm sorry. On the cover page,
    14   monitoring program?                               14   the letter.
    15           UNIDENTIFIED SPEAKER: I don't             15        A. Cover page.
    16        believe that's correct.                      16        Q. Sir, I want to ask you about the
    17           MR. HAMMOUD: Object to the form.          17   cover letter from Mr. Buzzeo, the outside
    18           THE WITNESS: And I don't believe          18   consultant, who looked at, in 2012, Teva's
    19        that's correct. I believe there was at       19   suspicious order monitoring program and
    20        least one order reported as suspicious.      20   evaluated that.
    21   BY MR. CARTMELL:                                  21            If you look at the end of the first
    22        Q. So your belief is that their              22   paragraph, it states, Teva has never identified
    23   suspicious ordering program that was in place     23   a suspicious order, and thus, no orders have
    24   before you got there and that should have been    24   ever been reported to the DEA.

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     1            Do you see that?                          1       A. I believe so.
     2         A. Correct.                                  2       Q. Now, did you know, from your
     3         Q. So we know that as of September of        3   conversations or the documents that you've
     4   2012, several years after Teva had begun           4   reviewed in this case, that, in fact, Teva
     5   selling opioid narcotics, they had never           5   never even started making reports of suspicious
     6   reported -- or never identified a suspicious       6   orders until 2013?
     7   order and never reported any to the DEA,           7           MR. HAMMOUD: Object to the form.
     8   correct?                                           8           THE WITNESS: I'm unaware of that.
     9         A. Correct.                                  9   BY MR. CARTMELL:
    10            MR. HAMMOUD: Object to the form.         10       Q. Is it fair to say, based on your
    11   BY MR. CARTMELL:                                  11   expertise as a suspicious order monitoring
    12         Q. And if you turn the page to page 2,      12   manager and programs, that Teva had suspicious
    13   it states, at the top of paragraph -- the first   13   orders or orders from customers that were
    14   paragraph, Teva has never reported any            14   diverted prior to 2013?
    15   suspicious order to the DEA, and there is no      15           MR. HAMMOUD: Objection.
    16   program to review downstream distribution of      16   BY MR. CARTMELL:
    17   Teva products.                                    17       Q. Do you agree with that?
    18            Do you see that?                         18           MR. HAMMOUD: Object to the form.
    19         A. Yes.                                     19       Lacks foundation.
    20         Q. Okay. Now, you came from                 20           THE WITNESS: Well, I'm certain
    21   AmerisourceBergen, and you testified that you     21       that product was being diverted.
    22   had been involved in reporting hundreds a         22   BY MR. CARTMELL:
    23   month, correct?                                   23       Q. Okay. So your point is not that
    24         A. Correct.                                 24   they didn't have suspicious orders that were
                                               Page 299                                                Page 301
     1       Q. At AmerisourceBergen, a distributor         1   being diverted; they simply didn't have a
     2   of opioid narcotics, when you worked there as      2   system in place that was able to identify
     3   the manager and investigator, your company was     3   those, correct?
     4   reporting hundreds of suspicious orders of         4        A. No, not at all.
     5   opioid narcotics a month; is that fair?            5            MR. HAMMOUD: Object to the form.
     6       A. Correct.                                    6   BY MR. CARTMELL:
     7       Q. But when you came to Teva, they had         7        Q. When you were developing and
     8   never reported one, correct?                       8   improving the suspicious order monitoring
     9           MR. HAMMOUD: Objection. Object to          9   program at Teva after 2014 and throughout 2015,
    10       the form.                                     10   did you ever hire any outside consults or
    11           THE WITNESS: No. I believe they           11   experts to help you?
    12       reported one.                                 12        A. No.
    13   BY MR. CARTMELL:                                  13            (Exhibit Teva-Tomkiewicz-014 marked
    14       Q. When was the one reported?                 14        for identification and attached to the
    15       A. I believe it was in 2013, but it           15        transcript.)
    16   was before -- after this and before I started.    16   BY MR. CARTMELL:
    17       Q. So even though you had reported            17        Q. I'm going to hand you what's been
    18   hundreds in your job as suspicious order          18   marked as Exhibit 14. And I'll represent to
    19   monitoring manager or investigator at             19   you, sir, that Exhibit 14 is a document that
    20   AmerisourceBergen and Teva, to your knowledge,    20   was produced to the plaintiffs in this
    21   had only reported one in the eight years since    21   litigation by Teva from their internal files.
    22   they had been selling and distributing opioids,   22   Okay?
    23   you believe Teva's suspicious order monitoring    23        A. Mm-hmm.
    24   program was working?                              24        Q. If you look at the first page of

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     1   Exhibit 14, there's an e-mail, you'll see,         1   that was interviewed, correct?
     2   from --                                            2        A. Yes.
     3           Is it Itai?                                3        Q. And other individuals from your
     4        A. Itai.                                      4   department were interviewed as well; is that
     5        Q. -- Itai Rigbi to several                   5   right?
     6   individuals, including your boss, Colleen          6        A. Yes.
     7   McGinn.                                            7        Q. And tell me if I'm wrong, but this
     8           Do you see that?                           8   individual, Mr. Rigbi --
     9        A. Yes.                                       9            Is that right?
    10        Q. And this is in August of 2015,            10        A. Yes, yes. Mr. Rigbi, yes.
    11   correct?                                          11        Q. -- Mr. Rigbi actually worked for
    12        A. Yes.                                      12   the parent organization; is that correct?
    13        Q. And at this time, you had been at         13        A. Well, Teva Pharmaceuticals in
    14   the company for, essentially, a year and eight    14   Israel, yes.
    15   months?                                           15        Q. In Israel?
    16        A. Yes.                                      16        A. Yes.
    17        Q. It states, Dear all, Attached             17        Q. Okay. And so I take it that
    18   please find the final audit report of the         18   Mr. Rigbi came from Israel over with a team to
    19   Teva's DEA department.                            19   perform this audit of your department.
    20           Do you see that?                          20        A. No.
    21        A. Yes.                                      21        Q. Did he come just himself?
    22        Q. Okay. And so it looks like in             22        A. Just himself.
    23   2015, after you'd been there for a year and       23        Q. Okay. And why was this internal
    24   eight months, there was actually an internal      24   audit done; do you know?
                                               Page 303                                               Page 305
     1   audit done by Teva of the department that you      1         A. I can't remember the exact
     2   were in; is that correct?                          2   circumstances. I believe it was something to
     3        A. Correct.                                   3   do with our Forest plant.
     4        Q. Okay. And that's the DEA, as he            4         Q. What does that mean?
     5   says, Drug Enforcement Administration,             5         A. That there was an issue with our
     6   department, correct?                               6   Forest plant, and in -- and in Israel, they
     7        A. Correct.                                   7   felt that they needed to do an audit of our DEA
     8        Q. All right. And then it states              8   compliance program.
     9   above, from Colleen McGinn to you and others on    9         Q. Okay. If you turn to -- actually,
    10   August 19th, Attached is Itai's final report.     10   it's page 4. There's a section titled The DEA
    11        A. Yes.                                      11   Department.
    12        Q. Sorry about that.                         12            Do you see that?
    13           Do you see that?                          13         A. Page 4?
    14        A. Yes.                                      14            MR. HAMMOUD: I'm sorry. What's
    15        Q. So this is a report, I believe,           15         the Bates number?
    16   that was in your custodial file and was           16            MR. CARTMELL: Last three digits,
    17   produced. You've seen this internal audit         17         567.
    18   report before today; is that correct?             18   BY MR. CARTMELL:
    19        A. Yes, although I haven't reviewed it       19         Q. It states, The DEA department is
    20   in several years.                                 20   responsible for handling all controlled
    21        Q. Were you involved in this internal        21   substances across U.S. pharma and R&D sites,
    22   audit that was done at Teva in August of 2015?    22   compliance with DEA agency regulations, and for
    23        A. Yes, I was part of it.                    23   traceability of controlled substances to ensure
    24        Q. And you were one of the individuals       24   no diversions.

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     1           Do you see that?                           1   DEA compliance functions and processes for
     2        A. Yes.                                       2   Teva's registered facilities and maintain the
     3        Q. And that's an accurate statement of        3   relationship with the DEA agency.
     4   the responsibility of the DEA department,          4           Do you see that?
     5   correct?                                           5        A. Yes.
     6        A. I wouldn't say fully. I wouldn't           6        Q. The second-to-last -- I want to ask
     7   say fully.                                         7   you about the second-to-last bullet point. It
     8        Q. What would you disagree with in            8   says, The 17 team members are based in seven
     9   that regard?                                       9   different locations.
    10        A. Ensuring no diversions. We try to         10           Is that correct? That's the way it
    11   minimize diversion as much as we can trace,       11   was?
    12   but -- and I wish there were the ability to       12        A. Seems correct, yes.
    13   prevent all diversion, but unfortunately, at      13        Q. Okay. The team is responsible for
    14   the manufacturer level, that's just not           14   DEA activities in 11 pharma and R&D sites in
    15   possible.                                         15   the U.S.
    16        Q. Your responsibility and duty as a         16           Do you see that?
    17   manufacturer who is selling opioids is to do      17        A. Yes.
    18   your very best to try to prevent that, correct?   18        Q. On the next page, it states, Every
    19        A. Correct.                                  19   of the 11 sites has a dedicated DEA manager who
    20        Q. In total, 412 controlled substance        20   belongs to the DEA department and is
    21   products are registered in all U.S. sites.        21   responsible for daily DEA activities at the
    22           Do you see that?                          22   sites. Some are responsible for several small
    23        A. Yes.                                      23   sites.
    24        Q. So what does that mean?                   24           Is that correct?
                                                Page 307                                              Page 309
     1        A. That would be 412 different SKUs           1        A. Yes.
     2   that are registered across all sites. And          2        Q. And so that gives the jury some
     3   that's not just products for sale, but that's      3   idea of how the individuals in your
     4   also products that -- in process, in the           4   department -- and there are now 17 as of
     5   manufacturing process.                             5   2015 -- are spread out among seven different
     6        Q. Okay. So I'm trying to understand.         6   sites, correct?
     7   Does that mean that there are 412 controlled       7        A. Correct.
     8   substance products that Teva was selling as of     8        Q. Okay. I want to ask you about the
     9   this time in 2015?                                 9   findings of this internal audit. And,
    10        A. No. No. It just means that within         10   specifically, if you go to the page -- the last
    11   the system, there are 412 products that are       11   three Bates numbers are 575.
    12   handled. And it could -- and some of those are    12            Risk Management, do you see that?
    13   in-process products that are never for sale to    13        A. Oh, yes.
    14   the public but are moved between site and site.   14        Q. Now, this is an internal audit of
    15   And so they're in the system with a number, but   15   your department, the department that you are
    16   they're not products that are for sale.           16   the manager of suspicious order monitoring in,
    17        Q. Would the vast majority of that 412       17   and the findings of Mr. Rigbi, based on his
    18   likely be products for sale?                      18   audit of your department, correct?
    19           MR. HAMMOUD: Object to the form.          19        A. Correct.
    20   BY MR. CARTMELL:                                  20        Q. And one of the findings has to do
    21        Q. Or do you know?                           21   with the risk management in that department,
    22        A. I don't know.                             22   correct?
    23        Q. Okay. Next bullet point states,           23        A. Correct.
    24   The department has 17 members who oversee the     24        Q. It states, The overall risk of the

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     1   DEA operation is in noncompliance with DEA         1        Q. It includes suspicious monitoring,
     2   requirements.                                      2   correct?
     3           Do you see that?                           3        A. He's listing all the duties of the
     4        A. Yes.                                       4   DEA compliance department.
     5        Q. So although you came on as a               5        Q. And suspicious monitoring is the
     6   manager to help with compliance at the DEA         6   one that you were manager of, correct?
     7   specifically related to suspicious order           7        A. Correct, am manager of.
     8   monitoring, as of 18 months after you got          8        Q. And were at the time, in 2015,
     9   there, according to your own internal audit,       9   correct?
    10   your department was still not in compliance       10        A. Correct.
    11   with the DEA, correct?                            11        Q. And it states all those areas --
    12        A. No. That's not what that says.            12   those risks and those areas are handled at
    13        Q. Let me repeat what it says.               13   different levels of performance but not in an
    14           The overall risk of the DEA               14   overall methodological and orderly way.
    15   operation is in noncompliance with DEA            15           Do you see that?
    16   requirements.                                     16        A. Yes.
    17           Do you see that?                          17        Q. It then states, There is no
    18        A. Yes.                                      18   organized overall risk management process, no
    19        Q. Okay. It then states, This can            19   centralized and orderly list of DEA risks, and
    20   lead to anything from issuing "letter of          20   no orderly heat-map of the risks that the DEA
    21   admonition" up to withdrawal of the sites'        21   department deals with.
    22   registrations.                                    22           Do you see that?
    23           Do you see that?                          23        A. Yes.
    24        A. Yes, that is correct.                     24        Q. And do you agree with those
                                               Page 311                                               Page 313
     1        Q. Okay. Now, we talked earlier, but          1   findings by Mr. Rigbi?
     2   one of the sanctions that the DEA can do if        2        A. Not as you're characterizing them.
     3   you're not in compliance with the DEA is, they     3        Q. Well, I'm not trying to
     4   can pull your registration, correct?               4   characterize them. I'm reading his words on
     5        A. Oh, yes.                                   5   the paper.
     6        Q. And that's what that's referring           6        A. Well, certainly. And what you're
     7   to, correct?                                       7   saying isn't what I understand the meaning of
     8        A. That is correct.                           8   this to mean.
     9        Q. It states, Various risks (security,        9        Q. I'm actually not attributing
    10   quota, suspicious monitoring, import/export,      10   anything, other than I'm reading what he says.
    11   and handling of documentations) are handled at    11            Do you agree with what he says?
    12   differing levels of performance, but not in an    12        A. I agree with what he says but not
    13   overall methodological and orderly way.           13   how you're characterizing it.
    14           Do you see that?                          14        Q. Okay. At any rate, this document
    15        A. Yes.                                      15   states that the DEA operation is in
    16        Q. This was Teva's own internal audit        16   noncompliance with DEA requirements, correct?
    17   of the department, correct?                       17        A. No, that is not correct.
    18        A. Correct.                                  18            MR. HAMMOUD: Objection.
    19        Q. And one of the areas that it found        19            THE WITNESS: That is absolutely
    20   to be deficient and not operating in an overall   20        untrue and not correct.
    21   methodological and orderly way was the            21   BY MR. CARTMELL:
    22   suspicious monitoring operation that you were     22        Q. The overall risk of the DEA
    23   manager of, correct?                              23   operation is in noncompliance with DEA
    24        A. No. I don't read that that way.           24   requirements.

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     1            Do you see that?                         1           Right?
     2        A. Let me clarify to how I read this,        2        A. Correct.
     3   that a risk in a DEA operation is in              3        Q. -- significant adverse regulatory
     4   noncompliance. It's not saying that the DEA       4   impact, such as loss of operating licenses or
     5   operation of Teva is in noncompliance.            5   material fines, right?
     6        Q. It says, The DEA operation is in          6        A. Certainly.
     7   noncompliance with DEA requirements.              7        Q. As a high-risk issue, immediate
     8        A. Risk is in noncompliance. And that        8   management attention is required. The finding
     9   is an obvious opening statement, Risk is in       9   is reported to the audit committee quarterly.
    10   noncompliance.                                   10           Do you see that?
    11        Q. Okay. That portion of the DEA            11        A. Certainly.
    12   operation, the risk portion of it, is in         12        Q. And so for how long was the risk
    13   noncompliance; is that what you're saying?       13   portion of the DEA operation in noncompliance
    14        A. I'm saying risk of any DEA               14   with DEA requirements; do you know?
    15   operation is in noncompliance.                   15           MR. HAMMOUD: Object to the form.
    16        Q. Okay. Do you agree with me that at       16           THE WITNESS: Yeah, that -- the --
    17   that point, this was a finding internally by     17        again, he's not saying that the DEA
    18   your own company, Teva, related to the DEA       18        department is in substantial
    19   department that you were in?                     19        noncompliance. That's not what he's
    20        A. Saying that we were generally in         20        saying. Additionally, the risk of being
    21   noncompliance?                                   21        in noncompliance is a high risk level.
    22        Q. Yes.                                     22   BY MR. CARTMELL:
    23        A. No. I reject that.                       23        Q. Okay. And this observation by the
    24        Q. Okay. This is listed under               24   internal auditor was found to be high risk,
                                               Page 315                                              Page 317
     1   category as High. Do you see that?                1   correct?
     2        A. Yes.                                      2            MR. HAMMOUD: Objection. Asked and
     3        Q. One of the things that the auditor        3        answered.
     4   internally at Teva was asked to do was to         4            THE WITNESS: Yeah, that's been
     5   determine the level of risk, the category of      5        asked and answered. It's -- I'm not
     6   risk that this finding was, correct?              6        saying that there's a finding -- that
     7        A. Certainly, yes.                           7        he's finding high risk. It's the
     8        Q. If you go to the last page of             8        potential of being in noncompliance that
     9   Exhibit 12 -- excuse me -- Exhibit 14, there's    9        is high risk.
    10   Definitions of Risk Rankings.                    10   BY MR. CARTMELL:
    11           Do you see that?                         11        Q. Sir, we just read what the
    12        A. Certainly.                               12   potential risks are related to this finding,
    13        Q. And we know that this was                13   correct?
    14   categorized as High, which means, This is a      14        A. Exactly.
    15   serious internal control or risk management      15        Q. And it's high, and it's serious,
    16   issue that if not mitigated may, with a high     16   correct?
    17   degree of certainty, lead to: Substantial        17            MR. HAMMOUD: Objection. Asked and
    18   losses; serious violation of corporate           18        answered.
    19   strategies, policies or values --                19            THE WITNESS: Mm-hmm.
    20           Right?                                   20   BY MR. CARTMELL:
    21        A. Correct.                                 21        Q. Isn't that correct?
    22        Q. -- serious reputation damage, such       22        A. I've answered that. Yes.
    23   as negative publicity in national or             23        Q. Okay. They also had a finding
    24   international media --                           24   related to the suspicious order monitoring; is

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     1   that correct?                                      1   DEF OPS.
     2        A. Certainly. Where is that?                  2            Do you see that?
     3        Q. That's at page -- the last three,          3        A. Yes.
     4   Bates 581.                                         4        Q. Now, that is the computer algorithm
     5        A. 581.                                       5   system that was put in place primarily because
     6        Q. Suspicious Order Monitoring. It            6   of you when you came to be the manager,
     7   states, In order to identify anomalous sales       7   correct?
     8   activity, an overall process of reviewing all      8        A. Correct.
     9   sales orders is conducted by the DEF OPS.          9        Q. And that was what you thought was
    10            Right?                                   10   an improvement, more robust system to try to
    11        A. Yeah.                                     11   help find suspicious orders, correct?
    12            Actually, it's probably easier if I      12        A. Correct.
    13   just read it and --                               13        Q. Okay. If you go down a little bit,
    14        Q. That's okay. I want to read it for        14   it says, DEF OPS sifts through approximately
    15   the jury, and then I'll follow up and ask you     15   10,000 monthly order line items --
    16   questions. Okay?                                  16            Do you see that?
    17            MR. HAMMOUD: Can you give him a          17        A. Yes.
    18        second to read it --                         18        Q. -- and automatically releases
    19            THE WITNESS: Yeah.                       19   approximately 95 percent of the orders that fit
    20            MR. CARTMELL: Oh, I'm sorry.             20   a customer's normal ordering pattern.
    21            MR. HAMMOUD: -- for himself?             21            Do you see that?
    22   BY MR. CARTMELL:                                  22        A. Yes.
    23        Q. Oh, I'm sorry. I thought you meant        23        Q. And that's, I take it, consistent
    24   you'd rather me not read it.                      24   with your memory of DEF OPS at this time, in
                                                Page 319                                               Page 321
     1       A. Oh, no, no. You can -- yeah.                1   2015.
     2       Q. Go right ahead.                             2        A. It's worded not the best, but Itai
     3           THE WITNESS: I just want to read           3   is not a native English speaker.
     4       it first, yeah.                                4        Q. Okay. And I want to make a point
     5           (Reviewing documents.)                     5   or ask a question here.
     6           Okay, I'm good.                            6           We saw from Mr. Buzzeo's report
     7   BY MR. CARTMELL:                                   7   about the SORDS previous computer algorithm,
     8       Q. So the internal audit, one of the           8   and it made a statement that at that time,
     9   things that was done was to take a look at your    9   SORDS, in 2012, was only pending or flagging --
    10   suspicious order monitoring program that was in   10   what was it? -- 10 orders a week?
    11   place, correct?                                   11           MR. HAMMOUD: Objection. Asked and
    12       A. Correct.                                   12        answered.
    13       Q. And to assess whether or not that          13           THE WITNESS: Correct.
    14   was putting your company, Teva, at risk,          14   BY MR. CARTMELL:
    15   correct?                                          15        Q. That would be 40 a month, wouldn't
    16       A. Correct.                                   16   it?
    17       Q. Okay. And so Mr. Rigbi came in and         17           MR. HAMMOUD: Objection.
    18   had interviews with you and, I think, Colleen     18           THE WITNESS: I've never seen the
    19   McGinn and several other individuals within       19        numbers, but I won't dispute it.
    20   your department, correct?                         20   BY MR. CARTMELL:
    21       A. Correct.                                   21        Q. Right. And all I was doing was
    22       Q. It states, In order to identify            22   simple math --
    23   anomalous sales activity, an overall process of   23        A. Yeah.
    24   reviewing all sales orders is conducted by the    24        Q. -- that if it's 10 a week that are

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     1   being flagged as potentially suspicious and        1        Q. And your new system, DEF OPS, if
     2   there's four weeks in a month, then you have 40    2   this is correct, was pending or flagging
     3   a month. Correct?                                  3   approximately 500 a month, correct?
     4        A. Which is why I'm not disputing that        4            MR. HAMMOUD: Objection. Asked and
     5   at all.                                            5        answered multiple times.
     6        Q. Okay. So SORDS, up until 2012,             6            THE WITNESS: Multiple times, yes.
     7   according to the documents, was pending or         7   BY MR. CARTMELL:
     8   flagging approximately 40 a month, and your new    8        Q. Okay. And so we know that DEF OPS,
     9   system, DEF OPS, is flagging approximately         9   when compared to SORDS, or SORDS 1 at least,
    10   10,000 a month?                                   10   was flagging or pending a lot more potentially
    11        A. No, not flagging. Approximately           11   suspicious orders than had been done at Teva
    12   10,000 order lines were going through the         12   previously, correct?
    13   system, and about 5 percent of those were being   13            MR. HAMMOUD: Objection. Object to
    14   flagged for manual investigation.                 14        the form.
    15        Q. Okay. I apologize. I used the             15            THE WITNESS: That is correct.
    16   wrong figure to do the math.                      16   BY MR. CARTMELL:
    17        A. I do that all the time.                   17        Q. And is that some evidence to you,
    18        Q. That's all right.                         18   as you've said, that this was a better system
    19            So of the 10,000 monthly orders          19   that you put in place for the suspicious order
    20   that are coming through, approximately 95 of      20   monitoring algorithm?
    21   those just sail through the system, and they're   21            MR. HAMMOUD: Object to the form.
    22   not pended or flagged, correct?                   22            THE WITNESS: I would hope. I
    23        A. Correct.                                  23        would hope.
    24            MR. HAMMOUD: Objection.                  24   BY MR. CARTMELL:
                                               Page 323                                               Page 325
     1   BY MR. CARTMELL:                                   1        Q. Okay. It then states, The 5
     2         Q. The 5 percent -- the remaining            2   percent are manually checked and placed on hold
     3   5 percent of the orders that did not pass that     3   until they will be rechecked by trained team
     4   are pended or flagged, correct?                    4   members of suspicious order monitoring, and
     5         A. Correct.                                  5   then the release is enabled.
     6         Q. And 5 percent, I think, of 10,000         6           Right?
     7   is -- what? -- 500?                                7        A. Correct.
     8         A. Yes.                                      8        Q. Okay. And just so the jury
     9            MR. HAMMOUD: Object to the form.          9   understands, that means 10,000 orders are
    10   BY MR. CARTMELL:                                  10   coming through; 5 percent, or 500 of those,
    11         Q. Okay. And so of note is that when        11   typically, on average, are going to be flagged
    12   we talked previously about the SORDS algorithm    12   as potentially suspicious.
    13   that was in place in 2012, it was noted by the    13           Those are put on hold, and then you
    14   consultant expert that SORDS, that algorithm,     14   and your one other individual in your
    15   was only flagging or pending approximately 10     15   department who reports to you would further
    16   orders a week, correct?                           16   investigate those to decide whether or not to
    17         A. Correct again.                           17   release the hold and let the opioids ship or
    18         Q. And if my math is right, that would      18   whether or not they were suspicious and --
    19   be approximately 40 pended or flagged orders a    19        A. Well, controlled substance,
    20   month, correct?                                   20   because --
    21         A. Correct.                                 21           MR. HAMMOUD: Object to the form.
    22            MR. HAMMOUD: Objection. Asked and        22           THE WITNESS: And, again to
    23         answered.                                   23        clarify, this is all controlled
    24   BY MR. CARTMELL:                                  24        substances, not just opioids.

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     1   BY MR. CARTMELL:                                   1        A. Yes.
     2        Q. Okay. So the 5 percent, or 500,            2        Q. And many of those, I've seen from
     3   you and one other individual would investigate     3   the documents, they're only held as potentially
     4   those controlled substances to determine           4   suspicious and then released within a matter of
     5   whether or not those should be held and not        5   minutes, correct?
     6   actually shipped to the customer because           6           MR. HAMMOUD: Object to the form.
     7   they're suspicious, right?                         7           THE WITNESS: Can be.
     8        A. Correct.                                   8   BY MR. CARTMELL:
     9        Q. Okay. It then states, The SOM unit         9        Q. In fact, that's a large number of
    10   investigates approximately 15 customers a         10   them, correct?
    11   month.                                            11        A. Oh, yes, mm-hmm.
    12            Do you see that?                         12        Q. And then those final 25, of those,
    13        A. Yes.                                      13   within the last year, there had only been two
    14        Q. And that would be the investigation       14   that were found to be suspicious orders,
    15   done by you and one other individual; is that     15   correct?
    16   right?                                            16        A. That is correct.
    17        A. Well, that would be an inquiry to         17        Q. Okay. And this is in 2015,
    18   the customer, which could be through customer     18   correct?
    19   service.                                          19        A. Correct.
    20        Q. Okay. Explain what you mean by            20        Q. So if my math is right, you're
    21   that. In other words, if you have an order        21   going to have in a single year 120,000 orders
    22   that is being held because it's potentially       22   for opioids, correct?
    23   suspicious of these 500, if there's going to be   23        A. No.
    24   a discussion with the actual customer, Teva's     24           MR. HAMMOUD: Objection.
                                                Page 327                                              Page 329
     1   customer, was the policy at Teva that the          1   BY MR. CARTMELL:
     2   customer service individual was the one who        2        Q. 120,000 line orders; is that right?
     3   would have that contact with the client?           3           MR. HAMMOUD: Object to the form.
     4        A. The initial contact, yes.                  4        Mischaracterizes prior testimony.
     5        Q. Okay. And that individual from             5           THE WITNESS: Controlled
     6   customer service, as we discussed, is somebody     6        substances.
     7   who is involved in discussing sales with the       7   BY MR. CARTMELL:
     8   clients, correct?                                  8        Q. I'm sorry. Let me start over. I'm
     9        A. Correct.                                   9   dense.
    10        Q. It then says, From a total share of       10           If my math is right, then based on
    11   delayed orders, only a small quantity are         11   this, your department is going to have 120,000
    12   delayed for more than one day (approximately 25   12   orders of controlled substances, including
    13   orders a month).                                  13   opioids, in a year, correct?
    14            Do you see that?                         14        A. Yes.
    15        A. Yes.                                      15        Q. And of those in a year, do you
    16        Q. So of the 500 orders that might, on       16   believe, on average, the number of those that
    17   average, be held and flagged as potentially       17   are found to be suspicious is two?
    18   suspicious, about 25 of those are held longer     18        A. Yes.
    19   than one day; is that right?                      19        Q. It then states, The manual testing
    20        A. Correct. At the time, I'm sure            20   process for the segment of suspicious orders
    21   that's an accurate number.                        21   and the release of approximately 5 percent of
    22        Q. So you're completing all your             22   them is conducted by one person who has the
    23   investigations on almost all of those 500,        23   authority to change the status of the orders
    24   approximately 475 of them, within one day?        24   from hold to release.

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     1           Do you see that?                           1        A. Yes.
     2        A. Yes.                                       2        Q. And it states that only one person
     3        Q. So if I understand that correctly,         3   who -- had the authority to change the status
     4   does that mean that there is only one person in    4   of the orders from hold to release.
     5   the department that, after the investigations      5           Do you see that?
     6   of those orders that are thought to be             6        A. Yes.
     7   potentially suspicious, can make the decision      7        Q. And is that true? In 2015, there
     8   on whether or not to release those and ship the    8   was only one person who could change the status
     9   orders of opioids or controlled substances or      9   of these potentially suspicious orders from
    10   decide that they're suspicious and stop that      10   hold to release?
    11   shipment?                                         11           MR. HAMMOUD: Objection. Asked and
    12           MR. HAMMOUD: Object to the form.          12        answered.
    13           THE WITNESS: Yes, it can be.              13           THE WITNESS: And that's the
    14   BY MR. CARTMELL:                                  14        procedure in 2018 as well.
    15        Q. Well, it is just one person at this       15   BY MR. CARTMELL:
    16   time, right?                                      16        Q. Okay. Do you agree with the
    17        A. Well, in terms of a deeper                17   internal audit that says, Granting the
    18   investigation into a controlled substance, it     18   exclusive authority to a single person to
    19   involves multiple people.                         19   release a suspicious order constitutes a risk
    20        Q. But I'm not asking about the              20   for mistakes?
    21   investigation. I'm asking about the ultimate      21        A. No.
    22   decision on whether or not to ship the            22        Q. You disagree with this audit?
    23   controlled substances, including opioids.         23        A. I disagree with -- yeah, I disagree
    24           That decision on who will make the        24   with this audit.
                                               Page 331                                                Page 333
     1   decision either release the opioids into the       1        Q. And this was your department that
     2   community, even though they were tagged            2   was being criticized here, correct?
     3   originally as potentially suspicious, or hold      3        A. Yes, yes.
     4   those and not ship those, that -- at this time,    4        Q. You take a lot of pride in your
     5   in 2015, that decision rested with one             5   department, I take it.
     6   individual, correct?                               6           THE WITNESS: Well, I hope so.
     7           MR. HAMMOUD: Object to the form.           7           MR. HAMMOUD: Objection to the
     8        Asked and answered.                           8        form.
     9   BY MR. CARTMELL:                                   9           THE WITNESS: Well, I hope so.
    10        Q. The final decision.                       10   BY MR. CARTMELL:
    11        A. Yeah, and are you saying that for         11        Q. This identifies the potential risk,
    12   all orders that we investigated, that only one    12   if you look at the next column, False approval
    13   person was making the decision?                   13   and release of suspicious sales orders.
    14        Q. No. I'm talking about the decision        14           Do you see that?
    15   related -- whether or not to hold or release.     15        A. Yes.
    16        A. The ultimate decision?                    16        Q. And, again, that's talking about
    17        Q. The ultimate decision.                    17   the potential that there are suspicious orders
    18        A. No, that's not one person. There's        18   that Teva, as a company, is missing and going
    19   one person clicking a button.                     19   ahead and releasing those into the community,
    20        Q. It says, Granting exclusive               20   correct?
    21   authority to a single person to release a         21        A. No.
    22   suspicious order constitutes a risk for           22           MR. HAMMOUD: Object to the form.
    23   mistakes.                                         23           THE WITNESS: No.
    24           Do you see that?                          24   BY MR. CARTMELL:

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     1        Q. This risk -- let me restate it.            1   moderate risk, as defined here, this finding
     2           This risk, where it says, False            2   about the suspicious order monitoring program?
     3   approval and release of suspicious sales           3        A. No.
     4   orders, what does that mean to you?                4        Q. You disagree with Mr. Rigbi's
     5        A. I can tell you what my conversation        5   findings, correct?
     6   with Itai was.                                     6        A. With the finding as written here,
     7        Q. Really, what I want to hear is             7   yes. And I'm trying to find where that was.
     8   what -- Mr. Rigbi's statement, where he says,      8        Q. Why was it that even though the
     9   False approval and release of suspicious sales     9   internal audit found this to be a moderate risk
    10   orders -- is the risk associated with this        10   and that could lead to the false approval and
    11   finding of your department.                       11   release of suspicious sales orders by only
    12        A. And what he was talking about was         12   having one individual who was pushing that
    13   the final click of the button to release, that    13   button, as you say -- why is it that you
    14   he wanted two people there to witness the click   14   decided not to have additional individuals, as
    15   of the final button.                              15   suggested, to be involved in that process?
    16        Q. Your testimony is that there could        16        A. Well, they are involved in the
    17   be false -- mistakes, he was saying, if only      17   process. I'm talking the actual physical
    18   one person was pushing a button that went from    18   clicking of the button. That's what this was
    19   hold to release on an order?                      19   discussing.
    20           MR. HAMMOUD: Object to the form.          20        Q. I understand.
    21        Asked and answered.                          21           Why is it that even though the
    22           THE WITNESS: That's exactly what          22   internal found that that could be a risk of
    23        I'm saying.                                  23   you-all going ahead and missing a suspicious
    24   BY MR. CARTMELL:                                  24   order or sending out a suspicious order that
                                               Page 335                                               Page 337
     1         Q. And he, Mr. Rigbi, when he did the        1   should be held -- why is it that you decided
     2   internal audit, categorized this risk as           2   not to adopt the recommendation and change the
     3   moderate; is that correct?                         3   practice?
     4         A. Correct.                                  4            MR. HAMMOUD: Object to the form.
     5         Q. If you look at the last page,             5            THE WITNESS: We felt it was
     6   there's a description of what a moderate risk      6        unnecessary, that there wasn't a risk of
     7   is; is that correct?                               7        accidentally shipping a suspicious order
     8         A. Yes.                                      8        through the process of one person
     9         Q. And it states, This is an internal        9        clicking the button.
    10   control or risk management issue that could       10   BY MR. CARTMELL:
    11   lead to financial losses; loss of controls        11        Q. Has there been any additional
    12   within the organizational entity or process       12   audits or follow-up audits of your department,
    13   being audited; reputation damage, such as         13   the DEA department, since this 2015 internal
    14   negative publicity or local or regional media;    14   audit?
    15   adverse regulatory impact, such as public         15        A. Our legal department instituted an
    16   sanctions or immaterial fines, adverse            16   audit that's under -- that's privileged.
    17   regulatory -- or excuse me.                       17        Q. When did that start?
    18            It then states, As a moderate risk       18        A. That was last month, I believe, or
    19   issue, timely management attention is             19   the month before.
    20   warranted. The finding should be reported to      20        Q. Have you received the results of
    21   the audit committee as necessary.                 21   that audit?
    22            Do you see that?                         22        A. Yes.
    23         A. Yes.                                     23        Q. Was that audit done in anticipation
    24         Q. And do you agree that this was a         24   of any sort of DEA investigation?

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     1       A. No.                                         1        Q. Okay. It's your understanding that
     2          MR. HAMMOUD: Objection to the               2   this was a confidential internal audit?
     3       form.                                          3        A. I would assume.
     4   BY MR. CARTMELL:                                   4            (Exhibit Teva-Tomkiewicz-015 marked
     5       Q. Do you know why that audit was              5        for identification and attached to the
     6   done?                                              6        transcript.)
     7          MR. HAMMOUD: Objection to the               7   BY MR. CARTMELL:
     8       form.                                          8        Q. I'm handing you what has been
     9          THE WITNESS: Because since this             9   marked as Exhibit 15. And I'll represent to
    10       internal audit, there was no audit of         10   you, sir, that this was a PowerPoint
    11       the program done.                             11   presentation that was produced to the
    12   BY MR. CARTMELL:                                  12   plaintiffs in this lawsuit by Teva from their
    13       Q. Why was it that the next audit that        13   internal files. Okay?
    14   was done was done by the legal department?        14        A. Yes.
    15          MR. HAMMOUD: Objection to the              15        Q. And it looks like this is a
    16       form.                                         16   PowerPoint presentation that you gave in 2017.
    17          THE WITNESS: You have to ask the           17   Is that right?
    18       legal department.                             18        A. Yes.
    19   BY MR. CARTMELL:                                  19        Q. This was created by you, correct?
    20       Q. Was the process of the audit that          20        A. Yes.
    21   was undertaken by the legal department the same   21        Q. And kept by you in the course of --
    22   process that Mr. Rigbi undertook?                 22   ordinary course of your employment at Teva?
    23          MR. HAMMOUD: Objection to the              23        A. Yes.
    24       form.                                         24        Q. Okay. Who did you give this
                                               Page 339                                              Page 341
     1           THE WITNESS: No.                           1   presentation to?
     2   BY MR. CARTMELL:                                   2        A. To our internal DEA compliance
     3        Q. What was the difference?                   3   team.
     4        A. It was much more extensive.                4        Q. Would that be all of the 16 or 17
     5        Q. Okay. And has the result of that           5   employees that you have in that department?
     6   actually come out yet?                             6        A. I think the number is less now, but
     7        A. Yes.                                       7   yes, it would be the entire DEA compliance
     8        Q. Okay. When did they come out?              8   team.
     9        A. That was a couple weeks ago.               9        Q. Has the number of DEA compliance
    10        Q. Was the audit at the request of           10   employees at Teva decreased recently?
    11   legal?                                            11           MR. HAMMOUD: Object to the form.
    12        A. Yes.                                      12           THE WITNESS: Yes.
    13        Q. Okay. And who was involved in that        13   BY MR. CARTMELL:
    14   audit, other than the lawyers for the company?    14        Q. How so?
    15        A. Me, Colleen McGinn, Matt Benkert, I       15        A. We had an overall reduction in head
    16   think Tim Aleman, and Sarah Everingham.           16   count, and we lost some people.
    17        Q. Now, this 2015 internal audit that        17        Q. When did that occur?
    18   we just went through that had the findings --     18        A. Oh, maybe a year ago, close to a
    19   high risk findings related to the DEA             19   year ago, approximately.
    20   department and the moderate risk findings         20        Q. Sometime in 2017?
    21   related to the suspicious order monitoring        21        A. It could have been, yes.
    22   program, this was internal in nature, and these   22        Q. And how many people from the DEA
    23   findings were not provided to the DEA, correct?   23   compliance department actually were lost in
    24        A. Not that I know of.                       24   that downsizing?

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     1        A. I think it may have been two or            1   some of the opioids that Teva sells and
     2   three.                                             2   contributes distributes, correct?
     3        Q. So is your best guess, as you sit          3            MR. HAMMOUD: Object to the form.
     4   here today, that the size of the DEA compliance    4            THE WITNESS: Certainly. That's a
     5   department is now somewhere around 12 or 13 or     5        fair assessment.
     6   14?                                                6   BY MR. CARTMELL:
     7        A. No. I don't know how many people,          7        Q. Why is it that you present that
     8   because we had increased. Then we lost people.     8   slide to your team?
     9        Q. What's your best guess?                    9        A. Because I want them to be aware of
    10        A. Could be about the same. Maybe 14,        10   the risks of not having a good program.
    11   maybe 15, maybe 16.                               11        Q. "The risks," are you saying the
    12        Q. Okay. If you turn to page --              12   risks associated with not having a good
    13   strike that.                                      13   suspicious order monitoring program?
    14            This presentation you gave is in         14        A. Correct, not being vigilant in what
    15   2017; is that right?                              15   we do, not being effective in what we do.
    16        A. Yes.                                      16   Certainly.
    17        Q. Do you remember when approximately        17        Q. And what do you mean by that? In
    18   in 2017?                                          18   other words, are you saying to them that if
    19        A. I think it was towards the end of         19   we're not vigilant, we can contribute to,
    20   2017.                                             20   actually, the number of deaths that occur --
    21        Q. If you turn to the internal page,         21        A. That's exactly what I'm saying.
    22   the very next page, which is the first page of    22            MR. HAMMOUD: Object to the form.
    23   your presentation, it states, SOM, suspicious     23   BY MR. CARTMELL:
    24   order monitoring. And then you have a graph       24        Q. Go ahead.
                                               Page 343                                               Page 345
     1   that you provide. It's titled Overdose Deaths      1        A. That's exactly what I'm saying.
     2   Involving Opioids, United States, 2000-2015.       2        Q. Okay. So you're trying to impress
     3           Do you see that?                           3   on your team that's involved in suspicious
     4        A. Yes.                                       4   order monitoring that you have to be very
     5        Q. Okay. And if I'm reading this              5   diligent and do the very best you can to
     6   correctly, the very top line, titled Any           6   identify all suspicious orders and investigate
     7   Opioid, is a line that shows a rapidly             7   those and not let those orders get to the
     8   increasing number of overdose deaths in the        8   streets, fair?
     9   United States between 2000 and 2015 from all       9            MR. HAMMOUD: Object to the form.
    10   opioids, whether prescription or not, correct?    10            THE WITNESS: It's an odd way of
    11        A. I would say an increasing line,           11        saying it.
    12   yes.                                              12            But generally, what I'm saying is
    13        Q. Okay. And then the second line            13        that this is how important I take this
    14   increases -- I don't want to put words in your    14        business and what I'm doing and -- in
    15   mouth, but -- pretty substantially from 2000      15        identifying things that are suspicious,
    16   through 2011, goes down a little bit in '12 and   16        identifying customers that are
    17   seems to be increasing a little after that. Is    17        suspicious.
    18   that right?                                       18            Because if I'm not vigilant and I
    19        A. I would say that it appears more          19        don't stand up strong for what I do
    20   flat. There does show a slight increase           20        within the company, people are going to
    21   between 2013 and 2015, but that's still down      21        die.
    22   from 2011.                                        22            And, additionally, if I have an
    23        Q. Okay. And that line would indicate        23        ineffective program, one that goes the
    24   the opioids that are prescribed opioids like      24        other way wrong, then I have people with

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     1        cancer, people in hospice, who are            1   years now, opioids that have been shipped from
     2        sitting in pain.                              2   manufacturers and distributors have ended up in
     3   BY MR. CARTMELL:                                   3   pharmacies that have then filled prescriptions
     4        Q. And I mentioned the opioids being          4   of those opioids to patients who are addicted
     5   shipped by your company and others getting to      5   to opioids, correct?
     6   the streets, but it's not just getting to the      6           MR. HAMMOUD: Objection to the
     7   streets. It's actually, if you miss suspicious     7        form. Vague.
     8   orders that are diverted ultimately, it's          8           THE WITNESS: Oh, I'm certain.
     9   getting to actual patients, correct?               9   BY MR. CARTMELL:
    10            MR. HAMMOUD: Object to the form.         10        Q. Okay. And you also know from your
    11   BY MR. CARTMELL:                                  11   experience that if that happens from time to
    12        Q. Addicted patients.                        12   time, as you showed in the chart on the
    13        A. Addicted patients?                        13   previous page and that is being shown the to
    14            MR. HAMMOUD: Object to the form.         14   the jury, those addicted patients can overdose?
    15   BY MR. CARTMELL:                                  15           MR. HAMMOUD: Object to the form.
    16        Q. Let me strike that and restate it.        16           THE WITNESS: Any patient can
    17            I mentioned that one of the risks        17        overdose.
    18   is that if you don't have a really effective      18   BY MR. CARTMELL:
    19   and good suspicious order monitoring program in   19        Q. Okay. That's my --
    20   place -- that one risk of that is that you'll     20        A. Not just addicted. Any patient can
    21   miss suspicious orders, and the opioids will be   21   overdose.
    22   shipped and get to the streets.                   22        Q. That's my only point. We can move
    23            Do you remember me saying that?          23   on.
    24            MR. HAMMOUD: Object to the form          24           If you turn to the next page, this
                                               Page 347                                               Page 349
     1        again.                                        1   is your slide prepared by you in 2017, and this
     2            THE WITNESS: Oh, I don't remember         2   actually has the suspicious orders that Teva
     3        you saying that, but that's a fair            3   had reported to the DEA since you arrived as
     4        assessment of missing a suspicious            4   the manager of the suspicious order monitoring
     5        order.                                        5   program; is that correct?
     6   BY MR. CARTMELL:                                   6         A. Correct.
     7        Q. And what I was saying was just             7         Q. And so we know that the first year
     8   clarifying that -- and maybe it's not well said    8   that you were there --
     9   and an odd way to say it, as you said, but --      9            And this -- the first year was
    10   the risk is also not only getting to the          10   during a time that you were working on sort of
    11   streets, but the risk is that it gets to --       11   revamping and improving the process, correct?
    12   from diverters to addicted patients, correct?     12         A. Correct.
    13            MR. HAMMOUD: Object to the form.         13         Q. You were putting in place --
    14            THE WITNESS: Getting from -- I'm         14         A. Well, I shouldn't limit it, because
    15        not sure what you mean by an "addicted       15   I always want to continuously improve.
    16        patient," "from a diverter to an             16         Q. Right.
    17        addicted patient." I'm not --                17            But you were new at that point and,
    18   BY MR. CARTMELL:                                  18   as you discussed, that's the time when you had
    19        Q. You don't know what that means?           19   said when you were being hired -- and they told
    20        A. I have no clue.                           20   you they were going to let you improve and make
    21        Q. Okay. Well, you know, from your           21   it a better, more robust suspicious order
    22   research and investigation that you did at Teva   22   monitoring program, correct?
    23   and you did before that at AmerisourceBergen,     23            MR. HAMMOUD: Objection to the
    24   that all over the United States, for several      24         form. Mischaracterizes prior testimony.

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     1   BY MR. CARTMELL:                                   1        A. Correct.
     2        Q. You can answer.                            2        Q. That's true even though you came
     3        A. I would say I was brought in to            3   from AmerisourceBergen, where you were
     4   improve the program.                               4   reporting hundreds of suspicious orders
     5        Q. Okay. And so during that year,             5   monthly, correct?
     6   2014, your company, Teva, reported one             6        A. That is correct.
     7   suspicious order; is that correct?                 7        Q. Okay. And then in 2017, you report
     8        A. Correct.                                   8   that your company had reported 18 suspicious
     9        Q. Okay. During 2015, your company            9   orders so far; is that right?
    10   reported four, correct?                           10        A. That is correct.
    11        A. Correct.                                  11        Q. And, again, you don't recall
    12        Q. And, again, we know that during           12   specifically when during the year this was
    13   these years, Teva was getting thousands and       13   done; is that right?
    14   thousands -- over a hundred thousand orders for   14        A. Correct. It was towards the end of
    15   controlled substances, correct?                   15   the year.
    16        A. Correct.                                  16        Q. Okay. And so there was a definite
    17        Q. Okay. And then in 2016, the year          17   uptick in the numbers of suspicious orders that
    18   after the audit we just talked about, the         18   you had found at that point?
    19   internal audit, the suspicious order monitoring   19        A. Correct.
    20   program at Teva didn't report a single            20           MR. HAMMOUD: Object to the form.
    21   suspicious order, correct?                        21   BY MR. CARTMELL:
    22        A. Correct.                                  22        Q. Okay. And what is your
    23        Q. If we just look at those three            23   understanding of why, all of a sudden, in that
    24   years -- strike that.                             24   one year, you had found three times as many
                                                Page 351                                              Page 353
     1            And we know, from what you've seen        1   suspicious orders as you had found in the prior
     2   previously as we've talked today, that in 2012     2   five years at Teva?
     3   and before, they had not reported a single         3         A. Well, a couple reasons. One, seen
     4   suspicious order to the DEA, correct?              4   a pattern in drug abuse had shifted. There
     5        A. That's correct.                            5   were some additional products that abusers were
     6        Q. And you said there was one in 2013,        6   seeking out, one of which is a noncontrolled
     7   correct?                                           7   substance called gabapentin. Which, when we
     8        A. I believe so, yes.                         8   saw suspicious orders for that product, we
     9        Q. So if we add that up from 2012 to          9   still reported them as suspicious, and so
    10   2016 -- and we'll talk about '17 in a minute --   10   they're in that 18 number.
    11   that's one, two, three, four -- five years and    11            We also had some customers --
    12   six suspicious orders over those five years,      12   potential new customers due to bringing on some
    13   correct?                                          13   additional business that we terminated and
    14        A. Correct.                                  14   reported their orders as suspicious.
    15        Q. And we know from the internal             15            And those particular customers, by
    16   audit, if the numbers are accurate, that --       16   the way, are still licensed in the states in
    17   120,000 orders a year. So if we do that           17   which they do business, and they're still
    18   multiplication times five, that's 600,000         18   registered with the DEA. But we felt that they
    19   orders, correct?                                  19   were not of a good risk for Teva to do business
    20        A. Certainly.                                20   with, so we terminated their ability to
    21        Q. And out of that 600,000 orders            21   purchase controlled substances for them.
    22   during the five years from 2012 to 2016, there    22            Some of those customers had placed
    23   were only six of those that were found to be      23   orders after the termination, attempted to
    24   suspicious by your company, correct?              24   place orders for those products, and we

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     1   reported those as suspicious as well.             1   of those, or was it held in all of those?
     2            Additionally, there was a couple         2           MR. HAMMOUD: Objection. Asked and
     3   potential new customers that tried coming on      3        answered. And then objection to the
     4   board and placing orders before being approved    4        form.
     5   that, ultimately, we denied them, and we          5           THE WITNESS: Didn't ship any of
     6   reported those orders as suspicious as well.      6        them.
     7        Q. Okay. Of these 18 suspicious              7   BY MR. CARTMELL:
     8   orders that you reported to the DEA in 2017,      8        Q. Okay. What were the names of the
     9   did you ship the actual opioids out in any of     9   customers that you say in 2017 were new and
    10   those?                                           10   that you reported to the DEA?
    11            MR. HAMMOUD: Object to the form.        11        A. EMED, DV Medical, Associated
    12            THE WITNESS: And not just opioids       12   Pharmacies, Inc., and I believe Rochester Drug
    13        but other controlled substances and one     13   Corporation -- or Co-op. Not Corporation.
    14        noncontrolled substance. And we did not     14   Co-op. I believe those are they.
    15        ship any of those.                          15        Q. And is it true that of those 18
    16   BY MR. CARTMELL:                                 16   reports that you made in 2017, 12 of those
    17        Q. How many of the 18 reports dealt         17   reports made to the DEA were reports on
    18   with opioid -- suspicious opioid orders?         18   Rochester Drugs?
    19        A. Couldn't tell you offhand.               19        A. Could have been. Could have been.
    20   Couldn't tell you offhand.                       20        Q. And did any of the other reports
    21        Q. Do you have any idea?                    21   that you made in '17 -- were there multiple
    22        A. I know there were some in there,         22   reports for a single customer?
    23   but I couldn't tell you offhand.                 23        A. Could have been. Could have been.
    24        Q. Can you guesstimate?                     24        Q. Do you remember who it was that you
                                               Page 355                                              Page 357
     1        A. No, I can't guesstimate.                  1   reported to the DEA, which customers it was, in
     2           MR. HAMMOUD: Objection. Asked and         2   2015?
     3        answered.                                    3         A. In 2015, I want to say Osborne
     4   BY MR. CARTMELL:                                  4   Drugs and, possibly, Richie Pharmacal.
     5        Q. There's documents that would tell         5         Q. What was the reason for those
     6   us that, correct?                                 6   reports?
     7        A. You have the reports, yeah.               7         A. Felt the orders were suspicious.
     8        Q. There would be reports from the           8         Q. What were the drugs involved?
     9   DEF OPS system?                                   9         A. Don't remember.
    10        A. No. The actual copies of the             10         Q. Were they opioids; do you know?
    11   reports that I've sent to the local office.      11         A. Don't remember.
    12        Q. Oh, you're talking about the             12            MR. HAMMOUD: Objection.
    13   reports that you actually sent to --             13   BY MR. CARTMELL:
    14        A. DEA.                                     14         Q. If you go to the next page of your
    15        Q. -- the local Philadelphia --             15   2017 presentation to your team, there's what's
    16        A. Yes.                                     16   listed as a Red Flags, and it gives the Jones
    17        Q. -- DEA administration office?            17   Total Health Care Pharmacy and SND Health Care
    18        A. Yes.                                     18   Decision and Order. Tell us about that.
    19        Q. Okay. And are those -- a copy of         19         A. This was a piece that I used to
    20   those reports kept at Teva in your files?        20   explain how if we have red flags on one of our
    21        A. Yes.                                     21   orders, I won't -- our department won't allow
    22        Q. Okay. Any of the 18 controlled           22   it to be shipped until any red flags are
    23   substance reports that you made to the DEA in    23   satisfied.
    24   2017, was the product actually shipped in any    24         Q. Any and all red flags?

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     1        A. Any and all.                               1         A. That is correct.
     2        Q. I want to ask you about that.              2         Q. They provide the sales services to
     3   That's the policy that you're talking about for    3   the clients or the customers, correct?
     4   DEA holds at Teva; is that true?                   4         A. I don't know exactly what services
     5        A. Correct.                                   5   they provide, but I won't dispute that.
     6            (Exhibit Teva-Tomkiewicz-016 marked       6         Q. Okay. It then says, Customer
     7        for identification and attached to the        7   service will contact the customer to request
     8        transcript.)                                  8   the reason for the increase/change in ordering
     9   BY MR. CARTMELL:                                   9   pattern.
    10        Q. I'm going to hand you what's been         10            Do you see that?
    11   marked as Exhibit 16, which is a 2018 standard    11         A. Yes.
    12   operating procedure for Suspicious Order          12         Q. And that's the policy, that if
    13   Monitoring - DEA Order Holds.                     13   there's going to be contact with a customer,
    14            You're familiar with that policy, I      14   it's not going to be a DEA compliance
    15   take it.                                          15   individual who is going to make that contact
    16        A. Yes.                                      16   with the customer; it's going to be somebody
    17        Q. And if you wouldn't mind turning to       17   from the customer service sales department who
    18   page 3 of 8.                                      18   does that, correct?
    19            This talks about the process in          19         A. Correct.
    20   place as far as holding orders of controlled      20            MR. HAMMOUD: Object to the form.
    21   substances like opioids and other controlled      21   BY MR. CARTMELL:
    22   substances as of 2018, I believe.                 22         Q. Is that correct?
    23            This is a 2018 policy. Do you see        23         A. That is correct.
    24   that?                                             24         Q. And it says, Questions posed by
                                               Page 359                                              Page 361
     1        A. Yes.                                       1   customer service to the customer will be
     2        Q. Okay. And I don't think the policy         2   open-ended.
     3   has ever changed between the time you arrived      3           Do you see that?
     4   in 2014 and this policy. Has it?                   4        A. Yes.
     5        A. Not substantially.                         5        Q. Why is that?
     6        Q. Okay.                                      6        A. Because we don't want to lead the
     7        A. I believe all the changes that I           7   customer as far as what a potential answer
     8   made for 2016 were just clarifying wording.        8   should be.
     9        Q. Okay. If you go to page 3 of 8, it         9        Q. Right. Because if you lead them or
    10   states at 6.2.2, If the order is not consistent   10   give any indication of what they should say
    11   with the customer's previous order history and    11   that's appropriate to have the order released,
    12   there is not a previous explanation from the      12   then your program is not going to work, right?
    13   customer, the DEA compliance team will notify     13        A. That's a fair assessment.
    14   customer service to contact the customer for      14        Q. It then says, Customer service then
    15   clarification about the quantity ordered.         15   forwards that information on to the DEA
    16           Do you see that?                          16   compliance team for review.
    17        A. Yes.                                      17           Right?
    18        Q. And we talked about that. Customer        18        A. Correct.
    19   service, again, is a different department than    19        Q. And if a customer does not
    20   your DEA compliance department, correct?          20   satisfactorily respond to the inquiry, the
    21        A. Correct.                                  21   appropriate sales associate will be contacted
    22        Q. And those individuals in that             22   and instructed to obtain an explanation from
    23   department are usually involved in dealing with   23   the customer.
    24   the customers from a sales standpoint, correct?   24           Do you see that?

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     1         A. Yes.                                      1        to get more product.
     2         Q. So now you're talking to -- strike        2           By flagging them that the DEA
     3   that.                                              3        department is looking at them, that
     4            At this point, we've got an order         4        could be something that could alter
     5   from a customer that's being held because it's     5        someone's pattern if someone were
     6   potentially suspicious, right?                     6        behaving in a nefarious manner.
     7         A. Correct.                                  7   BY MR. CARTMELL:
     8         Q. And you're asking your customer           8        Q. Isn't it true, sir, that one of the
     9   service people, who usually deal with them on      9   reasons why salespeople are the ones who
    10   sales, to get a reason to see whether or not      10   contact the customers to try to get information
    11   it's an adequate reason to release the order,     11   about whether or not the order is suspicious
    12   correct?                                          12   because the salespeople do not want to upset
    13         A. Correct.                                 13   the client and risk losing the sale?
    14            MR. HAMMOUD: Objection to the            14           MR. HAMMOUD: Object to the form.
    15         form. Asked and answered.                   15   BY MR. CARTMELL:
    16   BY MR. CARTMELL:                                  16        Q. Isn't that one of the reasons?
    17         Q. Correct?                                 17           MR. HAMMOUD: Calls for
    18         A. Correct.                                 18        speculation.
    19         Q. If they don't give an adequate           19           THE WITNESS: Well, that could be a
    20   answer to the customer service person, then you   20        definite reason as well, that notifying
    21   send another person in to the customer that's     21        a customer that a DEA investigation into
    22   from sales, correct?                              22        their practices --
    23         A. Correct.                                 23           And if it's something that --
    24         Q. Why doesn't the DEA compliance           24        which, on the most part, we get, you
                                               Page 363                                               Page 365
     1   individuals who have the most knowledge about      1         know, answers that, you know, satisfy,
     2   what diversion of opioids is -- why don't they     2         you know, the red flag that we have
     3   actually contact the client?                       3         raised with the product.
     4           MR. HAMMOUD: Objection to the              4   BY MR. CARTMELL:
     5       form.                                          5         Q. Now, once an order is being held,
     6           THE WITNESS: Well, because if we           6   it's not very difficult to get that hold
     7       were to notify the customer at first           7   cleared, is it?
     8       contact that there is a DEA compliance         8         A. It depends.
     9       issue with their order, that -- if they        9         Q. Look up 6.3, Clearing an Order from
    10       were, say, an unscrupulous customer --        10   Hold, DEA Compliance; An order may be released
    11           And I'm not saying that any of my         11   in Oracle for fulfillment if it meets one or
    12       customers are unscrupulous, because I'd       12   more of the following criteria.
    13       like to say that they are -- from what I      13             So it just has to meet one of these
    14       see, they're generally all above board.       14   criteria, right?
    15           -- that it -- an unscrupulous             15         A. Potentially.
    16       person could then reverse-engineer the        16         Q. It states, The order is within
    17       orders and say, Oh, well, I've been           17   previous purchasing history trends. The order
    18       ordering this much, and it's -- and it        18   has not exceeded all usual and customary
    19       flagged their system. So next time, I'm       19   trends.
    20       going to change my ordering pattern,          20             Do you see that?
    21       reduce my orders in order to try to get       21         A. Yeah.
    22       other orders through; may look for an         22         Q. Total orders received are not more
    23       additional supplier to supplement, you        23   than 10 percent over their usual and customary
    24       know, that particular product in order        24   limits. The customer provides a reasonable

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     1   explanation for the increase in orders.            1   Affairs; Senator Claire McCaskill on the opioid
     2           Do you see that?                           2   epidemic: pharma.
     3        A. Yep.                                       3           Quote -- it states, pharma --
     4        Q. So all the customer has to do is           4           Meaning pharmaceutical companies,
     5   provide to the salespeople a reasonable            5   right?
     6   explanation, correct?                              6        A. Correct.
     7        A. Yes.                                       7        Q. -- ought to begin looking over
     8        Q. And then the catch-all here for            8   their shoulder.
     9   clearing an order is, Any other relevant data.     9           Do you see that?
    10           Do you see that?                          10        A. Yes.
    11        A. That is correct.                          11        Q. And then down below the picture, it
    12        Q. Okay. So anything that's relevant         12   says, Senator Claire McCaskill says it's time
    13   or determined to be relevant by the company is    13   for pharmaceutical companies to start worrying
    14   a reason for clearing an order that had been      14   about their role in causing the opioid
    15   flagged for being suspicious, correct?            15   epidemic, the deadliest drug overdose crisis in
    16        A. As long as it's a reasonable              16   U.S.
    17   explanation and makes sense with what we know     17           Do you see that?
    18   about the customer, certainly.                    18        A. Yes.
    19        Q. Let's talk a little bit more about        19        Q. And why do you present this to your
    20   your 2017 PowerPoint presentation. And if you     20   team? Is it for the same reason?
    21   turn to page 6, this is a slide having to deal    21        A. For the same reason, that and she
    22   with recent cases.                                22   also wrote an op-ed in the USA Today
    23           And Mallinckrodt is a manufacturer        23   specifically calling out Teva for what she
    24   of opioids; is that correct?                      24   claimed was that we weren't cooperating with
                                                Page 367                                              Page 369
     1        A. Correct.                                   1   her requests for data.
     2        Q. This is a slide that states,               2        Q. And that was because Senator
     3   Mallinckrodt agreed to pay record 35 million       3   McCaskill actually sent a request to Teva's
     4   settlement for failure to report suspicious        4   attorneys asking for specific data to try to
     5   orders of pharmaceutical drugs and for             5   determine whether or not they were complying
     6   recordkeeping violations.                          6   with the Controlled Substances Act and with the
     7           Do you see that?                           7   rules relating to suspicious order monitoring,
     8        A. Yes.                                       8   and the lawyers for Teva refused to provide any
     9        Q. What's the reason why you are              9   of those documents, correct?
    10   presenting this to your DEA compliance team?      10            MR. HAMMOUD: Object to the form.
    11        A. Because one of the requirements           11            I'd also instruct the witness not
    12   that Mallinckrodt had in this settlement was      12        to reveal any privileged communications
    13   that they review chargeback data for -- to do a   13        between him and his lawyers.
    14   retrospective analysis to look for potential      14            THE WITNESS: Again, that's
    15   suspicious orders and report those, if needed.    15        conversations with my attorneys, and I'm
    16   And so that's what I was discussing with this     16        not going to discuss conversations I had
    17   slide.                                            17        with Teva attorneys.
    18        Q. Is this, again, presented to your         18   BY MR. CARTMELL:
    19   team, in part, because you want to reiterate      19        Q. Well, you've seen the letter from
    20   the importance of having a very tight             20   Teva's attorneys to Senator McCaskill, haven't
    21   suspicious order monitoring program?              21   you?
    22        A. That's a very fair assessment.            22        A. No.
    23        Q. If you turn the page, Active              23        Q. You never saw those?
    24   Matters, you present to your team the Current     24        A. No. I --

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     1        Q. The Foley letters?                        1        Q. If you turn to the next page, you
     2        A. No, I haven't seen them.                  2   present to your team in Current Affairs, Meet
     3        Q. Okay. Your next slide, Active             3   60 Minutes' DEA Whistleblower.
     4   Matters, Current Affairs; Attorneys general       4           Do you see that?
     5   from 41 states hit back against opioid-pumping    5        A. Yes.
     6   big pharma firms.                                 6        Q. It states, Why has the country's
     7            Do you see that?                         7   opioid problem become a national emergency? A
     8        A. Yep.                                      8   high-ranking whistleblower from the DEA
     9        Q. Now, all of these cases that you          9   explains how the drug industry -- and
    10   present to your team, like the cases the         10   Congress -- fueled an epidemic.
    11   attorney generals have brought against the       11           Do you see that?
    12   pharmaceutical companies and the other cases,    12        A. Yes.
    13   reflect that the DEA, the federal government,    13        Q. Why do you present that to your
    14   is starting to sort of crack down against the    14   team?
    15   pharmaceutical companies related to whether or   15        A. Because that was, you know, part of
    16   not they are reporting suspicious orders; is     16   current affairs and the view of opioid
    17   that fair?                                       17   manufacturers in the news media.
    18            MR. HAMMOUD: Objection to the           18        Q. It's true, though, you're trying to
    19        form.                                       19   reiterate and impress on your team the
    20            THE WITNESS: Crack down? You mean       20   importance of making sure that they are
    21        that they previously weren't enforcing      21   following the law, correct?
    22        those regulations?                          22        A. Oh, overall, yes.
    23   BY MR. CARTMELL:                                 23        Q. And finding suspicious orders and
    24        Q. Well, as we saw in the previous          24   reporting them to the DEA, correct?
                                               Page 371                                             Page 373
     1   PowerPoint presentation from your department      1        A. That's part of it, yes.
     2   that was in your file, there was thought to be    2        Q. Okay. And at that time, in 2017,
     3   a change in the enforcement by the DEA,           3   after looking at hundreds of thousands of
     4   correct?                                          4   orders, before 2017, the company had only
     5        A. Well, there seemed to be a change         5   reported five ever?
     6   in attitude. I don't know about enforcement.      6        A. That's correct. That's correct.
     7   Is that what you're suggesting, that the DEA      7        Q. I've got to ask you about your last
     8   wasn't enforcing their regulations?               8   slide. I've noticed from your documents that
     9        Q. I'm suggesting that the DEA at some       9   this is your last slide on multiple
    10   point started to ramp up their enforcement       10   presentations that you've given.
    11   against pharmaceutical companies. Is that        11        A. Yes.
    12   consistent with your belief?                     12        Q. And if I'm reading it correctly, it
    13        A. From what I've specifically seen, I      13   says, Don't worry, Everything is going to be
    14   really haven't seen a change in enforcement.     14   amazing. And then it --
    15   I've seen enforcement, but in terms of --        15        A. That's exactly -- yes.
    16   because there's not, you know, that many, you    16        Q. It's got a bunch of, like -- I'm
    17   know, manufacturers of opioids.                  17   guessing those are opioid pills --
    18            You know, one -- you know, one data     18        A. No.
    19   point against, you know, Mallinckrodt is, you    19        Q. -- Teva opioid pills.
    20   know, that's a 100 percent increase in           20            MR. HAMMOUD: Objection to the
    21   enforcement against manufacturers.               21        form.
    22            So is that something that is            22            THE WITNESS: No, they're not
    23   reflective of an increase of enforcement?        23        opioids.
    24   That, I don't know.                              24   BY MR. CARTMELL:
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     1         Q. So I was wrong? Those aren't              1   provided by Teva in this lawsuit from their
     2   opioid pills?                                      2   internal files suggest that in 2018, you have
     3         A. No, they're not opioids.                  3   made one, two, three, four, five, six, seven,
     4         Q. What are those?                           4   eight, nine -- ten suspicious order reports to
     5         A. It's clonazepam.                          5   the DEA on Rochester Drug. Does that seem
     6         Q. And what is that?                         6   right to you?
     7         A. It's an anti-anxiety medication.          7        A. Yes, that sounds about right.
     8         Q. So what do you present -- or what         8        Q. Okay. But you made these orders,
     9   do you mean by this slide that you present         9   actually, after you already knew that there was
    10   multiple times to your team?                      10   an ongoing investigation related to Rochester
    11         A. Oh, that I -- well, it's two             11   Drug, didn't you?
    12   things, because if you notice, a lot of the       12           MR. HAMMOUD: Objection to the
    13   photographs that I've used in presentations       13        form.
    14   have been a lot of pictures of pills and some     14           THE WITNESS: No. We -- I had
    15   illicit drugs.                                    15        terminated sales of controlled
    16            And they're all taken from a single      16        substances to them before we learned
    17   thread on Reddit in about a 15-minute search      17        that there was an investigation into
    18   called, What drugs are you doing this weekend?    18        them.
    19   And these were pictures taken by what appeared    19   BY MR. CARTMELL:
    20   to be abusers of pills.                           20        Q. But in 2018, when you terminated
    21            And some of them look very nice, in      21   those sales, you already knew of that
    22   very nice pictures, and I like to use them to     22   investigation, didn't you?
    23   show, to demonstrate that our product is ending   23        A. No. No. I had terminated sales
    24   up at the street and that we must be vigilant.    24   before -- it was before we learned of the
                                               Page 375                                               Page 377
     1           But we believe we have a very good         1   investigation into them.
     2   program in place and that when we identify a       2        Q. So your testimony under oath is
     3   suspicious order, we take action, when             3   that all of the reports you made on Rochester
     4   appropriate, against the customer and terminate    4   to the DEA based on their suspicious orders
     5   the customer, all of whom are still registered     5   came after --
     6   by DEA and still shipping opioids, by the way,     6        A. No.
     7   but I don't believe that they're appropriate       7        Q. Excuse me.
     8   for Teva to do business with.                      8            -- came before you learned of an
     9           So I believe our program is good.          9   investigation into that entity?
    10   That's what I'm saying here.                      10        A. Oh, no. That's not what I'm saying
    11        Q. How many reports of suspicious            11   at all.
    12   orders have you made to the DEA in 2018?          12        Q. Okay. I think you just told me a
    13        A. Oh, I think it's close to 50.             13   minute ago that you made all those reports --
    14        Q. 50.                                       14        A. No, that's not --
    15           And who are the customers that you        15        Q. -- before you knew.
    16   reported in 2018?                                 16        A. No, that's not what I said. I said
    17        A. In 2018, I've reported Kroger.            17   I stopped selling them controlled substances
    18   I've reported Rochester Drug. I've reported a     18   before I knew.
    19   company called R&S Sales. I have reported         19        Q. Okay. So what you're saying -- I
    20   McKesson.                                         20   guess I misunderstood you. What you're saying
    21           And some of these orders aren't           21   is, every order thereafter, you would not allow
    22   orders that were even identified by the DEF OPS   22   to go through?
    23   system that we've found through other pieces.     23        A. Correct, correct.
    24        Q. Documents that we have been               24        Q. I got you.

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     1            But when you stopped selling them,       1   suspicious orders; is that correct?
     2   at that point in time, you did not know about     2        A. That's my understanding, yes.
     3   the investigation into their sales --             3        Q. Okay. And Teva, before the time
     4        A. Exactly.                                  4   you got there, had chargeback data that they
     5        Q. -- of opioids?                            5   could have used to try to help them identify
     6        A. Exactly.                                  6   suspicious orders, correct?
     7            MR. HAMMOUD: Are we about at a           7        A. That's correct.
     8        good place for a break?                      8        Q. But they chose not to do that; is
     9            MR. CARTMELL: We've been going for       9   that right?
    10        an hour probably?                           10           MR. HAMMOUD: Objection. Object to
    11            MR. HAMMOUD: A little over an           11        the form.
    12        hour, yeah.                                 12           THE WITNESS: Yeah, I don't know.
    13            MR. CARTMELL: How far are we in?        13   BY MR. CARTMELL:
    14            VIDEO OPERATOR: 5:50. We've been        14        Q. But let me ask you this. When you
    15        going for an hour and 22 minutes.           15   were at AmerisourceBergen and managing that
    16            MR. CARTMELL: Yeah, let's take a        16   suspicious order monitoring program, did your
    17        break.                                      17   program include a review of chargeback data to
    18            MR. HAMMOUD: Okay. Thanks.              18   try to help you or assist you in identifying
    19            VIDEO OPERATOR: Going off the           19   suspicious orders?
    20        record, 5:22.                               20        A. Oh, not at all.
    21            (Recess from 5:22 p.m. until            21        Q. You didn't use it?
    22        5:38 p.m.)                                  22        A. Not at all, because --
    23            VIDEO OPERATOR: Back on the record      23           And your question says that you
    24        at 5:38 p.m.                                24   don't understand what chargeback data is.
                                              Page 379                                               Page 381
     1   BY MR. CARTMELL:                                  1        Q. My question says to you that I
     2        Q. Mr. Tomkiewicz, we're back on the         2   don't understand what chargeback data is?
     3   record. Are you ready to proceed?                 3        A. Yes.
     4        A. I am ready.                               4        Q. Exactly right.
     5        Q. Okay. So I want to go back to             5        A. Would you like me to explain it?
     6   Exhibit 5. I forgot to ask you something about    6        Q. Yes.
     7   that at page 37.                                  7        A. Okay. Chargeback data. What a
     8            And we talked about this slide that      8   chargeback is, is when, say, my company,
     9   you created in 2014 for the things you were       9   Teva -- sorry for hitting the microphone --
    10   going to do in the future for the program --     10   when my company, Teva, contracts with either a
    11   suspicious order monitoring program at Teva.     11   pharmacy, a hospital, a buying group that
    12            The last thing that we didn't talk      12   represents pharmacies and we grant a contract
    13   about was chargeback data. Do you see that?      13   price on a product to, you know, that group,
    14        A. Yes.                                     14   that entity, then for a wholesaler who buys at
    15        Q. Okay. So first of all, do you know       15   wholesale acquisition cost who services those
    16   whether or not Teva was actually using           16   pharmacies with whom we have the contract, that
    17   chargeback data to try to help them identify     17   wholesaler, say, AmerisourceBergen, will
    18   suspicious orders prior to 2014, when you        18   provide that product at the contract cost to
    19   started there?                                   19   the pharmacy, the hospital, the entity, the
    20        A. I don't believe they were, but I         20   hospice, whomever, and then charge back the
    21   don't know for certain.                          21   difference back to Teva.
    22        Q. Okay. Now, chargeback data, I            22           And then that contract price in the
    23   believe the DEA has said, is an advisable        23   data that comes back will have information on
    24   resource to use in order to try to identify      24   the customer, the product, the quantity,

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     1   information supporting that this product went      1            And there's something called 867
     2   to this customer for that customer.                2   data; is that right?
     3            Now, what that doesn't include are        3        A. Yes, there's 867 data.
     4   customers who don't have contracts, customers      4        Q. And did you start Teva into using
     5   who buy from wholesalers who buy at contract       5   that type of data as well to try to identify
     6   price who aren't buying at wholesale               6   suspicious orders?
     7   acquisition cost. It's not going to include        7        A. I have started using 867 data, yes.
     8   distributors are who are, say, owned by a large    8        Q. When was that started by the
     9   retail chain.                                      9   company?
    10            And so from the wholesaler's             10        A. I think that was in 2017 that I
    11   standpoint, when I was at AmerisourceBergen,      11   started using that.
    12   there was no need to review chargeback data       12        Q. And has that also assisted Teva in
    13   because we saw everything that we sold to the     13   identifying suspicious orders?
    14   customer.                                         14        A. Not only suspicious orders but
    15            Now, on the Teva side, we can            15   suspicious customers of our customers.
    16   see -- you know, AmerisourceBergen, for           16        Q. And that's a good point.
    17   example, we can see where they sold our product   17        A. Yes.
    18   at contract price to their customers. But if a    18        Q. What you just said is, by using
    19   customer isn't buying on contract price, we       19   data like chargeback data and 867 data, your
    20   don't see that.                                   20   company, Teva, can actually look downstream
    21        Q. I understand.                             21   from your customers at your customers'
    22            Really, what you're saying is, my        22   customers, right?
    23   question was a dumb one, because it wouldn't      23            MR. HAMMOUD: Objection to the
    24   apply to wholesale distributors; they wouldn't    24        form. Mischaracterizes prior testimony.
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     1   use that; they don't need to use that data.        1           THE WITNESS: Well, it assists in
     2        A. Well, and I wouldn't use the               2        our investigations, yes.
     3   prejudicial term "dumb."                           3   BY MR. CARTMELL:
     4        Q. Okay.                                      4        Q. Right.
     5        A. But maybe ignorant, but --                 5           And I'm saying it assists in your
     6        Q. No, I do understand a little bit           6   investigation of not only looking at whether
     7   about it, but that makes sense.                    7   your customers are potentially asking for
     8        A. Yeah.                                      8   suspicious orders, but it also can assist you
     9        Q. So at any rate, when you arrived at        9   in looking downstream from your customer to
    10   Teva in 2014, one of the other improvements to    10   their customers to see whether or not they are
    11   the suspicious order monitoring program was       11   potentially violating the law, correct?
    12   that you were going to have Teva start to         12           MR. HAMMOUD: Objection to the
    13   utilize the chargeback data to try to aid and     13        form.
    14   assist in identifying suspicious orders,          14           Go ahead.
    15   correct?                                          15           THE WITNESS: I wouldn't say
    16            MR. HAMMOUD: Object to the form.         16        "violating the law." Just looking for
    17        Mischaracterizes prior testimony.            17        patterns.
    18            THE WITNESS: I will say that's a         18   BY MR. CARTMELL:
    19        fair assessment, correct.                    19        Q. I understand.
    20   BY MR. CARTMELL:                                  20           But if you do look at that data and
    21        Q. Okay. And is there other data that        21   you find out that one of your
    22   you believed that Teva should be using but they   22   customer's customers, for example -- let's use
    23   weren't other than chargeback data to try to      23   an example.
    24   assist with this?                                 24           Teva has customers like
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     1   AmerisourceBergen, correct?                        1        reported orders like that, that it's not
     2        A. Mm-hmm.                                    2        my order, but it's my customer's order
     3        Q. A large wholesale distributor, as          3        to a pharmacy.
     4   we said, who distributes opioid narcotics all      4   BY MR. CARTMELL:
     5   over the United States, correct?                   5        Q. Your customer's customer?
     6        A. Correct.                                   6        A. My customer's customer, yes.
     7        Q. If Teva is looking at a potentially        7        Q. And you have a duty, just like with
     8   suspicious order from AmerisourceBergen, for       8   your customers, to report that if you believe
     9   example, and they do some investigation into       9   that is suspicious, correct?
    10   that and they find from that investigation --     10            MR. HAMMOUD: Objection to the
    11           For example, the top ten customers        11        form. Calls for a legal conclusion,
    12   of AmerisourceBergen, they might look into who    12        asked and answered.
    13   those people are, correct?                        13            THE WITNESS: I would say I have a
    14        A. Correct.                                  14        duty to report suspicious orders.
    15        Q. If you found out -- for example, if       15   BY MR. CARTMELL:
    16   AmerisourceBergen gave their top ten pharmacies   16        Q. Okay. Including if it's your
    17   that they were selling to and during your         17   customer's customer, correct?
    18   investigation, you found out that there were      18            MR. HAMMOUD: Objection. Asked and
    19   suspicious things about those orders, that        19        answered, calls for a legal conclusion.
    20   would be investigation that I would categorize    20            THE WITNESS: And if I see a
    21   as downstream investigation to your customer's    21        suspicious order at my customer's
    22   customer. Correct?                                22        customer level, I will report it, and I
    23           MR. NICHOLAS: Object to the form.         23        have reported it.
    24   BY MR. CARTMELL:                                  24   BY MR. CARTMELL:
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     1       Q. Correct?                                    1        Q. And that's because it's your duty,
     2       A. I would say that's a fair                   2   you believe, correct?
     3   assessment, yes.                                   3            MR. HAMMOUD: Objection. Asked and
     4       Q. Okay. And if during that                    4        answered multiple times, calls for a
     5   investigation, you identify pharmacies who, it     5        legal conclusion.
     6   looks like to you, are suspicious for diverting    6   BY MR. CARTMELL:
     7   opioids or violating the law or doctors who, it    7        Q. You can answer.
     8   looks suspicious to you, potentially are           8        A. I have a duty to report suspicious
     9   diverting opioids or violating the law, you, as    9   orders.
    10   Teva, have a duty to report that, correct?        10        Q. Okay. Now, we talked a little bit
    11           MR. HAMMOUD: Objection to the             11   about the policy at Teva that you helped to
    12       form. Calls for a legal conclusion.           12   draft and put into effect in 2014 related to
    13           THE WITNESS: Well, a couple points        13   suspicious order monitoring and, specifically,
    14       of clarification.                             14   holding of the orders to investigate and decide
    15           I don't see prescribers with that         15   whether or not they're suspicious and should be
    16       data, the 867 data level or at the            16   shipped. We talked some about that. Do you
    17       chargeback data. So unfortunately, I          17   recall that?
    18       don't see prescribers.                        18        A. Yes.
    19           But I do see pharmacies, and if I         19        Q. Okay. As we know from the policy
    20       do see something that I would classify        20   that you put into effect at -- into writing at
    21       as a suspicious order at that point --        21   Teva, that policy includes not only members of
    22           For example, if I were to see an          22   the DEA compliance section that you work in,
    23       invoice from a wholesaler to a pharmacy       23   but also members of parts of the company that
    24       that I would consider suspicious, I have      24   have sales as a part of their duties, correct?

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     1        A. And I'm sorry. I think I know              1        A. I can think of a couple times
     2   where you're going, but I got lost in the          2   offhand where there has been a little bit of
     3   question. Sorry.                                   3   pushback.
     4        Q. And we also talked about from the          4             But I will say there's never been a
     5   policy -- and we can pull it up if you want,       5   time that I've either been, you know,
     6   but it's the policy related to DEA order holds.    6   overridden on a hold or I've changed my mind
     7   We talked about that.                              7   based on just a salesperson or anyone with a
     8            People within the organization            8   sales function saying, Oh, we need to ship
     9   outside of the DEA compliance section that have    9   this; it's a new product.
    10   duties or their jobs at Teva are sales in         10             If I'm not comfortable, if I have
    11   nature, like customer service people and sales    11   red flags, it doesn't ship.
    12   reps, they're also involved in your procedure     12        Q. Okay. But my question is, simply,
    13   there at Teva, right?                             13   there are times when you do get pushback from
    14        A. Correct.                                  14   the salespeople who want to ship the order and
    15        Q. Okay. Those people, as we've              15   get the sales of the opioids? There are times
    16   discussed, are people that, you know, as a part   16   when you have that pressure from the
    17   of their duties are trying to sell and make       17   salespeople, correct?
    18   profits from the sales for the company,           18             MR. HAMMOUD: Objection to the
    19   correct?                                          19        form.
    20        A. That's a fair assessment.                 20             THE WITNESS: Certainly, I've had
    21        Q. Okay. And are you aware that those        21        that happen a couple of times. Sure.
    22   individuals who are involved in your suspicious   22   BY MR. CARTMELL:
    23   order monitoring program are also bonused,        23        Q. Okay. And, in fact, I think you've
    24   potentially, based on the amount of sales of      24   given speeches over time related to the
                                               Page 391                                               Page 393
     1   the company?                                       1   conflicts that exist in a suspicious order
     2         A. I'd say that's possibly a fair            2   monitoring program when you have people that
     3   assessment, but I have no knowledge of, you        3   want to sell as many opioids as possible in
     4   know, specific bonus structure.                    4   conjunction with a program of the people who
     5         Q. Okay. But you know from your              5   are trying to do their jobs and locate and stop
     6   experience that those individuals who are          6   the orders of suspicious opioids. Correct?
     7   involved in the process that are the sales-type    7        A. I wouldn't characterize it that
     8   people, those people sometimes are reluctant,      8   way.
     9   let's say, to agree to hold suspicious orders,     9            (Exhibit Teva-Tomkiewicz-018 marked
    10   fair?                                             10        for identification and attached to the
    11         A. No. Good Lord, no.                       11        transcript.)
    12         Q. You've never seen that?                  12   BY MR. CARTMELL:
    13         A. Reluctant to hold a suspicious           13        Q. Okay. Let me hand you what's been
    14   order?                                            14   marked as Exhibit 18. I've handed you Exhibit
    15         Q. Right.                                   15   18, which I will represent to you is an e-mail
    16         A. No.                                      16   and attached PowerPoint presentation from the
    17         Q. Have there been times in your            17   internal files at Teva that were produced to us
    18   experience where the sales force people who       18   in this case. Okay?
    19   you're dealing with with customers related to     19            And I believe, you'll see from the
    20   potentially suspicious orders have at times       20   cover page or the e-mail, this is a PowerPoint
    21   been reluctant to want to actually hold that      21   presentation related to a 2017 presentation you
    22   order?                                            22   gave at a PDMA conference. Is that right?
    23         A. At the customer service level?           23        A. That is correct.
    24         Q. Yes.                                     24        Q. What does PDMA stand for?

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     1         A. Prescription Drug Marketing Act.          1   what you mean by "high-risk drugs," you're
     2         Q. Okay. Is the PDMA a society that          2   talking here about any controlled substance,
     3   you're a member of, or what is it?                 3   correct?
     4         A. It's a group, primarily, that deals       4        A. Right, because of the audience.
     5   with the marketing of not controlled               5        Q. Okay. And so what you're talking
     6   substances -- that's, actually, a small part of    6   about here is, though, primarily opioids,
     7   it -- but direct marketing to physicians.          7   correct?
     8         Q. Okay. And I take it that your             8           MR. HAMMOUD: Objection to the
     9   company, Teva, actually encourages you to speak    9        form.
    10   at events or speak to groups like this. Is        10           THE WITNESS: No. Any controlled
    11   that fair?                                        11        substance.
    12             MR. HAMMOUD: Objection to the           12   BY MR. CARTMELL:
    13         form.                                       13        Q. Okay. Well, if you turn the page
    14             THE WITNESS: It encourages,             14   to page 2 of your presentation, again, you have
    15         allows; in some cases, not allow. But       15   presented as your number one slide a slide that
    16         yes, I've spoken at a number of             16   deals with opioid addiction, correct, and
    17         conferences. Sure.                          17   overdose?
    18   BY MR. CARTMELL:                                  18        A. Correct.
    19         Q. What other conferences?                  19        Q. Okay. So is it fair to say that a
    20         A. I spoke at Buzzeo conference. I          20   good portion of your talk is focused on the
    21   spoke again this year at the PDMA Sharing         21   opioid epidemic in America?
    22   Conference.                                       22           MR. HAMMOUD: Objection to the
    23         Q. You said "Buzzeo conference."            23        form.
    24   We've talked about Ronald Buzzeo, the             24           Sorry. Go ahead.
                                               Page 395                                                Page 397
     1   consultant; is that correct?                       1             THE WITNESS: I would say a part of
     2        A. Yes.                                       2         it is talking about opioid epidemic,
     3        Q. And he has an annual conference?           3         yes.
     4        A. Yes. IMS/IQVIA has an annual               4   BY MR. CARTMELL:
     5   conference.                                        5         Q. Okay. Now, if you turn to
     6        Q. Okay. And have you spoken at that          6   slide 20, you created this slide; is that
     7   conference more than once?                         7   correct?
     8        A. Just once.                                 8         A. Yes.
     9        Q. Okay. The title of this                    9         Q. This slide, DEA: Selling and
    10   presentation that you were giving in October of   10   Promoting High Risk Drugs, it states, Managing
    11   2017 is, DEA: Selling and Promoting High Risk     11   Conflicts. And you identify three conflicts
    12   Drugs.                                            12   here, correct?
    13        A. Yes.                                      13         A. Potential conflicts, yes.
    14        Q. When you refer to "high-risk              14         Q. Okay. Well, it says, Managing
    15   drugs," what are you referring to?                15   Conflicts, not potential conflicts, correct?
    16        A. Any controlled substance.                 16         A. Certainly.
    17        Q. Okay. And I think previously I            17         Q. Okay. And the three conflicts or
    18   used the term "high-risk drugs," I think, and I   18   potential conflicts that you identify here, the
    19   think you told me at that time that when you      19   first is customers, right?
    20   use "high-risk drugs," you're only referring to   20         A. Correct.
    21   a certain category of drugs that are easily       21         Q. And there's -- a conflict between
    22   diverted.                                         22   what you're doing as a suspicious order
    23        A. Exactly.                                  23   monitoring manager with customers is that
    24        Q. Okay. But when I just asked you           24   customers want the opioids they ordered, right?

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     1            MR. HAMMOUD: Objection to the             1              THE WITNESS: And I will say yes,
     2        form.                                         2         I'll accept that assessment.
     3            THE WITNESS: And I wouldn't               3   BY MR. CARTMELL:
     4        categorize it as strictly opioids.            4         Q. Okay. And you identify it here as
     5        Customers have an expectation, based on       5   another potential conflict, and I'm guessing
     6        a patient need, of certain products and       6   your conflict that you're identifying is that
     7        certain volumes.                              7   customer service people who deal with sales of
     8   BY MR. CARTMELL:                                   8   opioids and part of their job is to sell as
     9        Q. Right. And that's a conflict with          9   many opioids as they can potentially can put
    10   customers that -- in your position, as a          10   pressure on you and create a conflict for you.
    11   manager of the suspicious order monitoring        11              MR. HAMMOUD: Objection to the
    12   program at Teva, that's one of the conflicts      12         form.
    13   you have to manage, correct?                      13              THE WITNESS: Yeah, and I
    14        A. Where do you see the conflict?            14         completely reject that question as far
    15   Because I'm not understanding where you're        15         as people wanting to sell as many
    16   seeing the conflict.                              16         opioids as they can. I categorically
    17        Q. Well, I guess I probably should ask       17         reject that assessment of what Teva does
    18   you, because this is your slide that you          18         in any capacity.
    19   stated, Managing Conflicts, and you identified    19   BY MR. CARTMELL:
    20   customers.                                        20         Q. Well, they potentially get paid
    21        A. Yes.                                      21   based on selling as many opioids as possible,
    22        Q. So, apparently, when you created          22   sir; isn't that correct?
    23   this slide and presented it to lots of people     23              MR. HAMMOUD: Objection to the
    24   in the industry --                                24         form.
                                               Page 399                                               Page 401
     1          The pharmaceutical industry, I take         1           THE WITNESS: And we can also lose
     2   it?                                                2        our registration as well, and then
     3        A. Yes.                                       3        you're not selling any opioids or any
     4           MR. HAMMOUD: Objection to the              4        controlled substance and probably having
     5        form.                                         5        a very hard time maintaining or staying
     6   BY MR. CARTMELL:                                   6        in business.
     7        Q. Apparently, when you presented this        7   BY MR. CARTMELL:
     8   slide, you thought there may be a potential, at    8        Q. But isn't that the conflict, that
     9   least, conflict here with customers, correct?      9   you have a company -- from a sales perspective,
    10        A. Well, potentially a conflict with a       10   individuals who are trying to maintain
    11   customer, yes.                                    11   customers, increase profits, make the sales of
    12        Q. Okay. Another potential conflict          12   the opioids, versus your job, which is to make
    13   that you identified has to do with customer       13   sure you don't lose your registration by
    14   service, correct?                                 14   violating the Controlled Substances Act? Isn't
    15        A. Yes.                                      15   that the conflict you're talking about?
    16        Q. Okay. And we know, from talking           16           MR. HAMMOUD: Object to the form.
    17   about your policies at Teva, customer service     17           THE WITNESS: No. And that's
    18   is a department at Teva, right?                   18        minimizing the role of suspicious order
    19        A. Yes.                                      19        monitoring in terms of just strictly
    20        Q. Customer service is directly              20        looking to maintain a registration.
    21   involved in the process of trying to identify     21   BY MR. CARTMELL:
    22   suspicious orders at Teva, correct?               22        Q. What's the conflict that you're
    23           MR. HAMMOUD: Objection to the             23   talking about managing related to customer
    24        form, mischaracterizes prior testimony.      24   service?

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     1        A. Interpersonal conflict as far as           1   try to then pressure you and push you into
     2   the lack of education of the importance of a       2   releasing suspicious orders --
     3   good suspicious order monitoring program and       3            MR. HAMMOUD: Objection to the
     4   why a suspicious order monitoring program is       4        form.
     5   needed.                                            5   BY MR. CARTMELL:
     6        Q. You're saying that customer service        6        Q. -- if they really don't understand
     7   employees typically are not trained or don't       7   it well enough?
     8   understand the importance of why a suspicious      8            MR. HAMMOUD: Objection to the
     9   order monitoring program is needed?                9        form.
    10        A. No.                                       10            THE WITNESS: Well, that could be a
    11            MR. HAMMOUD: Objection to the            11        potential. That could be a potential.
    12        form. Mischaracterizes the prior             12   BY MR. CARTMELL:
    13        testimony.                                   13        Q. Okay. So that's one type of
    14            THE WITNESS: Yeah, that's not what       14   conflict you're talking about you may need to
    15        I said at all. There is importance of        15   manage?
    16        training.                                    16        A. Correct.
    17   BY MR. CARTMELL:                                  17        Q. Okay. And then you say, finally,
    18        Q. What did you say? Say it again,           18   that you need to manage a conflict related to
    19   please.                                           19   sales.
    20        A. I said there is an importance of          20        A. Mm-hmm.
    21   training --                                       21        Q. Is that the same type of issue?
    22        Q. No, no, no, no. I don't mean to           22        A. Exactly.
    23   interrupt you.                                    23        Q. Because the salespeople,
    24            What is the conflict related to          24   potentially, if they're not properly educated
                                               Page 403                                               Page 405
     1   customer service that you need to manage that      1   and really don't understand the importance of
     2   you are presenting here?                           2   your suspicious order monitoring program, they
     3        A. Oh, it's --                                3   might create a conflict with you because they
     4        Q. What's the conflict?                       4   might pressure you and push you to release
     5        A. It's an interpersonal -- it's a            5   sales that you otherwise shouldn't, correct?
     6   potential for interpersonal conflict if you        6         A. Well, and I wouldn't characterize
     7   don't educate these groups for either the          7   the question that way, because, again, I
     8   importance of either a suspicious order            8   haven't released anything that I'm not
     9   monitoring program, anti-diversion efforts, or     9   comfortable with, and I haven't -- and, you
    10   you know, the -- well, the importance of, you     10   know, no salesperson, no customer service
    11   know, education in this staff.                    11   person, or -- and no customer has ever badgered
    12        Q. Education to the customer service         12   or cajoled me into releasing something where I
    13   people, right?                                    13   still thought there was a red flag.
    14        A. To customer service people, to            14         Q. Okay. What you're saying is that,
    15   sales, and to customers.                          15   though, the conflict is, if you don't educate
    16        Q. Okay. And if you don't educate            16   the salespeople and they don't know or
    17   them properly and these people don't understand   17   understand how important a suspicious order
    18   the importance of the suspicious order            18   monitoring program is, they might pressure you;
    19   monitoring program, then what is the conflict     19   they might, you know, try to lean on you to get
    20   that is created?                                  20   rid of the hold.
    21        A. That they don't understand what a         21            But what you're saying is that if
    22   suspicious order monitoring program is doing.     22   they do that to you, then you're not going to
    23        Q. And what's the conflict that's            23   succumb to that pressure, correct?
    24   created because of that? Is it because they       24            MR. HAMMOUD: Objection to the

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     1        form. Asked and answered.                     1           Have you ever reported Publix, the
     2   BY MR. CARTMELL:                                   2   pharmacies at Publix, to the DEA?
     3        Q. Is that correct?                           3        A. I can't recall specifically.
     4        A. Oh, that is correct.                       4        Q. Okay. Do you remember a time when,
     5        Q. Okay. All right. But those are             5   actually, Publix was making orders for opioids
     6   potential conflicts that you speak about and       6   and you found those orders to be suspicious,
     7   that you manage in your job at Teva as the head    7   they were initially tagged, you did an
     8   of the suspicious order monitoring program,        8   investigation into those orders, you found
     9   correct?                                           9   those orders to be suspicious for a host of
    10        A. Correct.                                  10   reasons, and one of the higher-ups in the sales
    11        Q. Would you agree with me that you've       11   department berated you worse than you've ever
    12   experienced times when the customer service       12   been berated before?
    13   individuals have been reluctant to stop an        13           MR. HAMMOUD: Objection to the
    14   order for opioid sales?                           14        form.
    15        A. I can't think of a time when              15           THE WITNESS: Never saw a
    16   customer service has been reluctant to hold       16        suspicious order in relation to that.
    17   something.                                        17   BY MR. CARTMELL:
    18        Q. Would you agree with me that              18        Q. That's not my question.
    19   because reporting a customer can lead to the      19           Do you remember a time, though,
    20   company losing the customer, that can             20   when you were berated worse than you'd ever
    21   potentially lead to a loss of profits?            21   been before during an investigation of
    22           MR. HAMMOUD: Objection to the             22   suspicious orders and orders that you found to
    23        form.                                        23   be -- to have suspicious aspects to them, and
    24           THE WITNESS: That reporting a             24   then you were berated by a higher-up in sales
                                               Page 407                                               Page 409
     1        customer could lead to loss of profits?       1   to try to release those orders?
     2   BY MR. CARTMELL:                                   2            MR. HAMMOUD: Objection to the
     3        Q. Yes.                                       3        form. Asked and answered.
     4        A. I haven't seen that.                       4   BY MR. CARTMELL:
     5        Q. Well, if you report a customer, you        5        Q. Do you remember that?
     6   may lose a customer, right?                        6        A. You have some mischaracterizations
     7        A. Depends upon the customer, because         7   there, several of them.
     8   I've reported customers that part of reporting     8            One, I do believe that I recall the
     9   the suspicious order have also terminated that     9   incident that you're discussing. One -- the
    10   customer from purchasing controlled substances.   10   being berated worse than I ever have, I've been
    11   So, you know, in that case, it doesn't matter     11   berated pretty badly. This was probably not
    12   to me that we're losing some potential profits    12   even in the top ten, although for Teva, it was
    13   in cutting off a customer.                        13   probably the worst.
    14        Q. Right.                                    14            This was one where I had held some
    15            But that's the case, though. When        15   orders for further review, and the higher-ups,
    16   you terminate a customer and you don't ship an    16   as you talked about, were very upset that I was
    17   order, you potentially are losing sales and       17   holding these orders.
    18   profits, correct?                                 18        Q. Right.
    19        A. Oh, exactly.                              19            And, ultimately, did you, in fact,
    20        Q. Let me ask you this. You                  20   release those orders?
    21   mentioned -- I have a list. You mentioned who     21        A. After a thorough investigation,
    22   the pharmacies or customers are that Teva,        22   including me discussing the issue with Publix.
    23   through you, has reported to the DEA in the       23        Q. Okay. I want to talk about that,
    24   last three or four years.                         24   and there's been some documents and e-mails

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     1   produced in this case that I want to go through    1   BY MR. CARTMELL:
     2   with you. This may be pretty tedious, but I        2        Q. -- correct?
     3   only want -- there's very limited things from      3        A. Not at the high risk of what I
     4   the e-mails that I want to ask you about. But      4   talked about at the beginning of products that
     5   I want to go through these.                        5   are highly sought by abusers.
     6            (Exhibit Teva-Tomkiewicz-017 marked       6        Q. Well, OxyContin 30 milligrams is
     7        for identification and attached to the        7   definitely a product that's high risk and
     8        transcript.)                                  8   sought by abusers, correct?
     9   BY MR. CARTMELL:                                   9           MR. HAMMOUD: Objection to form.
    10        Q. And I'll start with giving you            10           THE WITNESS: No, no. Oxycodone,
    11   Exhibit 17, which is an e-mail chain that was     11        30-milligram. OxyContin is an
    12   produced from the internal files of Teva in       12        extended-relief product that has a
    13   this lawsuit.                                     13        mechanism to help prevent an abuser from
    14            Now, before --                           14        crushing up and getting the -- a full,
    15            MR. HAMMOUD: Have you had a chance       15        immediate release. So there's a
    16        to read it?                                  16        difference in the product.
    17            THE WITNESS: I'm good with it.           17   BY MR. CARTMELL:
    18   BY MR. CARTMELL:                                  18        Q. Is oxycodone 30 milligrams one of
    19        Q. Okay. Before I ask you questions          19   the types of products that is sought after by
    20   about this, I kind of want to set the scene for   20   abusers?
    21   the jury. In October of 2015, there was a time    21        A. Yes.
    22   when your department received several orders      22        Q. Okay. And --
    23   from Publix, correct?                             23        A. Immediate release.
    24        A. Correct.                                  24        Q. Okay. And we're talking about that
                                                Page 411                                              Page 413
     1        Q. And Publix, I think as some people         1   in this case with Publix, aren't we?
     2   know, is a grocery chain that has lots of          2        A. No.
     3   stores in Florida, for example, correct?           3        Q. Okay. The drugs that were being
     4        A. Correct.                                   4   sought by Publix, the opioids that were being
     5        Q. But in these Publix grocery chains         5   ordered by Publix, were they of the type
     6   they also have pharmacies; is that right?          6   that -- and actual dosage that are sought by
     7        A. Correct.                                   7   abusers?
     8        Q. Okay. And at this time in October          8        A. Not of a dosage form that are
     9   of 2015, Publix pharmacies had actually been an    9   highly sought by abusers anymore.
    10   existing customer for Teva, correct?              10        Q. Okay. But at this time in 2015?
    11        A. Correct.                                  11        A. No.
    12        Q. Okay. And you had a history with          12        Q. Okay. We'll get to that. So the
    13   Publix ordering opioid narcotics, correct?        13   story starts, I think, if you look at the end
    14        A. Well, controlled substances in            14   of the e-mail string, and we'll go back to
    15   general, yes.                                     15   front, that somebody named Daniel Baker sends
    16        Q. Including opioids, correct?               16   an e-mail to Dawn Ward that says, Can you tell
    17        A. Including opioids, yes.                   17   me if this product is going to be warehoused in
    18        Q. And the story we're about to tell         18   Ohio, please?
    19   has to do with them ordering opioid narcotics,    19            Do you see that?
    20   correct?                                          20        A. Yes.
    21        A. Correct.                                  21        Q. And Dawn Ward says, Hi Dan. Yes,
    22        Q. High-risk opioid narcotics --             22   this order is to be shipped and warehoused in
    23           MR. HAMMOUD: Objection to the             23   Ohio. I've attached a copy of the order that
    24        form.                                        24   has the shipping address.

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     1           Now, if you go -- if you go forward        1   you, and she says, Joe, Publix is an
     2   and to the next e-mail from Dan Baker to Dawn      2   established customer who sells some of our
     3   Ward -- and your understanding is that Dan         3   other controls.
     4   Baker is in the DEA -- is on the DEA team; is      4           Meaning controlled substances,
     5   that correct?                                      5   right?
     6        A. No, that's not correct.                    6        A. Correct.
     7        Q. Oh, is he in sales?                        7        Q. Is this really required? Also,
     8        A. He's a customer service rep -- was         8   will you require this from my other 2
     9   a customer service rep.                            9   retailers?
    10        Q. Okay. Strike that. Dan Baker, who         10           It then says, This was not
    11   sends this e-mail on October 15th, is he a        11   presented to them in advance and may put this
    12   customer service sales rep?                       12   award at risk.
    13        A. A customer service rep.                   13           Do you see that?
    14        Q. Okay. It says, Dawn, our DEA team         14        A. Yep.
    15   is asking for the following; we need the          15        Q. Meaning if you do this and you
    16   following from Publix: A list of their top 10     16   investigate and want information from Publix
    17   stores by oxycodone tablet volume, a breakdown    17   about these -- a list of their top 10 stores
    18   by SKU of their oxycodone ER and IR, and a list   18   and data like that, it could put the sale at
    19   of the top 5 prescribers, including DEA number,   19   risk, correct?
    20   at each of the 10 locations.                      20        A. That's what I understand her to
    21           Do you see that?                          21   mean.
    22        A. Yes.                                      22        Q. Again, they are an established
    23        Q. So at this point it looks like --         23   customer selling controls. Please advice.
    24   tell me if I'm wrong -- that your department      24           So this is a salesperson telling
                                               Page 415                                               Page 417
     1   has flagged these Publix orders as potentially     1   you, do we really have to hold this order,
     2   suspicious. Is that fair?                          2   because it could put the sale at risk, right?
     3        A. Correct.                                   3        A. Correct.
     4        Q. Okay. And these orders were for            4        Q. Now, if you go to the next page,
     5   oxycodone, an opioid, correct?                     5   you respond to that e-mail on October 16th,
     6        A. Correct.                                   6   2015 to Jocelyn, who's in sales, and you say,
     7        Q. If you go moving forward, on               7   Jocelyn, there are several red flags with this.
     8   Friday, October 16th, Jocelyn Baker has an         8   One, this is high-strength oxycodone ultimately
     9   e-mail to Dan Baker. And Jocelyn Baker is the      9   going to Florida, a well-established hotspot
    10   director of national accounts and sales. Did      10   for oxycodone abuse in the United States.
    11   you know that?                                    11            And I take it that Florida is -- at
    12        A. Yes.                                      12   that time, at least, you know, based on your
    13        Q. So she's a salesperson, right?            13   experience, that's a hotspot as far as
    14        A. Yes.                                      14   oxycodone abuse, correct?
    15        Q. She says -- and this goes -- e-mail       15        A. Correct.
    16   goes to Dan Baker, but it also -- now at this     16        Q. Okay. And you're telling her
    17   point you've been added to the e-mail, correct?   17   that's a red flag, that this may be a
    18        A. That I've been added to the e-mail.       18   suspicious order, correct?
    19        Q. Jocelyn Baker's e-mail to Dan Baker       19        A. Correct.
    20   and to several others --                          20        Q. Number two, the total quantities in
    21        A. Oh, yes.                                  21   the Publix forecast put them significantly
    22        Q. -- including you?                         22   above their peers as far as size and class of
    23        A. Yes.                                      23   trade are concerned.
    24        Q. Okay. And she actually addresses          24            What you mean there -- tell me if

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     1   I'm wrong, but it sounds like what you mean        1   you established, these other customers,
     2   there is that the total quantities in their        2   Cardinal, which is a huge wholesale
     3   forecast is well above what other pharmacies       3   distributor, right?
     4   are ordering; is that correct?                     4        A. Yes.
     5        A. It's significantly above.                  5           MR. HAMMOUD: Objection to the
     6        Q. Okay. And is it a matter of                6        form.
     7   magnitude, standard deviations? How big? I         7   BY MR. CARTMELL:
     8   mean, is it a lot bigger?                          8        Q. McKesson, which is another
     9        A. I don't recall specifically.               9   billion-dollar wholesale distributor of
    10        Q. Okay. That's fine.                        10   opioids, correct?
    11        A. I don't recall specifically.              11           MR. HAMMOUD: Objection to the
    12        Q. You then say, three -- another red        12        form.
    13   flag -- the breakdown by strength, with an        13           THE WITNESS: Correct.
    14   emphasis on 40-milligram, does not appear to be   14   BY MR. CARTMELL:
    15   normal for a retail pharmacy. I would expect      15        Q. Walgreens and CVS, which are among
    16   the breakdown to be closer to that of Thrifty     16   the largest pharmacies in America, right?
    17   White, where the emphasis is on lower             17           MR. HAMMOUD: Objection to the
    18   strengths.                                        18        form.
    19            Do you see that?                         19   BY MR. CARTMELL:
    20        A. Yes.                                      20        Q. Is that right?
    21        Q. Tell me if I'm wrong, but what            21           Those are established customers of
    22   you're saying there is, sometimes you have to     22   Teva too, but they have all been investigated
    23   look at the actual strength that they're          23   and had problems related to their suspicious
    24   ordering, and if they're ordering lots of the     24   order monitoring, is that right, or diverting
                                               Page 419                                               Page 421
     1   higher strengths, sometimes that can be a red      1   drugs?
     2   flag that there might be something fishy going     2        A. Probably a combination in there. I
     3   on.                                                3   can't speak to the specifics without actually
     4         A. Yeah, and actually, the                   4   reviewing it.
     5   40-milligram isn't the top strength. It's the      5        Q. Okay. And then if you turn to the
     6   second strength.                                   6   next page, there's an e-mail at the bottom of
     7         Q. But what you're saying here is that       7   the page from Karin Shanahan, and she's
     8   this strength and the breakdown is a red flag      8   actually above your boss, Colleen McGinn,
     9   to you potentially, right?                         9   correct?
    10         A. Yes, uh-huh.                             10        A. She was.
    11         Q. All right. You then say -- I've          11        Q. So higher-ups are now starting to
    12   skipped a couple paragraphs, but it then says,    12   get --
    13   As far as Publix being an established customer,   13        A. Oh, yes.
    14   please remember that Cardinal, McKesson,          14        Q. -- involved in this battle, aren't
    15   Walgreens, and CVS are also established           15   they?
    16   customers, all of whom had serious DEA            16        A. Oh, yes.
    17   penalties due to the handling of oxycodone in     17        Q. Okay. And she writes back to
    18   the state of Florida.                             18   Christine Baeder, who is one of the higher-ups
    19            Am I right that what you mean there      19   in sales, and says, Christine, I understand you
    20   is, look, you can't just say because somebody     20   have some concerns regarding our suspicious
    21   is an established customer that they're not       21   order monitoring program. As you know, our
    22   diverting drugs, right?                           22   suspicious order monitoring program is designed
    23         A. Correct.                                 23   to ensure that Teva is not subjected to
    24         Q. Because all of these others that         24   penalties up to and including rescinding our

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     1   DEA licenses.                                      1           MR. HAMMOUD: Objection to the
     2           Do you see that?                           2        form.
     3        A. Yep.                                       3   BY MR. CARTMELL:
     4        Q. That's what we were just talking           4        Q. Okay. Well, let's continue. I'm
     5   about, right?                                      5   going to hand you Exhibit 19.
     6        A. Oh, exactly.                               6           (Exhibit Teva-Tomkiewicz-019 marked
     7        Q. And if somebody like Christine             7        for identification and attached to the
     8   Baeder is not properly educated on the             8        transcript.)
     9   importance, that can kind of build this            9   BY MR. CARTMELL:
    10   pressure and potential conflict that we talked    10        Q. Exhibit 19 is another e-mail string
    11   about, correct?                                   11   that was produced to us in this, and I want to
    12        A. Oh, certainly.                            12   ask you a few questions about this. On this
    13        Q. And then if you go to the first           13   one, I'm just ask -- I want to ask you
    14   page of this e-mail string -- we're still on      14   questions on the first page because I think
    15   October 16th -- Christine Baeder responds --      15   we've covered the ones on the previous pages.
    16   she's the higher-up from sales -- to Karin, and   16   And I apologize for that, but when -- the way
    17   says, Karin, thank you for reaching out. I'm      17   these are produced to us, you know, we don't
    18   happy to discuss. My concern was about the        18   get them all in one long screen -- string.
    19   statement that Publix is diverting product. I     19        A. Threading of e-mails can be
    20   think our new launches where we do not have       20   difficult, yes.
    21   established history to compare to, we need a      21        Q. So we're still on Friday, and you
    22   more collaborative approach to ensure that we     22   see at the bottom Colleen McGinn says to you,
    23   are making responsible decisions.                 23   Do you want to reach out to Publix directly or
    24           And then below in the next                24   do you want customer service to reach out?
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     1   paragraph it says, Oxy is not higher than          1            And then up above, you respond to
     2   market share on other noncontrolled products.      2   Colleen, who is your boss, and you say, I'm
     3            What does that mean?                      3   always more than happy to be the one to contact
     4        A. She was referring to IMS data.             4   the customer directly - less chance of a
     5        Q. Okay. What she's saying, though,           5   translation error that way.
     6   is she's saying, look, I disagree that oxy is a    6            Right?
     7   red flag.                                          7        A. Correct.
     8        A. No. She's saying that she                  8        Q. But we know from your policy that
     9   disagrees that Publix's levels of purchases of     9   typically it was going to be customer service
    10   oxycodone were a red flag.                        10   who had the interaction with the client, the
    11        Q. Okay. Because she's saying -- why         11   customer, correct?
    12   is she disagreeing with that?                     12            MR. HAMMOUD: Objection to the
    13        A. Because she --                            13        form.
    14            MR. HAMMOUD: Objection to the            14            THE WITNESS: Well, for certain
    15        form.                                        15        investigations, but -- because this one
    16            THE WITNESS: They had IMS data           16        was escalated a bit.
    17        indicating that this was -- that these       17   BY MR. CARTMELL:
    18        products were typical of what they had       18        Q. Okay. Because there was pushback,
    19        been purchasing previously.                  19   you might get involved and talk to the customer
    20   BY MR. CARTMELL:                                  20   in that situation?
    21        Q. Okay. So what we've got now is            21        A. Correct, correct.
    22   we've got a battle between sales and DEA          22        Q. And then Colleen responds to you
    23   related to these Publix orders, correct?          23   again at the top and says, FYI, Christine
    24        A. I wouldn't call it a battle.              24   preferred they contact Publix to get the

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     1   information.                                       1        Q. And that's what you're talking
     2            Okay? And she says the reason for         2   about. This is an order that you found,
     3   that is because she wanted to ensure that the      3   actually, and you told Colleen it was off the
     4   customer relationship was intact, right?           4   charts, right?
     5        A. Yes.                                       5        A. No, I did not say "off the charts."
     6        Q. And we talked about that. A lot of         6           MR. HAMMOUD: Objection to the
     7   times these salespeople don't want the DEA         7        form.
     8   department to contact their customers because      8   BY MR. CARTMELL:
     9   they want to make sure that the relationship       9        Q. Okay. But at any rate, Colleen at
    10   stays intact, correct?                            10   that point interpreted that this order or these
    11        A. And that's a fair assessment.             11   orders from Publix were off the charts. That's
    12        Q. Okay. All right.                          12   what she said, correct?
    13            (Exhibit Teva-Tomkiewicz-020 marked      13        A. I would say that's hyperbole.
    14        for identification and attached to the       14        Q. Okay. Two paragraphs down.
    15        transcript.)                                 15           Apparently Christine Baeder berated
    16   BY MR. CARTMELL:                                  16   him today for making accusations of "criminal
    17        Q. So let me hand you Exhibit 848 --         17   activity" by the customer. In Joe's words, he
    18   excuse me. Let me hand you Exhibit 20. We're      18   hasn't received verbal abuse like that in
    19   continuing on, and on this one, I have covered    19   years.
    20   everything below the first e-mail. So I'm just    20        A. Yeah.
    21   asking you about the first e-mail at the top.     21        Q. That's your boss saying that you
    22   This is an e-mail from Colleen McGinn to Karin    22   said that, right?
    23   Shanahan. And Karin Shanahan is who?              23        A. Yeah. Uh-huh.
    24        A. Karin Shanahan was Colleen's boss.        24        Q. Do you think you probably said
                                               Page 427                                               Page 429
     1   And if you --                                      1   that?
     2           MR. HAMMOUD: Just give him one             2        A. Oh, I'm sure I probably did, yeah.
     3        second.                                       3        Q. Okay. And you think that's true,
     4           THE WITNESS: Yeah, one second              4   that when this higher-up, Christine Baeder from
     5        because I'm trying -- because of              5   sales, talked to you, she berated you and gave
     6        threading, I'm trying to place where          6   you verbal abuse like you hadn't had in years?
     7        this e-mail was placed in conjunction         7        A. Yes.
     8        with these other e-mails.                     8        Q. Is that fair?
     9           So this is earlier in the day.             9        A. Oh, yes.
    10        And -- okay, I'm good with where it is.      10        Q. Christine is demanding that the
    11   BY MR. CARTMELL:                                  11   order be released.
    12        Q. Okay. And this is an e-mail from          12            This is what we're talking about,
    13   Colleen to Karin. So now you've got your boss     13   the conflict, right, that salespeople want to
    14   who is going above her -- to her boss and         14   release these orders sometimes, right?
    15   informing her boss that there is an issue         15            MR. HAMMOUD: Objection to form.
    16   related to some orders, correct?                  16            THE WITNESS: Correct.
    17        A. Correct.                                  17   BY MR. CARTMELL:
    18        Q. She says, Karin, we have an issue         18        Q. And wants a meeting with you today
    19   with an order Publix placed for oxycodone. The    19   or Monday at the latest. I'm not very happy
    20   order was held in the system for further          20   about my people being verbally abused for doing
    21   investigation because it's off the charts in      21   their job, and bullying them into releasing an
    22   comparison to other customers of the same size.   22   order, it's a slippery slope.
    23           Right?                                    23            You see that?
    24        A. Correct. That's what it says.             24        A. Yep.

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     1        Q. And you feel the same way, I              1   customer. Christine said that under no
     2   suspect?                                          2   circumstance would that happen.
     3        A. Oh, yes. Yeah.                            3           Is that right?
     4        Q. Okay. Let's go to the next                4        A. That's what she said.
     5   exhibit.                                          5        Q. Okay. Again, a salesperson who
     6            (Exhibit Teva-Tomkiewicz-021 marked      6   doesn't want to risk losing the client,
     7        for identification and attached to the       7   correct?
     8        transcript.)                                 8        A. Correct, correct.
     9   BY MR. CARTMELL:                                  9        Q. Christine said that I report to
    10        Q. Let's go to the next exhibit,            10   TGO.
    11   Exhibit 21. Now, this looks a little             11           Who's TGO?
    12   different. This is not, in fact, an e-mail.      12        A. Teva generic operations.
    13   Is this a text?                                  13        Q. And that's who you report to?
    14        A. No. These were my notes as               14        A. Not anymore.
    15   Christine was yelling at me.                     15        Q. Okay. You did at the time?
    16        Q. Okay. Okay. So what was happening        16        A. Yes.
    17   was, you were on a phone call with Christine     17        Q. Okay.
    18   Baeder?                                          18           And Teva generic operations was
    19        A. She called me, yes.                      19   informed, so there was no need to inform DEA
    20        Q. And Christine Baeder, she's a vice       20   compliance of the launch.
    21   president in the company, isn't she?             21           That's what she said, right?
    22        A. Correct.                                 22        A. That's what she told me.
    23        Q. I mean, she's way up there, isn't        23        Q. Christine said Publix has
    24   she?                                             24   0.8 percent overall market share and we (Teva)
                                              Page 431                                              Page 433
     1         A. Well, she's a vice president, yeah.      1   are trying to capture generic oxycodone market
     2         Q. Okay. There's a 10:10 call, and          2   share.
     3   it's about the Publix issue that we've been       3            Her point there is that Publix is
     4   talking about and those potentially suspicious    4   potentially a very big or is a very big
     5   orders, right?                                    5   customer, right?
     6         A. Yes.                                     6        A. Yes.
     7         Q. Okay. And it says -- I want to go        7        Q. With lots of sales, right?
     8   down a little bit.                                8        A. Correct.
     9            It says, Christine Baeder; berated,      9        Q. And she didn't want to lose that --
    10   unprofessional; didn't want to hear anything I   10   those sales or that profit, correct?
    11   said.                                            11            MR. HAMMOUD: Object to the form.
    12            Right?                                  12            THE WITNESS: I'm going to say
    13         A. Correct.                                13        that's a fair assessment.
    14         Q. She said that asking for data was       14            (Exhibit Teva-Tomkiewicz-022 marked
    15   accusing the customer of doing illegal           15        for identification and attached to the
    16   activity.                                        16        transcript.)
    17            And let me ask you that. Were you       17   BY MR. CARTMELL:
    18   actually accusing Publix of criminal activity    18        Q. Let me hand you Exhibit 22. Again,
    19   at that point?                                   19   this is another e-mail produced to us in this
    20         A. Not at all.                             20   lawsuit that deals with this story we're
    21         Q. Okay. So she misinterpreted what        21   talking about related to held potentially
    22   you were saying, right?                          22   suspicious orders from one of your customers,
    23         A. Yes.                                    23   Publix?
    24         Q. I offered to meet with the              24        A. Correct.

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     1        Q. And here I only need to ask you            1   all orders for Anda as well.
     2   questions about the top e-mail because we've       2        Q. Okay. And Anda is a distributor
     3   covered everything below it.                       3   that would provide them to Publix; is that
     4        A. No, we haven't covered everything          4   correct?
     5   below it.                                          5        A. Correct. They were holding -- at
     6        Q. We haven't?                                6   the time, they called it a virtual vault. And
     7        A. No. That's results of my review.           7   so they would manage the orders for them. And
     8        Q. Oh, we're going to cover that.             8   so the product would be shipped to Anda on
     9   We're going to cover that. Okay. I apologize       9   behalf of Publix. And so we were holding not
    10   for that. But that's coming in a later            10   only Publix orders that were to go through
    11   exhibit, okay? Okay.                              11   Anda, but we were also holding all other Anda
    12            So this is an e-mail from you to         12   orders as well.
    13   Colleen McGinn. Now we're up to October 28th,     13        Q. Okay. And the reason you were
    14   so we're almost two weeks later, correct?         14   holding, though, the Anda orders was because
    15        A. Correct. And the orders are still         15   your understanding was Anda was going to
    16   held.                                             16   distribute those to Publix, correct?
    17        Q. And you're still holding the orders       17            MR. HAMMOUD: Objection to the
    18   from Publix.                                      18        form.
    19            You state, Colleen -- to your boss,      19            THE WITNESS: That -- on not all of
    20   Colleen -- based on previous investigations, I    20        it, but that some of the product shipped
    21   think it is highly likely that at a corporate     21        to Anda could be delivered to Publix.
    22   level, Publix is not aware of these issues. We    22   BY MR. CARTMELL:
    23   should schedule a face-to-face meeting with the   23        Q. Okay. Now, after you had held
    24   relevant Publix stakeholders to discuss their     24   these orders, you did an investigation of these
                                                Page 435                                              Page 437
     1   ongoing prescriber due diligence and related       1   orders to try to determine whether or not they
     2   diversion control efforts.                         2   were suspicious, correct?
     3           You say, I am comfortable releasing        3        A. Well, it wasn't really an
     4   the product we currently have on hold, provided    4   investigation into the order itself. It was an
     5   Publix agrees not to distribute our oxycodone      5   investigation into the overall oxycodone
     6   products to these nine locations.                  6   business at these ten locations.
     7           That's meaning the locations that          7        Q. Let me restate it. The orders were
     8   you had investigated; is that correct?             8   held by -- was it DEF OPS at this time?
     9        A. Correct. That is correct.                  9        A. No. Well, it -- they would have
    10   Actually, there were ten locations but nine       10   been held by DEF OPS, but I was aware that the
    11   that I wanted restricted.                         11   orders were coming prior to them hitting DEF
    12        Q. Okay. There were ten actual               12   OPS.
    13   pharmacies at Publix that were making orders      13        Q. Okay. But your understanding is
    14   and you wanted nine of them restricted?           14   that the computer algorithm, the new one -- the
    15        A. Correct.                                  15   updated one and improved computer algorithm
    16        Q. Okay. I made a mistake. I want to         16   called DEF OPS actually flagged or pended these
    17   now go down to and look at the e-mail below       17   orders from Publix, correct?
    18   that that this was in response to, okay?          18        A. For all customers who were ordering
    19        A. Okay.                                     19   this product.
    20        Q. Okay. So this is again almost two         20        Q. Okay. And after the orders were
    21   weeks later and you've still held these Publix    21   flagged and pended and you knew about them, you
    22   orders.                                           22   then, as the manager of the suspicious order
    23        A. Well, in a -- I have to give an           23   monitoring program, went and did an
    24   addition. We were also holding orders for --      24   investigation into -- more of an investigation

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     1   into, frankly, your customers' customers,          1        A. Well, and not the volume of it but
     2   right?                                             2   the ratio of the 40-milligram compared to the
     3        A. Correct, the downstream pharmacies,        3   20-milligram, the 10-milligram, the
     4   yes.                                               4   80-milligram, that the 40 was the top one. And
     5        Q. And part of the reason you did that        5   I felt that was unusual and warranted
     6   is because, as we said in prior e-mails, you       6   investigation.
     7   said there were red flags that made you want to    7        Q. Okay. And then you went to work
     8   investigate further, correct?                      8   and you actually did -- like you said earlier,
     9        A. Correct.                                   9   I think, you got online and you did some
    10        Q. Things like the dosage or the             10   Google-type searches and things like that, did
    11   breakdown of how they were ordering the           11   you not?
    12   oxycodone, right?                                 12        A. Well, did some Google searches,
    13            MR. HAMMOUD: Objection to the            13   looked at the -- you know, verified licenses of
    14        form, asked and answered.                    14   prescribers, looked for -- you know,
    15            THE WITNESS: Yeah, the -- you            15   essentially telling the story of who the
    16        know, the breakdown of strength on the       16   prescribers are of these products. And not
    17        forecast.                                    17   necessarily the products that we were intending
    18   BY MR. CARTMELL:                                  18   to sell to Publix but actually the
    19        Q. Right. And also the fact that this        19   immediate-release product that was another
    20   was in Florida, a place where you knew this       20   company's product. So what I was investigating
    21   type of drug was sought after by abusers,         21   wasn't our product, it was another company's
    22   correct?                                          22   product.
    23        A. Well --                                   23        Q. Okay. Let's see what your
    24            MR. HAMMOUD: Objection, asked and        24   investigation found. And you say that and
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     1        answered.                                     1   summarize that in your e-mail below of
     2           THE WITNESS: Yeah, and Florida             2   Wednesday, October 28th, to Colleen McGinn,
     3        wouldn't have been the only reason to         3   your boss, correct?
     4        hold the product.                             4        A. Correct. Because this primarily
     5   BY MR. CARTMELL:                                   5   involves another company's product, yes.
     6        Q. It's just one red flag, right?             6        Q. Okay. And you say, On October 27,
     7        A. It was just another red flag.              7   2015, I received data concerning oxycodone
     8        Q. These red flags are what led you to        8   usage at Publix Super Market, Inc. The data
     9   go further and do more investigation, correct?     9   comprised of total dosage units dispensed of
    10        A. That red flag wouldn't have been          10   all oxycodone tablet SKUs for the month of
    11   one to make me go further down the line.          11   September 2015 for their top ten locations,
    12        Q. What made you go further down the         12   along with a list of the top five oxycodone
    13   line and do actual research into the customer's   13   prescribers for each location. The following
    14   customer?                                         14   is an analysis of that data.
    15        A. That was going to be the --               15            Right?
    16   primarily the strength mix of what they were      16        A. Correct.
    17   looking for, that it was hyped [sic] to the       17        Q. Okay. And you had asked Publix,
    18   40-milligram product, that that was the top       18   right -- you had asked the salespeople to go to
    19   strength that they were looking for.              19   Publix and get information relating to their
    20        Q. And because you saw that they were        20   top ten locations, along with their top
    21   ordering so much of this 40-milligram, or one     21   prescribers, correct?
    22   of the higher strengths, you wanted to see        22        A. Correct.
    23   where these drugs were actually going from        23        Q. And Publix -- the salespeople were
    24   Publix?                                           24   able to get that data so that you could look at

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     1   that data and analyze it to try to determine       1        form.
     2   whether or not there was suspicious orders         2   BY MR. CARTMELL:
     3   going on, right?                                   3        Q. Diversion?
     4        A. No, not suspicious orders.                 4        A. Potential diversion, yes.
     5        Q. Suspicious activity?                       5        Q. Okay. So what you found when you
     6            MR. HAMMOUD: Objection to the             6   looked at that data was that -- well, you
     7        form.                                         7   summarize it below --
     8            THE WITNESS: Potentially                  8        A. Oh, yes.
     9        suspicious activity.                          9        Q. -- and I'll read it.
    10   BY MR. CARTMELL:                                  10           At each location, with the
    11        Q. Okay. You state, There were ten           11   exception of 0537 -- and there you list out all
    12   locations listed. All stores are located in       12   this information --
    13   the state of Florida. Location 3210 is located    13        A. Yes.
    14   on the campus of Moffitt Cancer Center.           14        Q. -- their percentages -- oxycodone
    15            So that means one of the pharmacies      15   IR 30, the highest strength immediate-release
    16   that Publix was on -- or one of the pharmacies    16   oxycodone available, was the top oxycodone
    17   was on a cancer center premises?                  17   product dispensed. By contrast, at the cancer
    18        A. Correct.                                  18   center, the top oxycodone product dispensed was
    19        Q. All 3210-listed physicians are            19   IR 5 milligrams.
    20   associated with MCC; oxycodone products and       20           And so you can see at these
    21   quantities at 3210 appear to be consistent with   21   locations you looked at, they were dispensing
    22   a large oncology practice. The balance of the     22   one of the higher milligrams when compared to a
    23   retail locations are typical retail, located      23   cancer center, correct?
    24   inside grocery stores.                            24        A. Exactly.
                                               Page 443                                                Page 445
     1            Right?                                    1        Q. And that's suspicious to you,
     2         A. Correct.                                  2   correct?
     3         Q. Oxycodone IR 30-milligram data was        3           MR. HAMMOUD: Objection to the
     4   examined due to its status as a highly             4        form.
     5   sought-after product among abusers and due to      5           THE WITNESS: And that is something
     6   its limited use in retail pharmacy.                6        that I find consistent with diversionary
     7            Why were you using oxycodone IR           7        activity.
     8   30-milligram data?                                 8   BY MR. CARTMELL:
     9         A. Because the -- going back to that         9        Q. Okay. You state that for Dr. Ralph
    10   ratio of strengths for the extended-release       10   Page -- strike that.
    11   product, because again, the product that we       11           Then you also did inquiries into
    12   were launching was an extended-release product,   12   the top prescribers, meaning doctors, at the
    13   was not an immediate-release product,             13   nine Publix stores uncovered -- or -- and you
    14   suggested, based on my experience, that there     14   uncovered some information, correct?
    15   were issues in the pharmacy with oxycodone        15        A. Correct.
    16   30-milligram immediate release.                   16        Q. I'm going to ask that question
    17         Q. "Issues" meaning what?                   17   again. Then you also did some further research
    18         A. Meaning that the -- filling for          18   into the top doctors or prescribers at the nine
    19   prescribers who may have significant discipline   19   stores and uncovered some information about
    20   and may have lax prescribing habits.              20   those prescribers, correct?
    21         Q. There may be some sort of fishy or       21        A. Correct.
    22   suspicious things going on?                       22        Q. Okay. And you actually list those
    23         A. Diversion, correct.                      23   out. For example, Dr. Ralph Page, you looked
    24            MR. HAMMOUD: Objection to the            24   into him in Melbourne, Florida, and you found

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     1   that he was operating a cash-only pain clinic      1   Dr. J. Gayden (whose license was relinquished
     2   business.                                          2   due to overprescribing controlled substances
     3        A. Yes.                                       3   and trading prescriptions for sex with underage
     4        Q. 140 up front, but he holds no pain         4   patients) are now patients at this doctor's
     5   clinic license as required by the state,           5   clinic, correct?
     6   correct?                                           6        A. Correct.
     7        A. Correct.                                   7        Q. Again, fishy, suspicious-type
     8        Q. That sounds pretty suspicious,             8   behavior that could be associated with
     9   right?                                             9   diversionary activity, correct?
    10        A. Yes.                                      10            MR. HAMMOUD: Objection to the
    11            MR. HAMMOUD: Objection to the            11        form.
    12        form.                                        12            THE WITNESS: I would say it's
    13   BY MR. CARTMELL:                                  13        consistent with something that could be
    14        Q. Suspicious for diversionary               14        a diversionary activity, exactly.
    15   activity, correct?                                15   BY MR. CARTMELL:
    16        A. Could be.                                 16        Q. Dr. Kevin Sheahan, you found that
    17            MR. HAMMOUD: Objection to the            17   his pain clinic practice is located in Atlanta,
    18        form.                                        18   which is 628 miles from this pharmacy, correct?
    19   BY MR. CARTMELL:                                  19        A. Correct.
    20        Q. You looked into Dr. Mahmoud               20        Q. That's a red flag, isn't it?
    21   El-Tobgui and you found that he's an OB/GN        21        A. I would say that's a red flag.
    22   operating a pain clinic. It's again a             22        Q. Because when doctors are
    23   cash-only pain clinic, correct?                   23   prescribing pain -- opioid pain prescriptions
    24        A. Correct.                                  24   and people are driving 628 miles to pick them
                                               Page 447                                               Page 449
     1        Q. And you know from your experience          1   up, that's a red flag that there may be some
     2   that that can be a red flag, correct?              2   diversionary tactics or abuse going on,
     3        A. Correct.                                   3   correct?
     4        Q. You looked at Dr. Velleff. He was          4        A. Oh, yeah. Mm-hmm.
     5   disciplined for abandoning a previous practice;    5        Q. No question, right?
     6   "carloads" of out-of-state patients in his         6            MR. HAMMOUD: Objection to the
     7   clinic getting prescriptions, correct?             7        form.
     8        A. Correct.                                   8            THE WITNESS: I would say that's a
     9        Q. And you know that that is a                9        fair assessment, yeah.
    10   potential red flag of a pill mill type of         10   BY MR. CARTMELL:
    11   situation, correct?                               11        Q. Okay. Then you looked at
    12        A. Correct.                                  12   Dr. Michael Mozzetti.
    13        Q. Pill mill -- this is significant          13            He runs an urgent care clinic that
    14   anecdotal evidence of pill mill activity with     14   anecdotally doesn't take urgent care or
    15   his practice, is what you said, correct?          15   emergency patients. This is significant
    16        A. Correct.                                  16   anecdotal evidence of pill mill activity.
    17        Q. You looked at Dr. -- skipping             17            Correct?
    18   down -- Dr. Scott Hardoon. He had a 600 cash      18        A. "There is," not "this is."
    19   fee to enroll as a pain patient, and his          19        Q. "There is."
    20   license -- strike that.                           20        A. Yeah.
    21           Another red flag, correct?                21        Q. Okay. So another doctor that you
    22        A. Correct.                                  22   looked into that's using these Publix
    23        Q. There is significant anecdotal            23   pharmacies, there's all kinds of red flags
    24   evidence that former pain patients belonging to   24   showing and suspicion showing that there may be

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     1   diversionary activity going on, correct?           1   BY MR. CARTMELL:
     2        A. Correct.                                   2         Q. Well, let me hand you Exhibit 23.
     3        Q. You then -- if you go down to              3             MR. HAMMOUD: Can you tell us where
     4   Dr. Naglaa Abdel-Al, his practice is 78.3 miles    4         we are in time?
     5   from the pharmacy.                                 5             VIDEO OPERATOR: Three and a half
     6        A. Her practice.                              6         minutes left.
     7        Q. Excuse me. Her practice is either          7             MR. CARTMELL: How much?
     8   78.3 miles or 40.8 miles (according to the         8             MR. HAMMOUD: Three and a half
     9   Florida license) from the store. And she was       9         minutes.
    10   disciplined in Arizona for abandoning an          10             MR. CARTMELL: Okay. I'll try to
    11   anesthetized patient in order to inject/abuse a   11         talk fast.
    12   sedative, resulting in her overdose.              12   BY MR. CARTMELL:
    13           You found that too?                       13         Q. Exhibit 23, this is another text
    14        A. Oh, yes.                                  14   message, or is this IM messaging that you had?
    15        Q. And then finally, Dr. McGaha, her         15         A. Yes. This is an IM. Uh-huh.
    16   office appears to be 116 miles from the Publix    16   10/30. Okay, so that's a couple days after
    17   store where the opioids are being picked up?      17   this. Okay, I'm good.
    18        A. Correct.                                  18         Q. A couple days after, you've done
    19        Q. All of this points to --                  19   your research and you see these red flags and
    20           MR. HAMMOUD: Objection to the             20   suspicious activity, and you decide that you're
    21        form. Sorry.                                 21   still willing to release a portion of these
    22           MR. CARTMELL: I didn't even ask           22   opioids that were going to go to Publix.
    23        the question yet.                            23         A. Now --
    24   BY MR. CARTMELL:                                  24         Q. Is that true? First of all, answer
                                               Page 451                                               Page 453
     1        Q. This data -- all of this data that         1   that.
     2   you were finding in your Internet searches and     2        A. Oh, for the opioids we had on hold?
     3   the other websites that you were going to          3        Q. Yes.
     4   showed that your customers' customers, these       4        A. Yes. Yes.
     5   doctors, looked like they may be diverting         5        Q. In other words, you're still
     6   opioids, correct?                                  6   talking to the sales side of the company, and
     7        A. So why the hell do they still have         7   they're pressuring you to release these holds,
     8   a license and are still registered with the        8   and at this point you had actually said that
     9   DEA?                                               9   you would be willing to release these opioids,
    10        Q. Right.                                    10   or a portion of these opioids, if you could
    11        A. That's what I want to know, why           11   have an in-face, face-to-face visit with the
    12   they continued to be licensed after being         12   company, correct?
    13   disciplined in this manner, opening these sorts   13        A. To have a meeting with the company,
    14   of businesses, and it's up to me to go and        14   yes. And it's important to note that these
    15   identify it.                                      15   prescribers weren't prescribing the product in
    16        Q. Right. And then you say that these        16   question that we had on hold, that they were
    17   are huge red flags.                               17   prescribing oxycodone 30-milligram immediate
    18           So this battle between you and            18   release.
    19   sales continues, correct?                         19        Q. Okay. Right. But these are
    20        A. No. This was pretty much the end          20   doctors who are actually shopping at and get --
    21   of the battle, as you call it.                    21   and writing prescriptions to the pharmacies
    22           (Exhibit Teva-Tomkiewicz-023 marked       22   that you have said --
    23        for identification and attached to the       23        A. That I don't want my product going
    24        transcript.)                                 24   to until we have a conversation with them --

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     1        Q. Right.                                    1        immediate release because we did not
     2        A. -- and discuss their program,             2        have that product at that time.
     3   correct.                                          3   BY MR. CARTMELL:
     4        Q. Right. Because these doctors are          4        Q. So I want the jury to be clear
     5   using those pharmacies, right, and you know       5   about this. Even though you did this
     6   that at this point, correct?                      6   investigation and found all of this data that
     7        A. Yes.                                      7   you found to be truly indicative and bad of
     8        Q. Okay. And you've already flagged          8   diversionary activity, and you knew doctors
     9   them because you've said there were red flags     9   were using those pharmacies for that purpose of
    10   that showed it may be suspicious, correct?       10   getting opioids, you released the product
    11            MR. HAMMOUD: Objection to the           11   because you said, that wasn't our product, so
    12        form.                                       12   we don't have to report it. Correct?
    13   BY MR. CARTMELL:                                 13           MR. HAMMOUD: Objection to the
    14        Q. Is that correct?                         14        form.
    15        A. That our orders may be suspicious?       15           THE WITNESS: And again, I did not
    16        Q. Yeah. You flagged them because           16        see anything suspicious specifically to
    17   there were red flags.                            17        our product, to our orders.
    18        A. Oh, yes. And red flags not               18   BY MR. CARTMELL:
    19   specifically with the order but with what I      19        Q. And so because it wasn't --
    20   thought was Publix' own system.                  20        A. So there was nothing to report.
    21        Q. You say here, We can't have any of       21        Q. -- your product, you didn't report
    22   the product going to Publix until we okay it,    22   anything, did you?
    23   the data was that bad.                           23           MR. HAMMOUD: Objection to the
    24        A. Correct.                                 24        form.
                                              Page 455                                               Page 457
     1        Q. And ultimately, sir, is it true           1   BY MR. CARTMELL:
     2   that, in fact, you didn't report any of these     2       Q. Did you?
     3   Publix pharmacies, did you?                       3       A. I didn't see any orders. I had no
     4        A. I didn't see any specific orders of       4   orders to report.
     5   ours that were being filled by these              5       Q. Publix ordered from your company --
     6   physicians. Again, these physicians [sic] were    6           MR. HAMMOUD: Tom, time is up.
     7   for a different product, for oxycodone            7           MR. CARTMELL: Hold on.
     8   30-milligram immediate release, which was not     8           MR. HAMMOUD: I'll give you the
     9   our product.                                      9       professional courtesy of one more
    10        Q. Is your testimony that if you find       10       question, but that's it.
    11   suspicious activity that you say is that bad,    11   BY MR. CARTMELL:
    12   is clear in your mind, that even -- just         12       Q. Publix ordered from your pharmacy
    13   because it's not your product, you don't have    13   generic 30 milligrams oxycodone, correct?
    14   to report it to the DEA?                         14       A. Wrong.
    15            MR. HAMMOUD: Objection to the           15       Q. What did they order from you?
    16        form.                                       16           MR. HAMMOUD: That's it. Time is
    17   BY MR. CARTMELL:                                 17       up.
    18        Q. Is that your testimony?                  18           THE WITNESS: Time's up.
    19            MR. HAMMOUD: Calls for a legal          19           MR. CARTMELL: I've got like three
    20        conclusion.                                 20       questions.
    21            THE WITNESS: If I had seen an           21           MR. HAMMOUD: Okay. I'll give you
    22        order, I would have reported it for         22       three questions.
    23        those products. But I did not see an        23           THE WITNESS: Extended-release
    24        order for oxycodone 30-milligram            24       oxycodone.

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     1   BY MR. CARTMELL:                                   1        Q. Have you ever done a site visit to
     2        Q. So these Publix pharmacies were            2   a customer of Teva's in Tennessee?
     3   ordering opioids from your company, correct?       3        A. No.
     4        A. Correct.                                   4        Q. Do you recall what your business
     5        Q. Those orders were flagged as               5   was in Tennessee when you went there for work?
     6   suspicious, and then you detailed to sales red     6        A. Oh, certainly. Back when I was
     7   flags related to those orders, didn't you?         7   with PharMerica, and probably Bergen Brunswig,
     8        A. Wrong.                                     8   you know, as we talked about earlier in the
     9           MR. HAMMOUD: Objection to the              9   day, we had pharmacies, owned pharmacies,
    10        form.                                        10   nursing home pharmacies that I audited. And
    11           THE WITNESS: Wrong. They were not         11   then additionally when I was with
    12        flagged as suspicious.                       12   AmerisourceBergen, I had -- did some customer
    13   BY MR. CARTMELL:                                  13   site visits.
    14        Q. They were flagged as potentially          14        Q. Is that all of the travel that you
    15   suspicious, correct?                              15   did to Tennessee with regard to work-related
    16           MR. HAMMOUD: Objection to the             16   travel?
    17        form.                                        17        A. Let's see. I also attended a NADDI
    18           THE WITNESS: I would say that             18   conference in Gatlinburg.
    19        there was something that -- as I             19        Q. Anything else you can remember?
    20        previously said, that they were              20   Was that while you were with Teva?
    21        indicative of things that I felt could       21        A. For NADDI?
    22        be deficient with Publix' program.           22        Q. Yes.
    23   BY MR. CARTMELL:                                  23        A. Well, that's not the reason, that
    24        Q. Potentially suspicious, correct?          24   I'm with Teva, as part of NADDI. And that was
                                               Page 459                                               Page 461
     1           MR. HAMMOUD: Tom -- objection to           1   years ago. That was early 2000s.
     2        the form. Move to strike the question.        2        Q. Got it. We've talked a lot about
     3           THE WITNESS: Any controlled                3   diversion today. What, in your mind, is a
     4        substance order is potentially                4   diverted prescription opioid?
     5        suspicious.                                   5        A. You mean the specific product?
     6           MR. CARTMELL: That's all I have.           6        Q. No, no, no, I mean just generally
     7        Thanks.                                       7   when we talk about diversion.
     8           VIDEO OPERATOR: Going off the              8        A. What is diversion?
     9        record, 6:49 p.m.                             9        Q. What is diversion, in your mind?
    10           (Recess from 6:49 p.m. until              10        A. In my mind, diversion is anything
    11        6:53 p.m.)                                   11   that -- well, in the -- from the controlled
    12           VIDEO OPERATOR: Back on record at         12   substance standpoint -- sorry, I do stutter --
    13        6:53 p.m.                                    13   from a controlled substance standpoint, that
    14               EXAMINATION                           14   would be anything that is -- where the product
    15   BY MR. GASTEL:                                    15   is moved outside of the closed system of
    16        Q. Mr. Tomkiewicz, my name is Ben            16   distribution until it gets to the ultimate end
    17   Gastel, and I represent plaintiffs in cases       17   customer.
    18   that are pending in Tennessee. So everyone I      18           Now, there is also contract
    19   represent is located in the state of Tennessee.   19   diversion, which is not necessarily controlled
    20           Have you ever been to the state of        20   substances, but that would be moving product
    21   Tennessee?                                        21   outside of a class of trade to a different
    22        A. Yes, I have.                              22   class of trade, a preferentially priced
    23        Q. Have you ever been there for work?        23   product.
    24        A. Yes, I have.                              24        Q. And why is it important that

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     1   controlled substances, and specifically            1        generally people are people, and whether
     2   opioids, stay within the closed system of          2        the person is in Appalachia or the
     3   distribution?                                      3        person is in the Pacific Northwest or
     4        A. Now, are you talking from just a           4        the northeast of the country, pain is
     5   philosophical standpoint?                          5        going to be pain. And so from a
     6        Q. I'm talking about your                     6        geographic area -- well, in terms of our
     7   understanding of why that's important.             7        system, we treat all geographic areas
     8        A. Well, and again, you know, that            8        the same.
     9   becomes a philosophical question, you know, not    9           So if we find something that is in
    10   just a regulatory question, because that --       10        one geographic area, you know, with the
    11   from my personal standpoint, you know,            11        way that we do our peer comparisons,
    12   that's -- well, a couple reasons. With            12        we're comparing, you know, a customer
    13   controlled substances, it's to help keep          13        who may be servicing, you know, a lot of
    14   product in legitimate supply channels and to      14        pharmacies in the Appalachian area,
    15   keep them away from abusers. From a contract      15        they're going to be compared to other
    16   diversion standpoint, the primary risk there is   16        geographic areas. So if, you know,
    17   inflating costs to hospitals through gray         17        they're elevated compared to a different
    18   marketing of a short supply product.              18        geographic area, that is going to be
    19        Q. And when you say "legitimate supply       19        something that is more likely to be
    20   channels," do you mean the legal supply           20        further investigated.
    21   channels?                                         21   BY MR. GASTEL:
    22        A. Correct. Correct.                         22        Q. But is that something that's built
    23        Q. I think that we saw a slide or we         23   in automatically to your algorithm?
    24   saw a document earlier where you described        24        A. Yes, I built that into the
                                               Page 463                                               Page 465
     1   Florida as a hotspot for opioid abuse. Do you      1   algorithm.
     2   recall that?                                       2        Q. You've talked a little bit today
     3        A. For oxycodone.                             3   about, again, how prescription opioid diversion
     4        Q. Are you aware that Appalachia is           4   and abuse is a very serious issue. I want to
     5   also a hotspot for opioid abuse?                   5   drill down a little bit more on what you mean
     6        A. Oh, yes.                                   6   by that.
     7        Q. Have you ever heard of the                 7           Would you agree that it's a public
     8   Appalachia High Intensity Drug Trafficking         8   health concern whenever prescription opioids
     9   Area?                                              9   are diverted and consumed for nonmedical
    10        A. I'm not familiar with that term.          10   purposes?
    11        Q. Are you aware that much of east           11           MR. HAMMOUD: Object to the form.
    12   Tennessee falls in or lies adjacent to this       12           THE WITNESS: I would say that's a
    13   Appalachian corridor?                             13        very fair assessment. Um-hmm.
    14        A. Yes.                                      14   BY MR. GASTEL:
    15        Q. Does Teva treat orders that are           15        Q. Would you agree that it's a public
    16   going to that area any differently than orders    16   health concern whenever prescription opioids
    17   going anywhere else?                              17   are consumed for nonmedical purposes?
    18            MR. HAMMOUD: Objection to the            18           MR. HAMMOUD: Object to the form.
    19        form.                                        19           THE WITNESS: And I would say
    20            THE WITNESS: And I can't think of        20        that's a fair assessment.
    21        any -- well, from the -- well, I would       21   BY MR. GASTEL:
    22        be hard-pressed to say that we take into     22        Q. In your mind, what are the
    23        account any geographical areas as far as     23   nonmedical reasons why a person would consume a
    24        the scrutiny of our system because           24   prescription opioid?

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     1        A. To get high.                               1   assessment.
     2        Q. Any other reasons?                         2        Q. And you talked a lot today about
     3        A. I have anecdotally heard of pain           3   how sometimes -- and I think the description
     4   patients who have, you know, been terminated       4   you used is, your product ends up on the
     5   from pain clinics who are still trying to seek     5   street. Do you recall some of that testimony?
     6   pain relief. But in terms of diversion, I          6        A. Oh, yes.
     7   can -- anything that goes outside of the           7        Q. When you say "your product," you
     8   legitimate channel, I consider that the same       8   really mean Teva-produced prescription opioids,
     9   as -- you know, from my perspective, as a          9   right?
    10   patient getting high. I'm not going to do an      10        A. I mean Teva-produced controlled
    11   allowance just because I think that, you know,    11   substances.
    12   this might be a legitimate pain patient getting   12        Q. But that would include
    13   product from an illicit channel. I don't buy      13   Teva-produced prescription opioids, right?
    14   it.                                               14        A. Well, the photographs that I've
    15        Q. Would you agree that prescription         15   seen, I haven't seen our opioids on them. I
    16   opioids are consumed for nonmedical purposes      16   didn't see any of our opioids. They were
    17   throughout the United States?                     17   benzodiazepines, primarily.
    18           MR. HAMMOUD: Object to the form.          18        Q. Well, I understand that you might
    19           THE WITNESS: I would say that's           19   not have seen photographs of it, but you would
    20        probably a fair assessment, a very fair      20   agree with me that that includes Teva-produced
    21        assessment.                                  21   prescription opioids, right?
    22   BY MR. GASTEL:                                    22        A. Oh, I'm certain that that's
    23        Q. Would you say that that's also true       23   happened, yes.
    24   in the state of Tennessee?                        24        Q. And so would you agree with me that
                                               Page 467                                               Page 469
     1        A. I wouldn't exclude them.                   1   despite Teva's efforts, the prescription
     2        Q. Would you agree that ensuring              2   opioids that it produces have been placed in
     3   prescription opioids are not consumed for          3   diverted channels to consumers for use for
     4   nonmedical purposes is an important public         4   nonmedical purposes?
     5   health concern?                                    5           MR. HAMMOUD: Object to the form.
     6        A. I would say that's a fair                  6           THE WITNESS: Yeah, and I'm not
     7   assessment.                                        7        certain what you mean, despite our
     8        Q. Would you agree that some consumers        8        efforts.
     9   of prescription opioids obtain those opioids       9   BY MR. GASTEL:
    10   via illegal diversion for nonmedical purposes?    10        Q. Well, I'll just ask, would you
    11        A. I'm sorry, could you repeat that          11   agree with me that the prescription opioids
    12   one?                                              12   that Teva produces have been diverted to
    13        Q. Sure. Would you agree that some           13   consumers for nonmedical purposes?
    14   consumers of prescription opioids obtain those    14        A. Oh, yes.
    15   opioids via illegal diversion for nonmedical      15        Q. And that happens throughout the
    16   purposes?                                         16   country, right?
    17        A. Oh, yes.                                  17        A. I'm certain that it has.
    18        Q. And that happens throughout the           18        Q. And it's certainly been happening
    19   country, right?                                   19   in Tennessee for quite some time, right?
    20        A. That's a fair assessment.                 20           MR. HAMMOUD: Object to the form.
    21        Q. And that's been happening                 21           THE WITNESS: Well, I can't say
    22   throughout the state of Tennessee for a long      22        that for certain for -- for the term
    23   time too, correct?                                23        "quite some time."
    24        A. I would say that's a fair                 24   BY MR. GASTEL:

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     1        Q. Well, since, let's say, at least           1   reviewed a document published by the Tennessee
     2   2014?                                              2   Department of Health on Tennessee's opioid
     3        A. I can't even say 2014. And that's          3   crisis?
     4   because of the type of opioids that we had at      4        A. I may have, but I don't recall
     5   that time from 2014, 2015, 2016. Generally the     5   specifically.
     6   opioids that we had weren't opioids that were      6        Q. Are you aware that in -- as of
     7   highly sought after by abusers.                    7   2013, 2014, the Tennessee Department of Health
     8        Q. Well, I understand that they might         8   estimated that there were 221,000 adults in
     9   not be highly sought after by abusers, but they    9   Tennessee using prescription pain relievers for
    10   were undoubtedly diverted into channels for       10   nonmedical purposes?
    11   consumers to use for nonmedical purposes, even    11        A. I haven't heard that number.
    12   though they might not be the most sought-after    12        Q. Would you be surprised if that was
    13   ones; is that fair to say?                        13   true?
    14           MR. HAMMOUD: Object to the form.          14        A. No.
    15           THE WITNESS: I would say it's             15        Q. Are you aware that in 2015, doctors
    16        definitely possible, yeah.                   16   in Tennessee wrote more than 7.8 million opioid
    17   BY MR. GASTEL:                                    17   prescriptions in the state of Tennessee?
    18        Q. We've seen a lot of data today            18        A. So why did Tennessee license them?
    19   about your suspicious order monitoring program.   19   Why don't they revoke the license?
    20   Do you have an opinion as to what percentage of   20        Q. Well, I mean, we'll maybe ask the
    21   prescription opioid orders that were made --      21   Department of Health one day. But are you
    22   well, strike that.                                22   aware --
    23           Do you believe that Teva's                23        A. That would be nice.
    24   suspicious order monitoring program correctly     24        Q. -- that that is the number of
                                               Page 471                                               Page 473
     1   flagged and stopped every order of prescription    1   opioid prescriptions in the state of
     2   opioids that was intended to be consumed for       2   Tennessee --
     3   nonmedical purposes?                               3            MR. HAMMOUD: Object to the form.
     4           MR. HAMMOUD: Object to the form.           4   BY MR. GASTEL:
     5           THE WITNESS: That -- I can't               5        Q. -- in 2015?
     6       determine that.                                6            MR. HAMMOUD: Sorry. Object to the
     7   BY MR. GASTEL:                                     7        form.
     8       Q. Is that the goal of the suspicious          8            THE WITNESS: I'm not aware.
     9   order monitoring program?                          9   BY MR. GASTEL:
    10           MR. HAMMOUD: Object to the form.          10        Q. I think that we kind of covered
    11           THE WITNESS: The goal of the              11   this a little bit earlier, but I want to make
    12       suspicious order monitoring program is        12   sure that it's on the record that -- in your
    13       that it -- it's actually multifold.           13   mind, what is a suspicious order for
    14       It's to identify suspicious orders, it's      14   prescription opioids?
    15       to maintain effective controls against        15            MR. HAMMOUD: Object to the form.
    16       diversion. And that's probably the            16            THE WITNESS: A suspicious order
    17       biggest one that I'm looking at is            17        for opioids is going to be a suspicious
    18       working to prevent diversion.                 18        order for really anything that I
    19   BY MR. GASTEL:                                    19        monitor. It's going to be something
    20       Q. Do you have any understanding of           20        that is going to be of an unusual size,
    21   opioid prescription rates in the state of         21        pattern, or frequency where I can't --
    22   Tennessee?                                        22        where unusual becomes something where
    23       A. Prescription rates? No.                    23        there's a red flag that I can't explain.
    24       Q. Do you have -- have you ever               24        If I have a -- if I see a legitimate use

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     1        for this product, a legitimate need for       1   months.
     2        the product, generally those sorts of         2         Q. How does that work?
     3        things are going to satisfy a red flag.       3            MR. HAMMOUD: Object to the form.
     4        But in terms of opioids, you know, then       4            THE WITNESS: In terms of how we're
     5        I'm looking at things like hospice and        5         looking at the previous 12 months or how
     6        cancer care, like in the last document        6         the algorithm looks at the previous 12
     7        that I reviewed with the previous             7         months?
     8        attorney.                                     8   BY MR. GASTEL:
     9   BY MR. GASTEL:                                     9         Q. Yeah, like how does it -- I mean, I
    10        Q. So we saw some statistics about           10   assume that it's a computer-based system and
    11   your suspicious order monitoring program today    11   it's a software-based system.
    12   that showed that it reviews approximately         12         A. Correct.
    13   10,000 order lines each month?                    13         Q. So is it told to look at a given
    14        A. At that time, correct.                    14   customer's orders just for the last 12 months?
    15        Q. What is an order line? And how is         15         A. No. We have numbers that are built
    16   it different from an order, if at all?            16   into it that are compiled from historical
    17        A. Oh, well, an order line -- well, an       17   purchases, looking at not just the specific
    18   order may comprise of a number of different       18   customer but looking at the customer's peer
    19   products. You know, if we're talking              19   group by business type and by relative size.
    20   oxycodone, oxycodone 10-milligram, oxycodone      20   And so we group customers into essentially
    21   extended release 20-milligram, each of those      21   these pockets where we can develop a -- what we
    22   are going to be separate order lines within a     22   consider to be a statistical norm for this
    23   single order.                                     23   group of customers. In that way, you know,
    24        Q. And so you're tracking each one of        24   we're comparing a customer, say, in Tennessee
                                               Page 475                                               Page 477
     1   those line items in the order. Is that what        1   with a like customer across the country. So
     2   you're saying?                                     2   if, for example, you know, something in
     3             MR. HAMMOUD: Object to the form.         3   Appalachia is showing as being elevated
     4             THE WITNESS: Correct. We're              4   compared to the rest of the country, that's
     5         looking at each line of an order.            5   going to be something that's going to be more
     6   BY MR. GASTEL:                                     6   likely to be investigated into that customer in
     7         Q. Does your current version of the          7   Appalachia. Does that help?
     8   algorithm incorporate any chargeback data?         8         Q. Yeah. Does the algorithm
     9         A. Within the algorithm? No.                 9   incorporate information from Quintiles?
    10         Q. And the algorithm uses historical        10         A. Quintiles? Well, Quintiles is now
    11   purchasing data as a baseline to determine        11   called IQVIA, a part of IMS, and no, it
    12   whether or not an order is suspicious?            12   doesn't.
    13             MR. HAMMOUD: Object to the form.        13         Q. Do you have access to IMS data?
    14             THE WITNESS: No. It uses                14         A. I don't have access to IMS data,
    15         historical data into -- to develop          15   but I do have access to EDI 867 data, which is
    16         statistical norms for customers across      16   very similar.
    17         like sciences and like business types.      17         Q. And you might have answered this
    18   BY MR. GASTEL:                                    18   question earlier, but when did the algorithm
    19         Q. Does it use the entire historical        19   start incorporating the 867 data?
    20   data that Teva has on a given customer, or does   20         A. Well, the algorithm actually
    21   it -- just flagging orders, say, for the last     21   doesn't incorporate the 867 data. Our
    22   12 months, 14 months, 16 months?                  22   suspicious order monitoring program as a whole
    23         A. Well, the historical data used to        23   incorporates reviewing 867 data.
    24   develop the model is from the previous 12         24         Q. So at what point is the 867 data

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     1   reviewed?                                          1   If they were not sent, it would have been for
     2        A. Well, there's a couple different           2   some other reason other than the suspicious
     3   facets in the way we review it. One would be       3   order monitoring program. But those were ones
     4   specific to an investigation where we're           4   where all the red flags were cleared.
     5   looking at a customer's order where, instead of    5        Q. So is it safe to say that the only
     6   going to the customer and asking for data, it's    6   orders that you did not fulfill in 2015 were
     7   much quicker for us to go and look at the 867      7   the four that were reported to the DEA?
     8   data on that customer to find where a product      8            MR. HAMMOUD: Object to the form.
     9   is ultimately -- you know, at what pharmacy the    9   BY MR. GASTEL:
    10   product is being dispensed from. The other is     10        Q. For suspicious order monitoring
    11   doing a prospective review of different           11   activity.
    12   controlled substances and finding just            12        A. Oh, I would say that's probably
    13   nationally what pharmacies are purchasing these   13   correct.
    14   products.                                         14        Q. So in 2013, when you had one
    15        Q. And we saw the document earlier           15   suspicious order report to the DEA, that was
    16   that in 2015 there were 10,000 order lines        16   the only order held back and not fulfilled for
    17   watched every month, and then approximately 25    17   suspicious order monitoring activity?
    18   of those per month got held back for longer       18            MR. HAMMOUD: Object to the form,
    19   than a day. Do you remember that document?        19        calls for speculation.
    20        A. Correct.                                  20            THE WITNESS: Yes, because I wasn't
    21        Q. Is that statistic accurate?               21        in -- I wasn't there in 2013. So I can
    22        A. At the time, I believe it was, yes.       22        assume that it was not shipped but don't
    23        Q. And then we saw in 2015 this slide        23        know for certain.
    24   in your PowerPoint deck that showed that you      24   BY MR. GASTEL:
                                                Page 479                                              Page 481
     1   had made four suspicious ordering reports to       1        Q. Sure. What about in 2014 when you
     2   the DEA. Do you recall that slide?                 2   were there with the one order that was reported
     3        A. Correct.                                   3   to the DEA, was that the only order that wasn't
     4           MR. HAMMOUD: Objection to the              4   fulfilled due to suspicious order monitoring
     5        form.                                         5   activity?
     6   BY MR. GASTEL:                                     6        A. That is correct.
     7        Q. Is that statistic correct?                 7        Q. And then in 2017 when you had the
     8        A. Yes, I believe it's correct.               8   18 reports, were those the only orders that you
     9        Q. So you hold -- in 2015, just using         9   did not fulfill due to suspicious order
    10   these stats, you've held approximately 300        10   monitoring activity?
    11   orders back for longer than a day. Is that        11            MR. HAMMOUD: Object to the form.
    12   fair?                                             12            THE WITNESS: And I'm going to say
    13        A. Correct.                                  13        correct. And also, one -- a point of
    14        Q. You've reported four orders to the        14        clarification on the suspicious order
    15   DEA?                                              15        reports that I have reported. Because I
    16        A. Correct.                                  16        have reported things through review of
    17        Q. And those were never fulfilled,           17        867 data, which would be orders that we
    18   correct?                                          18        did not fill but that some of our
    19        A. If they were reported as                  19        customers may have filled, those,
    20   suspicious, they were not filled.                 20        because they weren't our orders that I
    21        Q. What happens to the other roughly         21        reported, that they were, you know,
    22   296 orders? Are those all sent to the customer    22        someone else's orders that I saw were
    23   after the investigation?                          23        suspicious and reported, those were
    24        A. Most of them would have been sent.        24        things that were filled but that Teva

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     1        did not have control over determining         1   what was the other half of that?
     2        whether those were to be filled or not.       2        Q. Well, I presume that there's an
     3   BY MR. GASTEL:                                     3   investigation that's going on at that point --
     4        Q. In 2016, was Teva still processing         4        A. Correct.
     5   approximately 10,000 order lines per month?        5        Q. -- with regard to the order. So is
     6        A. Could have been.                           6   the result of the investigation --
     7            MR. HAMMOUD: Object to the form.          7        A. Oh, the result.
     8   BY MR. GASTEL:                                     8        Q. -- the reason why it's released,
     9        Q. Would it have been more or less?           9   tracked anywhere?
    10            MR. HAMMOUD: Same objection.             10        A. Yes, that is maintained.
    11            THE WITNESS: Yeah, I'd have to go        11        Q. And how is it maintained?
    12        and look to be certain.                      12        A. Well, a couple places. For the
    13   BY MR. GASTEL:                                    13   specific order line, there will be a release
    14        Q. And how would you find that out?          14   code and a free text piece that's maintained on
    15        A. Oh, I'd have to go into the system        15   why a specific order line is held, or released.
    16   and pull historic order reports and compile an    16   Then additionally, if it's something where
    17   analysis of how many orders were reviewed, how    17   we've gone to the customer, we maintain that
    18   many lines were reviewed.                         18   information, the -- you know, any materials
    19        Q. For the 300 -- again, going back to       19   that we've gathered through that investigation
    20   that 2015 data, for the 300 orders that were      20   is maintained within the customer's file.
    21   flagged, investigated for longer than a day,      21        Q. We've seen several examples today
    22   and then eventually not reported to the DEA but   22   of you, specifically, asking Teva customers for
    23   then filled, presumably, are those tracked in     23   information on their customers.
    24   any Teva document?                                24        A. Correct.
                                               Page 483                                                Page 485
     1        A. They would be. You know, we can            1         Q. Do you recall ever having a
     2   see how long a review of an order was.             2   customer refuse that request?
     3        Q. And is the result of the review            3         A. Oh, yes.
     4   tracked anywhere in the system?                    4         Q. What do you do when a customer
     5        A. The result of the review of the            5   refuses that request?
     6   order, or reviewing for how long an order sat      6         A. We cease all sales of controlled
     7   on hold?                                           7   substances, gabapentin, and List I chemicals
     8        Q. Both.                                      8   until they comply.
     9        A. Both. Well, one, we don't track --         9         Q. And then how many customers has
    10   we have the ability to, but I don't do any        10   that happened with, approximately?
    11   metrics based on how long we hold an order,       11         A. Not very many. In the past year, I
    12   because generally, if we're holding an order, I   12   can think of one offhand who refused to provide
    13   don't really care about any customer service      13   that information.
    14   issues based on holding it, and I don't want to   14         Q. And then you stopped fulfilling
    15   look like I'm caring about customer service       15   orders?
    16   issues based on holding an order. So the time     16         A. Correct.
    17   that we spend holding an order, you know, for a   17         Q. And then did the customer
    18   day, two days, weeks, because it can be weeks     18   ultimately give it and then you started redoing
    19   sometimes, that doesn't matter to me. What        19   it --
    20   matters to me is the results of the               20         A. Yes.
    21   investigation and determining if this is a        21         Q. -- or refilling orders?
    22   product where we can't resolve a red flag and     22         A. Yes, exactly.
    23   it has to be reported as suspicious.              23         Q. Do you ever recall an instance
    24            On the other side -- and I'm sorry,      24   where the customer refused to provide the

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     1   information about its customers, you then          1   Do you recall this document.
     2   ceased filling orders, and then the customer       2        A. Oh, yes.
     3   just simply never came back?                       3        Q. This is the suspicious order report
     4        A. Yes.                                       4   that you sent to the Drug Enforcement
     5            MR. HAMMOUD: Objection to the             5   Administration, correct?
     6        form.                                         6        A. Correct.
     7   BY MR. GASTEL:                                     7        Q. The document that we have is not
     8        Q. And what customer do you recall            8   signed, but is this what you actually sent to
     9   that happening with?                               9   the DEA?
    10        A. Henry Schein.                             10        A. Oh, they would have received a
    11        Q. And when did that happen?                 11   signed copy.
    12        A. I'm trying to think when                  12        Q. I understand. But it would have
    13   specifically that happened. That may have been    13   been this letter, correct?
    14   in the last year as well, which would make two    14        A. Oh, yes.
    15   customers. That could have been the end of        15        Q. And this relates to orders that
    16   2017, beginning of 2018.                          16   were attempted to be placed by Richie Pharmacal
    17        Q. Any other customers where you can         17   in October 2014, correct?
    18   recall that happened to?                          18        A. Correct.
    19        A. Well, again, there was one other          19        Q. And Richie Pharmacal is actually
    20   customer this year that that happened to, but     20   located in Glasgow, Kentucky.
    21   they ultimately provided the information pretty   21        A. Correct.
    22   quickly.                                          22        Q. Do you know where Glasgow, Kentucky
    23        Q. Any other customers, then, other          23   is?
    24   than the two you've mentioned?                    24        A. I've been there, but that -- I
                                               Page 487                                                Page 489
     1        A. Oh, yeah, there was one other that         1   can't remember specifically because I've been
     2   didn't want to provide information, and we         2   to lots of places in Kentucky.
     3   ceased sales of controlled substances.             3        Q. Did you do a site visit to Richie
     4        Q. You mentioned Richie Pharmacal             4   Pharmacal?
     5   earlier today?                                     5        A. No.
     6        A. Yes.                                       6        Q. Why have you been to Glasgow,
     7        Q. Pharmacal? I don't know if I'm             7   Kentucky then?
     8   saying that right?                                 8        A. When I worked for PharMerica, we
     9        A. Richie Pharmacal, yes.                     9   had a long-term care pharmacy in Glasgow and I
    10        Q. I want to -- do you recall -- why         10   visited them.
    11   does that customer stick out in your mind?        11        Q. Got it.
    12            MR. HAMMOUD: Objection to the            12        A. Audited them.
    13        form.                                        13        Q. Would you have flown or driven to
    14            THE WITNESS: They were the               14   that?
    15        suspicious order report -- the first         15        A. I would have flown there.
    16        suspicious order report that I reported,     16        Q. Do you recall if you flew into the
    17        I believe, and we also terminated their      17   Nashville International Airport for that?
    18        ability to order controlled substances       18        A. I don't remember which airport.
    19        at that time.                                19        Q. The reason why I ask is that
    20            (Exhibit Teva-Tomkiewicz-024 marked      20   Glasgow, Kentucky is actually very close to the
    21        for identification and attached to the       21   state of Tennessee, and probably the closest
    22        transcript.)                                 22   regional airport to it is actually in
    23   BY MR. GASTEL:                                    23   Nashville.
    24        Q. I'm going to show you Exhibit 24.         24            So I want to ask some questions

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     1   about Richie Pharmacal.                           1        Q. Why was that something that you
     2            (Exhibit Teva-Tomkiewicz-025 marked      2   wanted to put in your report, if you recall?
     3        for identification and attached to the       3        A. It seems unusual that a doctor
     4        transcript.)                                 4   dealing with hydrocodone, the top strength of
     5   BY MR. GASTEL:                                    5   hydrocodone, also operates a weight loss
     6        Q. I'm going to show you another             6   clinic. It doesn't seem to be consistent with
     7   exhibit, we'll mark it as Exhibit 25. This is     7   his practice.
     8   an internal memo that Colleen McGinn sent to      8        Q. And then do you see how it says,
     9   you on November 21st, 2014.                       9   Anecdotally appears to be a cash-only business?
    10        A. Oh, I sent it to Colleen.                10        A. Yes.
    11        Q. Oh, I'm sorry. And this, I assume,       11        Q. Do you recall how you came to that
    12   was based on an investigation that you did       12   conclusion?
    13   based on what would eventually be reported as    13        A. Oh, well, that's through anecdotal
    14   the Richie Pharmacal suspicious orders,          14   reports on the Internet, patients chattering
    15   correct?                                         15   about the doctor and about how much they have
    16        A. Correct.                                 16   to pay to get in to see the doctor. If you're
    17        Q. And you'll see that he had --            17   going to see the doctor, you know, be prepared
    18   Richie Pharmacal has, I assume, provided you     18   because it's going to be this much money.
    19   some information about its customers. Is that    19   Those sorts of things.
    20   fair to say?                                     20        Q. And then you have the anecdotal
    21        A. Correct.                                 21   comments down here. Where did you find those?
    22        Q. And then you did an investigation        22        A. Well, they're actually listed.
    23   on its customers, correct?                       23   Vitals.com, topics.com, a lot of topics.com.
    24        A. Correct.                                 24        Q. And the reason why you put this in
                                               Page 491                                              Page 493
     1        Q. I want to direct your attention to        1   your memo is that I assume that you believe
     2   the last page of this exhibit. Do you see the     2   that these were red flags for diversion
     3   reference to Dr. Trent Cross in Oneida,           3   activity going on at Dr. Cross's medical
     4   Tennessee?                                        4   practice?
     5        A. Yes.                                      5        A. Oh, yes.
     6        Q. And it says in the first bullet           6        Q. Are you aware of whether or not
     7   point, In the last six months, Richie sold        7   Dr. Cross ultimately lost his medical license?
     8   Dr. Cross 56,000 tablets of hydrocodone.          8        A. That I don't know.
     9        A. Yes.                                      9        Q. Did you report any of the -- of
    10        Q. And in 2014, was Teva making             10   this related to Dr. Cross to the DEA?
    11   hydrocodone?                                     11        A. Yes, I did.
    12        A. No. That was someone else's              12        Q. And do you know when you did that?
    13   hydrocodone. Well, we did have a hydrocodone     13        A. It would have been around this
    14   with ibuprofen product, but we discontinued it   14   time. And it was actually an unusual
    15   around this time. I think before this.           15   situation, which is why I remember it, in which
    16        Q. And you sort of identify some other      16   it was one of the two times the DEA actually
    17   interesting factors about Dr. Cross, including   17   contacted me about a suspicious order report.
    18   that 69 percent of Richie's hydrocodone sales    18   And so someone from I think the Louisville
    19   to Dr. Cross were 10 milligrams, correct?        19   office had called me up -- and I have his name
    20        A. Correct.                                 20   somewhere, but, you know, it's a few years ago,
    21        Q. And then it says that he maintains       21   so I can't quite remember it -- and he asked
    22   two offices, a Way-Less Weight Loss Clinic and   22   about details about Richie and why we cut them
    23   a Cross Medical Clinic?                          23   off, and so I gave him the details, and I said,
    24        A. Correct.                                 24   you know, I have a whole file full of notes and

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     1   things, send me a subpoena and I'll send you      1   something else following up, just to see if
     2   all my notes. So he sent me a subpoena and I      2   they get it through.
     3   sent him all this stuff.                          3            And the next day, orders came
     4           (Exhibit Teva-Tomkiewicz-026 marked       4   through for buprenorphine with naloxone. And
     5        for identification and attached to the       5   so that helped to reinforce my suspicion that
     6        transcript.)                                 6   that first one was a test order just to see if
     7   BY MR. GASTEL:                                    7   they could place the order.
     8        Q. And I'm going to show you another         8            (Exhibit Teva-Tomkiewicz-027 marked
     9   exhibit which is Exhibit 26.                      9        for identification and attached to the
    10        A. Does he still have his license?          10        transcript.)
    11        Q. I believe it's been suspended,           11   BY MR. GASTEL:
    12   but -- for a variety of reasons.                 12        Q. I'm going to show you Exhibit 27.
    13        A. That's actually a good thing.            13   And this is a letter that you ultimately sent
    14        Q. This is another suspicious order         14   to Richie Pharmacal, correct?
    15   report that you sent to the DEA, correct?        15        A. Correct.
    16        A. Correct.                                 16        Q. It says, In response to your recent
    17        Q. Once again detailing Richie              17   request, please be advised that Teva
    18   Pharmacal, correct?                              18   Pharmaceuticals has decided to discontinue
    19        A. Correct.                                 19   sales of controlled substances to Richie
    20        Q. So between your original report to       20   Pharmacal.
    21   the DEA in December of 2014 and this report in   21        A. Correct.
    22   December of 2015, do you know if Teva filled     22        Q. And this letter is dated
    23   any orders for Richie Pharmacal?                 23   January 22nd, 2016.
    24        A. No controlled substance orders.          24        A. Correct.
                                              Page 495                                               Page 497
     1         Q. And then why did you have a second       1        Q. So prior to that, how did you
     2   report related to Richie Pharmacal then?          2   communicate to Richie Pharmacal that you were
     3         A. Well, because they placed an order       3   not going to fill controlled substances orders
     4   for these products.                               4   for them?
     5         Q. And what made it suspicious, in          5        A. We did have phone calls with
     6   your mind?                                        6   Richie.
     7         A. Well, actually, two things. The          7        Q. And what prompted this letter of
     8   first is that they're not allowed to receive      8   January 22nd, 2016?
     9   controlled substances from Teva. So the act of    9        A. They kept asking, what can we do to
    10   placing an order in itself is suspicious. And    10   get back in your good graces, essentially. I'm
    11   then the nature of the order I found highly      11   not saying that was the exact words they were
    12   suspicious.                                      12   using. But that -- they kept placing calls to
    13             The -- if you notice, there's two      13   different people within the company, you know,
    14   different dates, 6-23 and 6-24. The order on     14   what can we do to get turned back on, what can
    15   6-23 for a small amount of a product called      15   we do to get turned back on. And I said,
    16   estazolam. Estazolam isn't a highly abused       16   there's nothing really you can do.
    17   product. I don't know how other manufacturers    17        Q. Did you alert any of your other
    18   of estazolam view it, but that -- it's often     18   customers not to send Teva product to Richie
    19   considered a very little abuse potential. It's   19   Pharmacal?
    20   a Schedule IV, so it's, you know, farther down   20        A. No.
    21   on the schedule. But what it appeared to me in   21        Q. I want to talk a little bit
    22   a -- and I held that without reporting it on     22   specifically about some other parties specific
    23   that day because my suspicion said this was a    23   to the Tennessee action.
    24   test order and they're going to try to order     24           Have you ever heard of

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                                                                               Review
                                               Page 498                                               Page 500
     1   Dr. Abdelrahman Mohamed?                           1   happened?
     2        A. That one is not ringing a bell.            2        A. He's been convicted now?
     3        Q. What about Timothy Gowder?                 3        Q. No, no, no --
     4        A. Timothy Gowder? Not ringing a bell         4        A. Oh.
     5   either.                                            5        Q. -- that a medical professional in
     6        Q. What about Gary Arlan Moore?               6   Tennessee has been convicted for prescribing
     7        A. That one's ringing a bell, but I           7   prescription opioids for nonmedical reasons.
     8   couldn't give you any details on it.               8        A. Oh, would I be surprised that a
     9        Q. Why do you think that that sounds          9   medical professional has been convicted?
    10   familiar?                                         10        Q. Yeah.
    11        A. It just sounds familiar to me.            11        A. No, I wouldn't be surprised at all.
    12        Q. What about David Florence?                12        Q. Have you ever heard of Boatwright
    13        A. That one is not ringing a bell.           13   Drugs?
    14        Q. Mark Murphy?                              14        A. No, that one's not ringing a bell.
    15        A. Mark Murphy. I know a Mark Murphy,        15        Q. What about Super Drugs?
    16   but he's not a physician in Tennessee. Former     16        A. Super Drugs? Not ringing a bell
    17   DEA.                                              17   either.
    18        Q. Ed White?                                 18        Q. Nashville Pharmacy Services?
    19        A. Ed White? That one's not ringing a        19        A. A slight bell.
    20   bell.                                             20        Q. What about North Alabama Pain
    21        Q. What about Pam White?                     21   Services?
    22        A. Pam White? Nah.                           22        A. That one is not ringing a bell.
    23        Q. Are you aware of medical                  23        Q. Lynnville Family Medical Clinic?
    24   professionals in Tennessee being arrested for     24        A. That name is familiar.
                                               Page 499                                               Page 501
     1   prescribing prescription opioids for nonmedical    1        Q. What do you recall about it?
     2   reasons?                                           2        A. I can't think of anything specific
     3        A. Yes.                                       3   other than I think I might have taken a look at
     4        Q. Do you recall any specific instance        4   them at some point, but I can't remember
     5   of medical professionals being arrested in         5   anything specific.
     6   Tennessee for that?                                6        Q. Tennessee Pain Institute in Hixson,
     7        A. Yes.                                       7   Tennessee?
     8        Q. Do you remember specifically any           8        A. Institute -- that one's not ringing
     9   names of such people?                              9   a bell.
    10        A. I do remember a couple names.             10        Q. Hamblen Neuroscience Center in
    11   Well, I can remember one name offhand.            11   Hamblen, Tennessee?
    12        Q. What name do you remember?                12        A. No.
    13        A. Councill Rudolph.                         13        Q. What about Center Pointe in
    14        Q. Do you know what part of Tennessee        14   Kingsport, Tennessee?
    15   Councill Rudolph practiced in?                    15           (Reporter interruption.)
    16        A. I don't remember specifically.            16   BY MR. GASTEL:
    17        Q. Are you aware of whether medical          17        Q. What about Center Pointe in
    18   professionals in Tennessee have been convicted    18   Kingsport, Tennessee?
    19   for prescribing prescription opioids for          19        A. That one is not ringing a bell
    20   nonmedical reasons?                               20   either. Those sound like medical practices.
    21        A. Oh, unfortunately, I know that            21           MR. GASTEL: Subject to the
    22   Councill Rudolph was not convicted, but that --   22        objection that I lodged earlier today, I
    23   I can't think of any offhand.                     23        have no further questions for you
    24        Q. Would it surprise you that that has       24        tonight.
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                                               Page 502                                                 Page 504
     1           VIDEO OPERATOR: Going off the             1           CERTIFICATE
     2        record, the time is 7:34 p.m.                2
                                                           3        I, Lisa V. Feissner, RDR, CRR, CLR,
     3           (A discussion was held off the
                                                           4   Notary Public, certify that the foregoing is a
     4        record.)                                     5   true and accurate transcript of the deposition
     5           VIDEO OPERATOR: We're back on the         6   of said witness, who was first duly sworn by me
     6        record at 7:35 p.m.                          7   on the date and place hereinbefore set forth.
     7               EXAMINATION                           8
     8   BY MR. HAMMOUD:                                   9        I further certify that I am neither
     9        Q. Mr. Tomkiewicz, thank you for your       10   attorney nor counsel for, nor related to or
    10   time today. I just have a couple, brief          11   employed by, any of the parties to the action
                                                          12   in which this deposition was taken, and
    11   questions on redirect.
                                                          13   further, that I am not a relative or employee
    12           Are you aware of any suspicious          14   of any attorney or counsel employed in this
    13   orders that Teva has received and released?      15   action, nor am I financially interested in this
    14        A. No.                                      16   case.
    15        Q. Are you aware of any suspicious          17
    16   orders that Teva has received and not reported   18
    17   to the DEA?                                      19       Lisa V. Feissner, RDR, CRR, CLR
    18        A. No.                                               Notary Public
                                                          20       Dated: December 2, 2018
    19           MR. HAMMOUD: Thank you. No
                                                          21
    20        further questions.                          22        (The foregoing certification of this
    21           MR. CARTMELL: I don't have
                                                               transcript does not apply to any reproduction
    22        anything further.                           23   of the same by any means, unless under the
    23           VIDEO OPERATOR: This ends today's             direct control and/or supervision of the
    24        deposition. We're going off the record.     24   certifying reporter.)
                                               Page 503                                                 Page 505
     1       The time is 7:36 p.m.                         1          INSTRUCTIONS TO WITNESS
     2              - - -                                  2
     3         (Off the record at 7:36 p.m.)               3        Please read your deposition over
     4              - - -                                  4   carefully and make any necessary corrections.
     5                                                     5   You should state the reason in the appropriate
     6                                                     6   column on the errata sheet for any change made.
     7                                                     7        After doing so, please sign the errata
     8                                                     8   sheet and date it.
     9                                                     9        You are signing it subject to the
    10                                                    10   changes you have noted on the errata sheet,
    11                                                    11   which will be attached to your deposition. You
    12                                                    12   must sign in the space provided. The witness
    13                                                    13   need not be a notary public. Any competent
    14                                                    14   adult may witness your signature.
    15                                                    15        It is imperative that you return the
    16                                                    16   original errata sheet to the deposing attorney
    17                                                    17   within thirty (30) days of receipt of the
    18                                                    18   deposition transcript by you. If you fail to
    19                                                    19   do so, the deposition may be deemed to be
    20                                                    20   accurate and may be used in court.
    21                                                    21
    22                                                    22
    23                                                    23
    24                                                    24


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                                                                               Review
                                                 Page 506                                       Page 508
     1   WITNESS NAME:   JOSEPH TOMKIEWICZ                   1           LAWYER'S NOTES
         DEPOSITION DATE: NOVEMBER 28, 2018                  2   PAGE LINE
     2                                                       3   ____ ____ ____________________________
     3            ERRATA                                     4   ____ ____ ____________________________
     4   PAGE LINE CHANGE                 REASON             5   ____ ____ ____________________________
     5                                                       6   ____ ____ ____________________________
     6                                                       7   ____ ____ ____________________________
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    18                                                      18   ____ ____ ____________________________
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    23                                                      23   ____ ____ ____________________________
    24                                                      24   ____ ____ ____________________________
                                                 Page 507
     1         ACKNOWLEDGMENT OF DEPONENT
     2
     3        I hereby acknowledge that I have read
     4   the foregoing deposition, pages 1 - 503, dated
     5   November 28, 2018, and that the same is a true
     6   and correct transcription of the answers given
     7   by me to the questions propounded, except for
     8   the changes, if any, noted on the attached
     9   Errata.
    10
    11
    12   SIGNATURE:
              JOSEPH TOMKIEWICZ
    13
    14   DATE:
    15
    16
    17
    18   WITNESSED BY:
    19
    20   DATE:
    21
    22
    23
    24


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